Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1975-17
                               SubjectFiled: 07/24/19 1Confidentiality
                                         to Further     of 81. PageID #: 216504
                                                                            Review

     1                 IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF OHIO
     2                            EASTERN DIVISION
     3
          IN RE:    NATIONAL PRESCRIPTION           ) No. 17-md-2804
     4    OPIATE LITIGATION NO. 2804                )
                                                    )
     5    APPLIES TO ALL CASES                      ) Hon. Dan A. Polster
                                                    )
     6
     7                   HIGHLY CONFIDENTIAL - SUBJECT TO
     8                     FURTHER CONFIDENTIALITY REVIEW
     9
                        VIDEO DEPOSITION OF LISA CARDETTI
    10
                                  January 10, 2019
    11                                  7:59 a.m.
    12
    13
    14             Reporter:     John Arndt, CSR, CCR, RDR, CRR
                                 CSR No. 084-004605
    15                               CCR No. 1186
    16
    17
    18
    19
    20
    21
    22
    23
    24

   Golkow Litigation Services                                         Page 1 (1)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1975-17
                               SubjectFiled: 07/24/19 2Confidentiality
                                         to Further     of 81. PageID #: 216505
                                                                            Review
                                                     Page 2                                                Page 4
    1         DEPOSITION OF LISA CARDETTI produced,              1            INDEX OF INTERROGATION
      sworn, and examined on January 10, 2019, at Williams       2   Examination by Mr. Dearman     Page 9
    2 Dirks Dameron LLC, 1100 Main Street, Suite 2600, in the        Examination by Ms. Herzfeld   Page 251
      City of Kansas City, State of Missouri, before John        3
    3 Arndt, a Certified Shorthand Reporter and Certified
      Court Reporter.                                            4               INDEX OF EXHIBITS
    4                                                            5   Exhibit Mallinckrodt-Cardetti-001   Page 11
    5               APPEARANCES OF COUNSEL                           (Notice of deposition)
    6                                                            6
        On Behalf of Plaintiff:                                      Exhibit Mallinckrodt-Cardetti-002 Page 16
    7      Robbins Geller Rudman & Dowd LLP                      7   (Lisa Cardetti's CV)
           120 East Palmetto Park Road, Suite 500                    (MNK-T1_0007896477 - MNK-T1_0007896478)
    8      Boca Raton, FL 33432                                  8
           (861) 750-3000
    9      BY: MR. MARK J. DEARMAN                                   Exhibit Mallinckrodt-Cardetti-003   Page 54
              mdearman@rgrdlaw.com                               9   (Letter to Lisa Cardetti)
   10         MR. RICARDO J. MARENCO                                 (MNK-T1_0007219775)
              rmarenco@rgrdlaw.com                              10
   11                                                                Exhibit Mallinckrodt-Cardetti-004   Page 78
      On Behalf of Mallinckrodt:                                11   (Covidien Pharmaceuticals Specialty
   12    Ropes & Gray LLP                                            Generics Strategic Plan 2013-2017)
         Three Embarcadero Center
   13    San Francisco, CA 94111
                                                                12   (MNK-T1_0002330117)
         (415) 315-6358                                         13   Exhibit Mallinckrodt-Cardetti-005   Page 107
   14    BY: ROCKY C. TSAI                                           (McKesson sales & rebates)
            rocky.tsai@ropesgray.com                            14   (MNK-T1_0006435043 - MNK-T1_0006434404)
   15                                                           15   Exhibit Mallinckrodt-Cardetti-006   Page 110
            -and-                                                    (E-mail)
   16
           Ropes & Gray LLP
                                                                16   (MNK-T1_0006434382)
   17      800 Boylston Street
                                                                17   Exhibit Mallinckrodt-Cardetti-007   Page 115
           Boston, MA 02199                                          (E-mail)
   18      (617) 951-7000                                       18   (MNK-T1_0006434566 - MNK-T1_0006434567)
           BY: CASSANDRA A. LARUSSA                             19   Exhibit Mallinckrodt-Cardetti-008   Page 121
   19         cassandra.larussa@ropesgray.com                        (E-mail)
   20   On Behalf of Walmart:                                   20   (MNK-T1_0000448664)
           Jones Day                                            21   Exhibit Mallinckrodt-Cardetti-009   Page 130
   21      100 High Street, 21st Floor                               (E-mail)
           Boston, MA 02110
   22      (617) 960-3939
                                                                22   (MNK-T1_0000266730)
           BY: CHRISTOPHER MARKHAM                              23   Exhibit Mallinckrodt-Cardetti-010   Page 136
   23         cmarkham@jonesday.com                                  (E-mail)
   24                                                           24   (MNK-T1_0000383314)
                                          Page 3                                                           Page 5
    1        APPEARANCES OF COUNSEL (CONTINUED)                  1           INDEX OF EXHIBITS (CONTINUED)
    2                                                            2
      On Behalf of Endo Pharmaceuticals:                             Exhibit Mallinckrodt-Cardetti-011 Page 140
                                                                 3   (E-mail)
    3    Arnold & Porter                                             (MNK-T1_0000306449 - MNK-T1_0000306450)
         601 Massachusetts Avenue, NW                            4
    4    Washington, DC 20001                                        Exhibit Mallinckrodt-Cardetti-012 Page 144
                                                                 5   (E-mail)
         (202) 942-5000                                              (MNK-T1_0000265238 - MNK-T1_0000265240)
    5    BY: MR. DAVID E. KOUBA                                  6
            david kouba@arnoldporter.com                             Exhibit Mallinckrodt-Cardetti-013 Page 151
                                                                 7   (E-mail)
    6                                                                (MNK-T1_0000456392 - MNK-T1_0000456407)
        On Behalf of Tennessee Action:                           8
    7      Branstetter, Stranch & Jennings, PLLC                     Exhibit Mallinckrodt-Cardetti-014 Page 160
           223 Rosa L. Parks Avenue, Suite 200
                                                                 9   (E-mail)
                                                                     (MNK-T1_0000305508)
    8      Nashville, TN 37203                                  10
           BY: MS. TRICIA HERZFELD                                   Exhibit Mallinckrodt-Cardetti-015 Page 162
               triciah@bsjfirm.com
                                                                11   (E-mail)
    9                                                                (MNK-T1_0000298461)
   10   On Behalf of Cardinal Health:                           12
           Armstrong Teasdale LLP                                    Exhibit Mallinckrodt-Cardetti-016 Page 164
   11      7700 Forsyth Boulevard, Suite 1800
                                                                13   (E-mail)
                                                                     (MNK-T1_0006319432 - MNK-T1_0006319433)
           St. Louis, MO 63105                                  14
   12      (314) 621-5070                                            Exhibit Mallinckrodt-Cardetti-017 Page 167
           BY: MR. PAUL L. BRUSATI
                                                                15   (E-mail)
                                                                     (MNK-T1_0006321620 - MNK-T1_0006321622)
   13          pbrusati@armstrongteasdale.com                   16
   14                                                                Exhibit Mallinckrodt-Cardetti-018 Page 176
        Also present: Jacob Arndt, videographer
                                                                17   (E-mail)
   15
                                                                     (MNK-T1_0005540821 - MNK-T1_0005540822)
                                                                18
   16                                                                Exhibit Mallinckrodt-Cardetti-019 Page 178
   17                                                           19   (E-mail)
   18                                                                (MNK-T1_0001518462 - MNK-T1_0001513463)
                                                                20
   19                                                                Exhibit Mallinckrodt-Cardetti-020 Page 190
   20                                                           21   (E-mail)
   21                                                                (MNK-T1_0000430882 - MNK-T1_0000430884)
                                                                22
   22                                                                Exhibit Mallinckrodt-Cardetti-021 Page 194
   23                                                           23   (E-mail)
   24                                                                (MNK-T1_0000486481 - MNK-T1_0000486482)
                                                                24

   Golkow Litigation Services                                                                  Page 2 (2 - 5)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1975-17
                               SubjectFiled: 07/24/19 3Confidentiality
                                         to Further     of 81. PageID #: 216506
                                                                            Review
                                              Page 6                                                          Page 8
    1           INDEX OF EXHIBITS (CONTINUED)           1          THE VIDEOGRAPHER: We are now on the
    2
        Exhibit Mallinckrodt-Cardetti-022 Page 196      2 record. My name is Jacob Arndt. I am a videographer
    3   (E-mail)                                        3 for Golkow Litigation Services. Today's date is
        (MNK-T1_0000510674 - MNK-T1_0000510687)
    4
        Exhibit Mallinckrodt-Cardetti-023 Page 202      4 January 10th, 2019, and the time is 7:59 AM. This
    5   (E-mail)                                        5 video deposition is being held in Kansas City,
        (MNK-T1_0000299400 - MNK-T1_0000299404)
    6
                                                        6 Missouri, In Re: National Prescription Opiate
        Exhibit Mallinckrodt-Cardetti-024 Page 205
    7   (E-mail)                                        7 Litigation, for the United States District Court,
        (MNK-T1_0006766071 - MNK-T1_0006766072)
    8                                                   8 Northern District of Ohio, Eastern Division. The
        Exhibit Mallinckrodt-Cardetti-025 Page 206
    9   (E-mail)                                        9 deponent is Lisa Cardetti. Will counsel please
        (MNK-T1_0000315946)
   10                                                  10 identify themselves?
        Exhibit Mallinckrodt-Cardetti-026 Page 208
   11   (E-mail)                                       11          MR. DEARMAN: Mark Dearman and Richard
        (MNK-T1_0000299509 - MNK-T1_0000299515)
   12                                                  12 Marenco from Robbins, Geller, Rudman & Dowd on behalf
        Exhibit Mallinckrodt-Cardetti-027 Page 211
   13   (E-mail)                                       13 of the plaintiffs and the PEC.
        (MNK-T1_0006258931)
   14                                                  14          MR. TSAI: Rocky Tsai, Ropes & Gray, on
        Exhibit Mallinckrodt-Cardetti-028 Page 214     15 behalf of the witness, Ms. Cardetti, and Mallinckrodt
   15   (E-mail)
        (MNK-T1_0006258924 - MNK-T1_0006258925)        16 LLC.
   16
        Exhibit Mallinckrodt-Cardetti-029 Page 215     17          MS. LaRUSSA: Cassandra LaRussa, Ropes &
   17   (E-mail)
        (MNK-T1_0006364784 - MNK-T1_0006364786)        18 Gray, on behalf of the witness and Mallinckrodt LLC.
   18
        Exhibit Mallinckrodt-Cardetti-030 Page 221     19          MR. MARKHAM: Christopher Markham, Jones
   19   (June monthly report)
        (MNK-T1_0000607943 - MNK-T1_0000607945)        20 Day, on behalf of Walmart.
   20
        Exhibit Mallinckrodt-Cardetti-031 Page 226     21          MS. HERZFELD: Tricia Herzfeld on behalf
   21   (E-mail)
        (MNK-T1_0002857538 - MNK-T1_0002857540)        22 of the Tennessee plaintiffs.
   22
        Exhibit Mallinckrodt-Cardetti-032 Page 232     23          MR. BRUSATI: Paul Brusati, Armstrong
   23   (E-mail)
        (MNK-T1_0006291216 - MNK-T1_0006291217)        24 Teasdale, on behalf of Cardinal Health.
   24
                                          Page 7                                                        Page 9
    1          INDEX OF EXHIBITS (CONTINUED)            1        THE VIDEOGRAPHER: The court reporter is
    2
        Exhibit Mallinckrodt-Cardetti-033 Page 233      2 John Arndt and will now swear in the witness.
    3   (September monthly report)                      3
        (MNK-T1_0000610440 - MNK-T1_0000610442)
    4                                                   4       The witness, LISA CARDETTI, first having been
        Exhibit Mallinckrodt-Cardetti-034   Page 237
    5   (Spreadsheet)                                   5 duly sworn, testified as follows:
        (MNK-T1_0000464121)
    6                                                   6           QUESTIONS BY MR. DEARMAN:
        Exhibit Mallinckrodt-Cardetti-035 Page 240      7       Q. Good morning. My name is Mark Dearman.
    7   (E-mail)
        (MNK-T1_0002910810 - MNK-T1_0002910811)         8   We met before the depo started.
    8
        Exhibit Mallinckrodt-Cardetti-036 Page 243      9       A. Good morning.
    9   (E-mail)
        (MNK-T1_0004798661 - MNK-T1_0004798671)        10       Q. I'm going to be asking you some questions
   10
        Exhibit Mallinckrodt-Cardetti-037   Page 260
                                                       11   today. Is this the first depo you've ever given?
   11   (E-mail)                                       12       A. Yes.
        (MNK-TNSTA05336605)
   12                                                  13       Q. Very good. What's your -- would you state
        Exhibit Mallinckrodt-Cardetti-038   Page 263
   13   (E-mail)                                       14   your full name for the record?
        (MNK-TNSTA02527745)                            15       A. Lisa Marie Cardetti.
   14
        Exhibit Mallinckrodt-Cardetti-039   Page 280   16       Q. And what is your current occupation?
   15   (E-mail)
   16   Exhibit Mallinckrodt-Cardetti-040   Page 294   17       A. I am currently occupied at Rising
        (Spreadsheet)
   17   (MNK-TNSTA02527745)                            18   Pharmaceuticals as associate vice-president of sales.
   18   Exhibit Mallinckrodt-Cardetti-041   Page 294   19       Q. And what is your residential address?
        (Spreadsheet)
   19   (MNK-TNSTA02527745)                            20       A.
   20   Exhibit Mallinckrodt-Cardetti-042   Page 305
        (E-mail)
   21
        Exhibit Mallinckrodt-Cardetti-043 Page 305     22      Q. Because this is your first depo, I'm going
   22   (Spreadsheet)                                  23 to give you some rules that we both need to follow in
        (MNK-TNSTA05117591 - MNK-TNSTA05117656)
   23                                                  24 order to get a clear record. Like I said, I'm going to
   24           (Exhibits are attached.)
   Golkow Litigation Services                                                              Page 3 (6 - 9)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1975-17
                               SubjectFiled: 07/24/19 4Confidentiality
                                         to Further     of 81. PageID #: 216507
                                                                            Review
                                                            Page 10                                                        Page 12
    1 be asking you questions, which you need to answer                1            for identification.]
    2 unless your counsel instructs you not to answer. There           2            MR. DEARMAN: I've got two more copies, so
    3 may be objections from time to time. After counsel               3   you all can decide how you want to share those.
    4 objects, unless they instruct you not to answer, you             4        Q. (By Mr. Dearman) Have you ever seen that
    5 need to answer the question. Okay?                               5   document before it was just handed to you?
    6      A.    Understood.                                           6        A. Yes, I have.
    7      Q.    It's important that you answer orally                 7        Q. When was the first time that you saw it?
    8 because we all nod our head and say uh-huh and huh-uh,           8        A. I saw it yesterday.
    9 but it doesn't give us a clear record, so if you would           9        Q. Was that the first time that you saw it?
   10 please answer orally. We will all remind you if it              10        A. Yes.
   11 happens because it's just common.                               11        Q. If you turn to Page 3 of the document, it
   12           If you don't understand a question that I             12   says Schedule A and it has your name under it. Do you
   13 ask you, say Mark, I don't understand that question,            13   see that?
   14 and I will do my best to rephrase it because if you             14        A. Yes.
   15 answer my question I'm going to assume that you                 15        Q. Have you brought any documents with you to
   16 understood the question.                                        16   the deposition today?
   17           It's also important that you wait for me              17        A. No.
   18 to ask my entire question even though you may know what         18        Q. Have you looked in your own personal
   19 the question's going to be already. It's important for          19   papers and belongings for any documents responsive to
   20 the record that I get my entire question out and then           20   Schedule A?
   21 allow you to get your entire answer out so that we have         21        A. No.
   22 a clear record. It's also important that we don't               22        Q. Did you provide your counsel with any
   23 speak at the same time because if we do that a lot, our         23   documents?
   24 court reporter's fingers may fall off. Okay?                    24        A. No, I did not.

                                                    Page 11                                                              Page 13
    1       A. Understood.                                             1        Q. How many times did you meet with counsel?
    2       Q. And you understand those, I guess?                      2        A. Two times.
    3       A. Yes. Yes.                                               3        Q. When was the first time?
    4       Q. Are you represented by counsel here today?              4        A. Oh, I don't remember the exact date.
    5       A. I am.                                                   5   Approximately a month or so ago.
    6       Q. And who are you represented by?                         6        Q. And where did you meet?
    7       A. Ropes & Gray.                                           7        A. In Kansas City.
    8       Q. Do you have a representation -- a written               8        Q. And who was present?
    9   representation agreement with Ropes & Gray?                    9        A. There were two members of Ropes & Gray
   10       A. Yes, I do.                                             10   counsel present.
   11       Q. Do you have that with you here today?                  11        Q. Do you know who those attorneys are?
   12       A. I personally do not. Please address my                 12        A. Rocky and I forget the other woman's name.
   13   counsel.                                                      13        Q. Did you understand the other participant
   14       Q. But you do have a written agreement?                   14   to be an attorney?
   15       A. I do, yes.                                             15        A. Yes.
   16       Q. Are you being compensated for your -- for              16        Q. Did anyone else attend besides you and the
   17   appearing here today?                                         17   two attorneys?
   18       A. No.                                                    18        A. No.
   19       Q. Are you compensating the attorneys from                19        Q. How long did you meet for?
   20   Ropes & Gray for their representation of you?                 20        A. Approximately four to five hours.
   21       A. No, I am not.                                          21        Q. During that meeting -- I'm not asking you
   22       Q. I'm going to show you an exhibit. I'll                 22   to tell me what documents, but during that meeting, did
   23   show you what we're going to mark as Exhibit 1.               23   counsel show you any documents?
   24           [Exhibit Mallinckrodt-Cardetti-001 marked             24        A. Yes.

   Golkow Litigation Services                                                                       Page 4 (10 - 13)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1975-17
                               SubjectFiled: 07/24/19 5Confidentiality
                                         to Further     of 81. PageID #: 216508
                                                                            Review
                                                     Page 14                                                               Page 16
    1       Q. Did any of the documents which counsel                1         A. I'm not sure of the details around how
    2   showed you refresh your recollection as to any issue?        2   it's affected my community.
    3       A. No.                                                   3         Q. And I understand that you're not familiar
    4       Q. When is the second time that you met with             4   with the details, but are you aware as to whether or
    5   counsel?                                                     5   not it has impacted your community?
    6       A. Yesterday.                                            6         A. I am not aware.
    7       Q. In Kansas City?                                       7         Q. Has it impacted your family?
    8       A. In Kansas City. Correct.                              8         A. No, it has not.
    9       Q. And for how long?                                     9         Q. Has it impacted any of your friends?
   10       A. Same. About four or five hours.                      10         A. Not that I'm aware of.
   11       Q. And who was in attendance at that meeting?           11             [Exhibit Mallinckrodt-Cardetti-002 marked
   12       A. Rocky and Cassie.                                    12             for identification.]
   13       Q. Like my prior question, were you shown any           13         Q. I'm going to show you Exhibit 2, which is
   14   documents at that meeting?                                  14   Bates-stamped. So from time to time I'm going to say
   15       A. Yes.                                                 15   the word Bates numbers or Bates-stamped, and that's
   16       Q. Did any of those documents refresh your              16   going to be the number at the bottom of the document.
   17   recollection as to any of the issues?                       17   There's not one on that.
   18       A. No. No.                                              18         A. Oh.
   19       Q. Did you bring any documents to that                  19         Q. But this document that I'm handing you,
   20   meeting?                                                    20   which is Exhibit 2, and is Bates number
   21       A. I did not, no.                                       21   MNK-T1_0007896477. Sorry about that. Can I see that
   22       Q. I had asked you earlier whether or not you           22   one for a second? I want to make sure I didn't
   23   had looked through any of your belongings for any           23   highlight on that one and give you one that's not
   24   documents. Do you have an office at your home?              24   highlighted. Yeah. Sorry about that. Are you

                                                          Page 15                                                        Page 17
    1         A. I do.                                               1 familiar with this document?
    2         Q. Do you have filing cabinets at your home?           2       A. Yes, I am.
    3         A. No, I don't have file cabinets.                     3       Q. Is this a document that you prepared?
    4         Q. Do you have documents that related to your          4       A. It is.
    5   time at Mallinckrodt at your home?                           5       Q. Do you know when you prepared it?
    6         A. No, I do not.                                       6       A. Most -- excuse me. Most recently prior to
    7         Q. And how is it that you know that you don't          7   my job at Rising Pharmaceuticals, so prior to October
    8   have any documents relating to you and Mallinckrodt at       8   2017.
    9   your house?                                                  9       Q. Is this your current résumé?
   10         A. I don't have any documents at my house.            10       A. It is.
   11   It's a very small office. I don't have any actual           11       Q. Do you believe it to be accurate?
   12   paperwork or documents electronically or anything at my     12       A. Yes, I believe it to be accurate.
   13   house.                                                      13       Q. On Page 2 of the document it talks about
   14         Q. But just to be clear, you did not look to          14   your education. Do you see that? Do you see that?
   15   see whether you had any documents; correct?                 15       A. Yes.
   16         A. I know I do not have any documents.                16       Q. Other than the University of Missouri and
   17         Q. And I'm just -- I'm not trying to be               17   Webster University, have you received any other formal
   18   difficult, but I'm asking how it is you know if you         18   education?
   19   didn't look?                                                19       A. No, I have not.
   20         A. I know what I have in my home office.              20       Q. After you left the University of Missouri
   21         Q. Are you aware that this country is                 21   in 2004, there's a -- it seems to be that there's a
   22   experiencing an opioid epidemic?                            22   spread between starting at Mallinckrodt in January of
   23         A. I am aware.                                        23   2006. Do you see that?
   24         Q. Has this epidemic affected your community?         24       A. I do.

   Golkow Litigation Services                                                                      Page 5 (14 - 17)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1975-17
                               SubjectFiled: 07/24/19 6Confidentiality
                                         to Further     of 81. PageID #: 216509
                                                                            Review
                                                       Page 18                                                              Page 20
    1        Q. Hopefully you did something fun those two          1 that you mean?
    2   years.                                                     2       A. Entering orders, customer orders, into our
    3        A. I had some odd jobs. I graduated early in          3 system.
    4   three-and-a-half years so I stayed in Columbia, had        4       Q. So how is it that you would get
    5   some waitressing jobs, odd jobs around Columbia,           5 information to enter? I'm just trying to understand a
    6   Missouri, and was trying to figure out what I wanted to    6 little bit.
    7   be when I grow up.                                         7         A. So back then, specifically for controlled
    8        Q. And in that two-year period did you have           8   substances, customers had to order on a 222 form, so it
    9   any employment in the pharmaceutical or in the             9   was a form that had three different sheets of paper,
   10   pharmaceutical world?                                     10   and the customer would place the NDC number and the
   11        A. No.                                               11   description that they wanted to order and the quantity.
   12        Q. You started at Mallinckrodt in January of         12            This is a DEA official form that was
   13   2006?                                                     13   required to order any controlled substances. And so I
   14        A. That is correct.                                  14   would take that form along with like a PDF PO, for
   15        Q. And how is it that you ended up getting           15   example, compare the quantities, make sure everything
   16   connected with Mallinckrodt?                              16   matched, and then would enter it into the system
   17        A. There was a family friend who made me             17   manually.
   18   aware of the position, and I applied, went through the    18         Q. And what type of system were you entering
   19   formal application and interview process, and got the     19   it into?
   20   job.                                                      20         A. I believe it was called JDE.
   21        Q. Where were you living back in 2006?               21         Q. Did you have any contact with the clients,
   22        A. In St. Charles, Missouri.                         22   or was this information provided to you by somebody
   23        Q. Was the family friend a employee of               23   else and then you just checked it and inputted it?
   24   Mallinckrodt?                                             24         A. They were mailed in. The forms were

                                                     Page 19                                                                Page 21
    1        A. Yes.                                               1 mailed in from the customer.
    2        Q. And who was that?                                  2       Q.      At that point in time were you having any
    3        A. Jake Longenecker.                                  3 contact with customers?
    4        Q. And what was Mr. Longenecker's position at         4       A.      Sure. Yeah. Absolutely. If there was a
    5   the time?                                                  5 question I had about the order or something, or if it
    6        A. I do not recall.                                   6 wasn't ordered in case quantity, for example. Yes.
    7        Q. And what position did you apply for?               7      Q. And these were scheduled medications?
    8        A. Customer service representative.                   8      A. That is correct.
    9        Q. And it indicates that you were a customer          9      Q. And you indicated before when you were
   10   service representative from January to October -- is      10 talking about the 222 form that you would compare the
   11   that correct -- of 2006?                                  11 quantities and make sure everything matched and then
   12        A. That is correct.                                  12 would enter it into the system. What do you mean by
   13        Q. Who was your direct report?                       13 compare quantities to make sure that there was a match?
   14        A. Sean Welsh (ph).                                  14       A.      Sure. So typically in my recollection,
   15        Q. What was Sean's title?                            15 customers would send in like a PDF PO with every single
   16        A. Manager of customer service. I don't              16 line item that they were wanting to order by NDC with
   17   remember the exact title, but something along those       17 the quantity, and then the 222 forms -- I think there
   18   lines.                                                    18 was only like maybe 10 lines, if I remember correctly,
   19        Q. What were your duties and responsibilities        19 on those 222 forms, so the PO may have had, let's say,
   20   as a customer service representative from January of      20 30 lines on it, so there would have been, let's say,
   21   2006 to October of 2006?                                  21 three 222 forms. So I made sure that everything
   22        A. It was a very entry-level position.               22 matched with the paper PO with the 222 forms.
   23   Primarily order entry and answering the phones.           23       Q.      And just when you say matched, what is --
   24        Q. And when you say order entry, what is it          24 what are you matching?


   Golkow Litigation Services                                                                       Page 6 (18 - 21)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1975-17
                               SubjectFiled: 07/24/19 7Confidentiality
                                         to Further     of 81. PageID #: 216510
                                                                            Review
                                                         Page 22                                                                Page 24
    1        A. Sure. So making sure that the NDC number                  1 of the specific details -- but we could make the change
    2   is correct on both and the quantity is the same on                2 and then initial it on the 222 form, from what I
    3   both.                                                             3 recall.
    4        Q. And did you receive any training in order                 4       Q.   And do you recall what kind of changes --
    5   to do that?                                                       5 strike that. Do you recall what the protocol or the
    6        A. Yes, I did.                                               6 policy was as to what discrepancies you had authority
    7        Q. What kind of training did you receive?                    7 or discretion to initial and rewrite?
    8        A. I don't remember the specifics around the                 8       A.   I do not. That was a long time ago.
    9   training. That was a long time ago. But I know that               9       Q.   You've mentioned the term customers a few
   10   Sean and other senior peers that have been in that role          10 times. At that point in time, can you tell me --
   11   for several years had trained me on what to look for             11 define who the customer was or which -- what the
   12   and how to enter those orders.                                   12 customer was?
   13        Q. And what were you looking for?                           13       A.   Absolutely. The wholesaler, distributors,
   14        A. Again, to compare and make sure that                     14 direct retail chains primarily. At this time I know
   15   everything aligned -- the PO and the 222 form.                   15 that the -- Mallinckrodt's customers were kind of
   16        Q. And when you say compared and aligned, do                16 divided amongst the customer service representatives,
   17   you mean that you wanted to make certain that the PO             17 and AmerisourceBergen was one of my largest customers.
   18   wasn't requesting additional medication over and above           18       Q.   So back in 2006, Amerisource was one of
   19   what the 222 provided?                                           19 your biggest customers?
   20        A. No, not necessarily, no. Again, it was                   20      A. That is correct.
   21   just trying to under -- trying to make sure that                 21      Q. And are they a wholesaler, a distributor,
   22   whatever was entered into the system was accurate, so            22 or a retail?
   23   if there was -- basically whatever the customer was              23      A. They are a wholesaler.
   24   wanting to order.                                                24       Q.   And what is your understanding or was your

                                                               Page 23                                                          Page 25
    1       Q.   Were you looking to make sure that the PO                1 understanding of what a wholesaler was?
    2 and the 222 matched, meaning the NDC numbers on the PO              2       A. They distributed our product to
    3 were the same things that were on the 222 -- the same               3 pharmacies.
    4 NDC numbers and the same quantities?                                4       Q. What's the difference between a wholesaler
    5       A.   The same NDC numbers and the same                        5 and a distributor?
    6 quantities.                                                         6        A. That is used interchangeably.
    7       Q.   And if there were a difference between                   7        Q. And the retail would be the pharmacies?
    8 what the 222 provided --                                            8        A. Retail would be the warehousing pharmacy,
    9       A.   Uh-huh.                                                  9   so not an actual pharmacy on a corner. It would be
   10       Q.   -- and what the PO provided such that the               10   their distribution centers for that retail chain.
   11 PO would ask for different NDCs or different                       11        Q. So the bigger retail pharmacies?
   12 quantities, what was your responsibility at that point?            12        A. Yes. Correct.
   13       A.   My responsibility -- excuse me. My                      13        Q. And you mentioned ABC was your customer.
   14 responsibility would be to contact the customer and                14   Did you have some particular responsibility for
   15 if -- and understand what they were trying to order and            15   Amerisource?
   16 get it corrected prior to entering it into the system.             16        A. Order entry, and I was kind of their main
   17       Q.   And if the PO asked for additional                      17   point of contact, but obviously we all kind of backed
   18 quantities or different NDCs from the 222 and you                  18   each other up within the group.
   19 called the customer and the customer said the PO is                19        Q. Were you receiving POs and 222s from
   20 correct, what was the protocol at that point?                      20   specific clients, or was there a group of you that were
   21       A.   Oh, I'm trying to remember. Let's see.                  21   sort of splitting them up as they came in?
   22 We had to -- depending on the discrepancy, we may have             22        A. They were pretty much divided up based on
   23 had to receive a completely new 222 form, or if it was             23   customer. So I mean, piles of 222 forms would come in
   24 a small discrepancy -- and again, I don't remember all             24   on specific days depending on the customer's order day,

   Golkow Litigation Services                                                                           Page 7 (22 - 25)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1975-17
                               SubjectFiled: 07/24/19 8Confidentiality
                                         to Further     of 81. PageID #: 216511
                                                                            Review
                                                              Page 26                                                          Page 28
    1 and again, AmerisourceBergen was my primary customer so            1 promotion at Mallinckrodt?
    2 those would come to me, but we all kind of divided up              2       A. I -- in October of 2006, as my résumé
    3 the work amongst the group when needed.                            3 states, I moved on to senior contract specialist.
    4        Q.   Anybody else besides AmerisourceBergen                 4       Q. Now, prior to October of 2006, did you
    5 that you can recall servicing as one of your customers?            5 have any involvement with regard to the contracts
    6        A.   That's the biggest one. That's the main                6 between Mallinckrodt and any of its customers?
    7 customer that I remember.                                          7        A. No, I did not.
    8        Q.   And what drugs were at issue? What drugs               8        Q. In October of 2006 to November of 2007
    9 were you providing to Amerisource?                                 9   you've listed on your résumé senior contract
   10        A.   I wasn't at that point in time providing              10   specialist; correct?
   11 any.                                                              11        A. Correct.
   12        Q.   It was a bad question.                                12        Q. Who was your direct report?
   13        A.   Okay.                                                 13        A. I believe it was Cindy Cerneka at that
   14        Q.   What drugs were on the 222s and the POs --            14   time. I believe it changed throughout that year, but
   15 scheduled drugs?                                                  15   senior -- excuse me -- Cindy was the one that hired me
   16        A.   It could have been any product that                   16   into the group.
   17 Mallinckrodt was contracted with them on that we had in           17        Q. And what were your duties and
   18 our portfolio.                                                    18   responsibilities as a senior contract specialist?
   19        Q.   And back in 2006, January to October, do              19        A. Primarily working with sales and marketing
   20 you recall what those drugs were or any of those drugs?           20   on drafting proposals to send to customers. They would
   21        A.   I don't remember what products at that --             21   provide us -- we pretty much had templates for every
   22 back in 2006 what AmerisourceBergen was ordering from             22   type of offer we were going to provide and we'd input
   23 us, no.                                                           23   the information that was given to us from sales
   24        Q.   Do you remember what drugs were in                    24   marketing and then input it into the template and

                                                              Page 27                                                          Page 29
    1 Mallinckrodt's portfolio back in January -- between                1 provided it back to them.
    2 January and October of 2006 -- scheduled drugs?                    2       Q. At this point in time, as a senior
    3        A. From my recollection, the portfolio of                   3 contract specialist, were you in the sales and
    4   Mallinckrodt hasn't changed much over the years, so I            4 marketing division or department?
    5   don't remember exactly the dates of when products were           5        A. No. It was not under marketing or sales.
    6   added to the portfolio, but I know in my tenure there            6        Q. What was it under?
    7   the portfolio was pretty constant.                               7        A. If I recall, it may have been like a
    8        Q. And if you would tell me -- if you'd list                8   shared services group.
    9   the Schedule 2 drugs.                                            9        Q. Is that the same thing for your CSR,
   10        A. List the Schedule 2 --                                  10   customer service representative, position you held
   11        Q. Yeah.                                                   11   before?
   12        A. Well, oxycodone, oxycodone acetaminophen,               12        A. I believe so at that time. Again, I was
   13   methylphenidate. Hydrocodone was not a CII back then.           13   at Mallinckrodt for almost 12 years and there -- the
   14   I don't -- the Fentanyl products had not been brought           14   organization was restructured a few times, so from what
   15   into the portfolio at that point in time. I'm trying            15   I recall those were both under shared services at that
   16   to remember. That's -- those are the ones that I                16   time.
   17   remember off the top of my head.                                17        Q. And those would be shared services between
   18        Q. And was your compensation structure -- can              18   sales and marketing and other groups?
   19   you tell me your compensation structure back then? I'm          19        A. Shared services for the company.
   20   not asking you particulars, but do you recall if there          20        Q. And what were your duties and
   21   were bonuses, or --                                             21   responsibilities as a senior contract specialist? I
   22        A. No. It was a very, again, entry-level                   22   know you indicated that you'd be provided templates.
   23   position, base salary.                                          23        A. Right.
   24        Q. And did there come a time where you got a               24        Q. Did you have contact with the customers in

   Golkow Litigation Services                                                                          Page 8 (26 - 29)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1975-17
                               SubjectFiled: 07/24/19 9Confidentiality
                                         to Further     of 81. PageID #: 216512
                                                                            Review
                                                        Page 30                                                            Page 32
    1   that role?                                                     1   contact. If I remember correctly, our name was on the
    2         A. No, not that I recall.                                2   document for them to contact in needed, but I don't
    3         Q. So if you don't mind describing it in a               3   recall having interactions with customers at that point
    4   little bit more detail. You would be provided a                4   in time.
    5   template or you had a template to do what with?                5        Q. Who would provide you with the actual
    6         A. To input whatever price we were going to              6   pricing? Is that something that would obtain? Or how
    7   offer to -- into the template and send it back to the          7   would you obtain it?
    8   appropriate salesperson to review, and if there were           8        A. That would come from marketing and sales,
    9   any issues we would correct it, collaboration                  9   yeah.
   10   between -- with sales prior to sending it to the              10        Q. And how would that be delivered to you?
   11   customer.                                                     11   Was that by e-mail, or --
   12         Q. And these would be proposals with regard             12        A. Yes, that would be delivered by e-mail.
   13   to drug pricing?                                              13        Q. And again, as it relates to compensation,
   14         A. Yes, that is correct. There would be --              14   was there a bonus structure that was related to your
   15   there were multiple -- again, multiple templates, but         15   productivity or -- if you recall?
   16   pricing was one of the templates that we worked on,           16        A. The way I remember, this again was another
   17   yes.                                                          17   pretty entry-level position where I had just a base
   18         Q. And other than drug pricing, what were               18   salary.
   19   other -- what were some of the other templates, if you        19        Q. And then did there come an opportunity for
   20   recall?                                                       20   you to get another promotion while at Mallinckrodt?
   21         A. Again, that was a long time ago. I don't             21        A. That is correct.
   22   recall all of the templates that I worked on.                 22        Q. And from November of 2007 to January of
   23         Q. On your résumé under senior contract                 23   2010 you were a sales and marketing analyst?
   24   specialist, one of the bullets says provide support in        24        A. That is correct.

                                                            Page 31                                                        Page 33
    1 the resolution of price disputes assisting internal              1        Q. And who was your direct report?
    2 personnel and external customers. That was the reason            2        A. Ginger Collier throughout the majority of
    3 that I sort of asked you about whether or not you had            3   that time. I can't --
    4 contact with customers. What type of support did you             4        Q. And do you know what Ginger's title was?
    5 provide with regard to price disputes?                           5        A. I don't remember her exact title, but
    6        A. Correcting the document.                               6   something along the lines of like a senior marketing
    7        Q. And when you say correcting the document,              7   manager or something to that effect.
    8   what does that mean?                                           8        Q. When you became a sales and marketing
    9        A. Sorry.                                                 9   analyst, now did you become part of a different
   10        Q. That's all right.                                     10   division, from shared services to something else?
   11        A. So the document that was originally put               11        A. Correct. Now I was part of the marketing
   12   together, if there was any errors or anything -- let's        12   group.
   13   say I originally put it together, it went to the              13        Q. Did you remain part of the marketing group
   14   salesperson, it went to the customer, other discussions       14   for the rest of your tenure at Mallinckrodt?
   15   took place around this proposal, and then it would have       15        A. No. I eventually moved into the sales
   16   come back to me potentially to make any changes needed        16   group.
   17   as a revision. Excuse me. Sorry.                              17        Q. So were the -- at least back at this time
   18        Q. So you -- that's all right. So you used               18   when you were in marketing, was there a separate group
   19   the term disputes, but it was really to address any           19   for sales and a separate group for marketing, or was it
   20   errors that were in the documents?                            20   sales and marketing?
   21        A. Right. That's correct.                                21        A. It was -- they were two separate groups,
   22        Q. And would the customer contact you or the             22   both under generics.
   23   salesperson? I mean, how did that --                          23        Q. And was Ginger responsible for marketing
   24        A. The salesperson was the main point of                 24   and sales, or just marketing?

   Golkow Litigation Services                                                                       Page 9 (30 - 33)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-17
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further10Confidentiality
                                                         of 81. PageID #: 216513
                                                                             Review
                                                         Page 34                                                           Page 36
     1        A. Just marketing.                                      1 kind of that indirect sale.
     2        Q. Do you know her who counterpart at that              2       Q. In November of 2007, was that your first
     3   time was in sales?                                           3 experience with chargebacks?
     4        A. I don't remember exactly when Jane joined            4       A. Yes, that was my first experience with
     5   the company, but Jane Williams led the sales team.           5 chargebacks.
     6   Back then I know that -- oh, gosh -- John Adams was          6       Q. Now, what was the purpose that -- in your
     7   also -- ran the sales group at one point. I don't            7 position -- in your marketing position, what was the
     8   remember the exact times of when people left.                8 reason that you were creating these reports? So why
     9        Q. Fair enough. In the sales and marketing              9 were you looking at this pricing as it related to what
    10   analyst position, which that was a promotion; correct?      10 your job was?
    11        A. It was a promotion, yes.                            11        A. I'm sorry. Can you rephrase?
    12        Q. Yeah. What were your duties and                     12        Q. Sure.
    13   responsibilities in sales and marketing?                    13        A. Pricing?
    14        A. Really primarily ad hoc reporting. Helped           14        Q. Yeah. You indicated that Cognos contained
    15   with creating reports and increase efficiencies and         15   a database which contains contract pricing information.
    16   processes. Yeah.                                            16   I think that's what you said.
    17        Q. And when you say reports, what kind of              17        A. Con -- so contract pricing was the title
    18   reports were you responsible to work on?                    18   of the customer. It was just a title name, contract
    19        A. I ran multiple reports on a daily basis.            19   pricing, so it was mainly like the quantities and then
    20   I accessed Cognos, which is a tool pretty much that         20   the sales, so it would take -- somehow it was related
    21   warehoused data for -- that I could access.                 21   to our JD system to pull in the pricing to come up with
    22        Q. So let's dig into that a little bit. What           22   the sales quantity -- sales amount.
    23   type of data were you accessing back at that time?          23        Q. While you were doing this job --
    24        A. There was a lot of different data in                24        A. Sure.

                                                           Page 35                                                           Page 37
     1   there. There was order data and quantities and sales         1        Q. -- ostensibly there was somebody else
     2   by pricing contract, is what the system referred to it       2   that was doing what you were doing with 222s and POs;
     3   as. So direct sales and indirect sales. That was             3   is that correct?
     4   primarily what I used the tool for.                          4        A. That is correct.
     5        Q. Was this all Mallinckrodt internal data,             5        Q. How does that get to then -- I mean, where
     6   or was there any external data from other entities in        6   are you in that process?
     7   this system?                                                 7        A. In my role as an analyst, again, I would
     8        A. In this system it was only internal                  8   access -- I received multiple requests on a daily basis
     9   Mallinckrodt data.                                           9   for various reasons on what to run reports for.
    10        Q. And when you say direct sales and indirect          10   Primarily it was for the sales team to -- for them to
    11   sales, can you explain what you mean by that?               11   understand what was going on with their customers
    12        A. Sure. So direct sales to like a direct              12   and -- yeah.
    13   retail chain, for example, where we would be sending        13        Q. So is it fair to say then that the sales
    14   product directly from our warehouse to their                14   department would be the folks that were contacting you
    15   distribution centers. That would be considered a            15   and saying I need this information?
    16   direct sale, because then at that point in time they --     16        A. Again, I would get requests from various
    17   their distribution centers would send it out to the         17   departments, not only sales, not only marketing, but
    18   pharmacies.                                                 18   other departments as well.
    19             And then indirect sales were more for             19        Q. Did you have access to any external data?
    20   the -- like a wholesaler, where we would send it again      20   So a minute ago we talked about internal data. Did you
    21   from our distribution center to their distribution          21   have access at this point in this job to external data?
    22   center, and then we would receive a chargeback, which       22        A. IMS was the only data that I recall from
    23   is basically a financial true-up -- once they sold the      23   an external purpose. And I would very rarely access
    24   product to a pharmacy. So that chargeback is really         24   that database on my own from what I recall. There were

   Golkow Litigation Services                                                                     Page 10 (34 - 37)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-17
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further11Confidentiality
                                                         of 81. PageID #: 216514
                                                                             Review
                                                            Page 38                                                        Page 40
     1   other people in the group that would basically gather         1 Cognos as far as sales and quantity.
     2   the data on our -- market data on our products and put        2       Q. And frequency? I mean, order history
     3   it into a nice, pretty format so we can easily read it        3 included frequency?
     4   rather than it just being a huge Excel spreadsheet of         4       A. Well, frequency meaning that you could
     5   numbers.                                                      5 filter down on the data based on the specific time
     6         Q. So the -- can I refer to them as Cognos              6 frame that you're looking for? Is that the question?
     7   reports, or that's not accurate because it's just data        7        Q. Yeah. Yeah.
     8   that was contained in Cognos and the report would be          8        A. Yes.
     9   whatever report you were running?                             9        Q. And the -- we had talked earlier about
    10         A. It doesn't -- I mean, Cognos reports is             10   contracts and pricing within contracts; correct?
    11   fine. However you'd like to refer to it.                     11        A. Correct.
    12         Q. And let's -- for example, did you have              12        Q. Was there -- how did chargebacks relate to
    13   specific customers at this point, or were you doing          13   the contract price?
    14   this across all customers?                                   14        A. So the contract price is the price
    15         A. I did not have any customers, no.                   15   negotiated with the customer, and that's the price that
    16         Q. Do you know what the sales force were               16   would get loaded into the system, and the chargeback is
    17   using any of those reports for?                              17   really the difference between the WAC price and the
    18         A. Not at this time. Sales would have                  18   contract price, so it's really getting again a
    19   interactions with customers, and I wasn't -- at this         19   financial true-up of that customer's purchase,
    20   point in time I wasn't really privy to those                 20   specifically to the wholesalers.
    21   conversations or those meetings, if you will.                21        Q. Does the chargeback reflect what
    22         Q. Did you know why Mallinckrodt was keeping           22   Mallinckrodt's customer actually sold the product for?
    23   information or data on quantities and drugs that were        23        A. In terms of price?
    24   sold to any of its customers?                                24        Q. Yes.

                                                           Page 39                                                           Page 41
     1        A. Well, I know -- at this point in time,                1        A. No, it does not.
     2   I've been learning more and more about the industry,          2        Q. So there's a -- I get that there's a
     3   knowing that it's a highly-regulated market. I didn't         3   contracted price with Mallinckrodt's customer. What
     4   know the details around necessarily anything -- any           4   I'm trying to figure out is what does this chargeback
     5   details, but I knew that it was important information         5   reflect? When you say the word true up, to me it
     6   to -- for the company to have and retain.                     6   indicates that there's a difference in the contract
     7        Q. So in addition to the price --                        7   price and what the actual medication was sold for.
     8        A. Uh-huh.                                               8        A. No. So just for clarity purposes, the
     9        Q. -- of an NDC, or of a drug, and in                    9   wholesaler will purchase the product at a WAC price.
    10   addition to the quantity, could you also obtain              10        Q. That's not a contracted price?
    11   information on frequency of order?                           11        A. That is not a contracted price. That's a
    12        A. Yes, there was a -- it obtained a history.           12   set price. It's a wholesaler acquisition cost. They
    13   I don't remember how far back it went.                       13   will -- so just for sake of example, let's say the WAC
    14        Q. And what were the analytics? What were               14   price is $10, the negotiated contract price is $8.
    15   the -- what was it tracking? It was tracking price?          15            So once the wholesaler sells that product
    16        A. Again, it didn't have price directly in              16   to a pharmacy, we would receive a chargeback, and it's
    17   Cognos. It was a reporting tool. I believe it                17   not immediate. It's on whatever cadence that specific
    18   connected with JDE, which JDE held the pricing, and          18   customer has agreed with Mallinckrodt, whether it's
    19   which if you remember, that's the system that I entered      19   daily, weekly, monthly, what have you. It's an
    20   the orders in back in customer service, so I believe         20   aggregated report that's sent back to Mallinckrodt as
    21   those two -- from my understanding, those two systems        21   far as their sales out quantity that was sold on their
    22   were talking as far as the price on -- effective price       22   contract, and then that $2 in that specific example
    23   on what time frame and the dates and everything, and         23   would be that chargeback, true-up, if you will, like I
    24   then it correlated that information and put it into          24   was referring to, back to their negotiated $8 contract

   Golkow Litigation Services                                                                     Page 11 (38 - 41)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-17
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further12Confidentiality
                                                         of 81. PageID #: 216515
                                                                             Review
                                                         Page 42                                                        Page 44
     1   price.                                                     1        Q. And do you know why any of the folks at
     2        Q. Was there ever a time where the chargeback         2   Mallinckrodt were interested in looking at the IMS
     3   would reflect a number that was less than the $8 price?    3   data, at least at that time?
     4        A. I mean, I was not in chargebacks. I was            4        A. Well, again, at this point in time when I
     5   not -- from my understanding, if there was a situation     5   was an analyst, I didn't really look at the data as
     6   like that then that would be a discrepancy that would      6   much. I ran reports, I provided the data to those that
     7   be discussed with the customer, but again, that was not    7   requested it, and that really wasn't my role to do
     8   my role at this point in time nor was I involved with      8   that, so --
     9   the specific chargebacks.                                  9        Q. Did that change later on?
    10        Q. Do you know why there was a difference in         10        A. Sure. Yeah.
    11   the WAC price and the contract price?                     11        Q. Did there come a time where you got a
    12        A. I don't know the general purpose -- from          12   promotion from sales and marketing analyst?
    13   my understanding, that is kind of how the industry        13        A. Yes.
    14   worked. Yeah.                                             14        Q. And was that to become an associate
    15        Q. Do you know how long the contracts were           15   product manager?
    16   for? So if it was an $8 contract price, do you know       16        A. That is correct.
    17   for what period of time that price was extended to the    17        Q. And who was your direct report?
    18   customer?                                                 18        A. I believe it was Ginger Collier still at
    19        A. It would vary. It was not a set price.            19   that point in time.
    20        Q. Do you know how the WAC price was                 20        Q. And you did that from January of 2010 to
    21   determined?                                               21   August of 2011?
    22        A. No, not really. Not to my recollection.           22        A. That is correct.
    23   In our markets that we were in, these products have       23        Q. And what were your duties and
    24   been along for several years so I wasn't really around    24   responsibilities?

                                                        Page 43                                                         Page 45
     1 when those WACs were determined for those specific --        1        A. So at this point in time I was kind of --
     2 for those products at that time.                             2   it was an introductory product manager position, just
     3        Q. You mentioned IMS. What was IMS or what            3   kind of learning the roles and responsibilities of
     4   is IMS?                                                    4   product manager. I was responsible for I don't
     5        A. IMS is a data that held market                     5   remember what specific products at that point in time,
     6   information. So to get a -- you could gather               6   but it was a lot of the smaller volume, smaller
     7   information about market share and quantity -- market      7   products in our portfolio.
     8   quantity, year over year, changes. Again, there was        8        Q. Was this outside of the marketing group?
     9   someone in our team that gathered all of that data and     9        A. No, this is still in the marketing group.
    10   put it into like reports, if you will, so we could kind   10        Q. And do you recall what products you were
    11   of see a historical view of market share.                 11   responsible for?
    12        Q. Market share between Mallinckrodt and its         12        A. I don't recall at that point in time, no.
    13   competitors?                                              13        Q. Do you know if any of them were scheduled
    14        A. That is correct.                                  14   products?
    15        Q. And do you know what type of detail was           15        A. I don't recall.
    16   provided with regards to IMS? Was it prescriber           16        Q. And did you have responsibilities to be in
    17   information? How detailed was it?                         17   contact with Mallinckrodt customers in this position?
    18        A. Oh. It was -- so this information -- I            18        A. No, there was very little -- no. No.
    19   don't know the specifics, really. This is information     19   Occasionally, again, just to learn more, I would sit in
    20   that is provided by our customers to IMS, from my         20   on a call with a customer, with a sales representative
    21   understanding. Yeah.                                      21   and a customer, just to kind of understand the
    22        Q. And your customers were also buying               22   interactions and everything, but I did not have direct
    23   product from your competitors?                            23   contact with the customers myself.
    24        A. Sure. Absolutely.                                 24        Q. And one of the -- the second bullet under

   Golkow Litigation Services                                                                  Page 12 (42 - 45)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-17
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further13Confidentiality
                                                         of 81. PageID #: 216516
                                                                             Review
                                                             Page 46                                                        Page 48
     1 that --                                                          1 with regard to demand management?
     2       A. Uh-huh.                                                 2       A. So demand man -- so if there was ever a
     3     Q. -- at the end of it, it says -- it uses                   3 situation where -- okay, let me back up. So knowing
     4 the words demand management?                                     4 there is quota and there are restrictions -- or
     5       A. Uh-huh.                                                 5 constraints, so we can only sell so much -- just that's
     6       Q. What is that?                                           6 kind of just in the back of our heads knowing that.
     7       A. So in the generic -- specific to                        7        Q. This is bulk and dosage, or --
     8 controlled substances, there's quota; right? So we               8        A. Bulk and -- I was only in regards to the
     9 were -- we had constraints on what we could manufacture          9   bulk -- or excuse me -- dosage.
    10 as well as sell, and demand management -- excuse me --          10        Q. Okay. Sorry.
    11 was really kind of keeping an eye on the orders that            11        A. I was only responsible for the dosage
    12 were coming in compared to forecasts to make -- so we           12   piece of it. I'm not familiar with the bulk at all.
    13 were responsible for forecasting for our specific               13   And the demand management piece really came in as far
    14 product families, and if there was ever a situation             14   as looking at what the orders were coming in compared
    15 where we were going to potentially go onto backorder            15   to forecast to make sure that we were forecasting
    16 because of manufacturing delays or whatever the                 16   appropriately.
    17 situation may have been, we were in charge of                   17            There was a monthly meeting with multiple
    18 allocating product, if you will, so -- to specific              18   groups, and the corporate compliance team was aware of
    19 customers.                                                      19   the forecast, and if there was ever a point where the
    20     Q. If quotas were something you were dealing                20   forecasts were to come close or hit that capacity
    21 with at that point in time, would that necessarily              21   then -- I mean, they had to be aware of what the
    22 implicate scheduled medications?                                22   expectation was from a forecast perspective.
    23     A. So I wasn't directly involved with quotas.               23        Q. So you would provide that forecast to the
    24 The company received annual quotas for manufacturing            24   compliance group who would then make a determination

                                                             Page 47                                                         Page 49
     1 and selling. That was not our role. That was not our             1   whether there was a quota issue?
     2 responsibility. We were aware of the quotas, and                 2        A. I don't remember exactly how it was given
     3 that's -- yeah.                                                  3   to them, but I know that they were involved in that
     4       Q.   And as far as demand management, how would            4   process.
     5 you know -- if there were other companies that were              5        Q. And then you became a product manager in
     6 also providing medication into the quota, how would you          6   August of 2011; correct?
     7 know whether or not you were exceeding the quota based           7        A. That is correct.
     8 on what other manufacturers were doing?                          8        Q. And that was another promotion?
     9        A. I don't understand that question.                      9        A. That is correct.
    10        Q. Okay. One of the things you said you were             10        Q. Still in the marketing department?
    11   involved with was demand management and it was                11        A. Yes.
    12   understanding what the quota was for a specific               12        Q. Direct report is?
    13   medication; correct?                                          13        A. Ginger Collier.
    14        A. Understanding -- so I knew there was a                14        Q. Duties and responsibilities in product
    15   quota.                                                        15   manager?
    16        Q. Did you know what the quota was for any               16        A. Primarily the same as the associate
    17   particular medication?                                        17   product manager. Forecasting, making sure that you're
    18        A. I mean, there would have potentially,                 18   hitting your forecast, working with sales on any
    19   but -- we potentially may have been notified, but to me       19   initiatives that they're working with customers on.
    20   I have no concept of how much one metric ton would be         20   Sales and marketing was -- I mean, there was constant
    21   in terms of bottles or anything like that. So I just          21   collaboration between the two groups.
    22   knew that there was a quota and another group -- the          22        Q. And when you talk again about hitting
    23   corporate compliance group managed that.                      23   forecasts, does that mean -- does that relate to
    24        Q. So what specifically then would you do                24   production?

   Golkow Litigation Services                                                                       Page 13 (46 - 49)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-17
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further14Confidentiality
                                                         of 81. PageID #: 216517
                                                                             Review
                                                           Page 50                                                      Page 52
     1        A. Right. So where we -- so our customer                1 Mallinckrodt data -- internal data.
     2   commitments, where sales has agreed on X customer            2        Q. Based on WAC and contract price?
     3   contracting with us on a specific product, and they          3        A. That is correct.
     4   expect, let's say, 100 units, and so we would forecast       4        Q. You indicate here two successful new
     5   100 units in the forecast.                                   5   product launches. Do you know what product launches
     6        Q. Any customer contact as a product manager?           6   those were?
     7        A. I'm sorry?                                           7        A. If I recall, moving into this position,
     8        Q. Any customer contact?                                8   these product launches were well underway in terms of
     9        A. Customer? Very minimal. There would                  9   all of the work had already kind of been completed with
    10   be -- again, occasionally we would participate in calls     10   changes in the department and people leaving and
    11   with the sales team and customers, but very minimal,        11   whatnot, so I was -- from what I recall, I was
    12   or -- yeah.                                                 12   responsible for those product families at the time of
    13        Q. One of the things that it says you did              13   launch, and if I recall they were Fentanyl lozenge and
    14   under product manager was create a customer analytical      14   Fentanyl patch, and just to clarify launches -- so in
    15   model detailing financial productions to aid sales in       15   the generic market, these were generic markets that had
    16   customer negotiations.                                      16   already been well-established. We were not the first
    17        A. Sure.                                               17   generic to market or anything. The demand was already
    18        Q. What does that mean?                                18   created. It was a set demand. It kind of is what it
    19        A. So again, using the reports from Cognos,            19   is. It's a pie, if you will, and so we were looking to
    20   looking at historical sales and quantity, looking at        20   get a piece of that pie. There was no -- I mean, we
    21   where we've forecasted, so forecasting -- using IMS         21   weren't create -- when you hear launches -- I just want
    22   data to forecast. That would provide a historical view      22   to make sure to clarify.
    23   of the changes in the market, if you will, so if the        23        Q. And would you agree that the way to
    24   market's declined two percent over the past five years      24   increase that market share was pricing?

                                                         Page 51                                                          Page 53
     1   consecutively we can expect those to continue by             1        A. Yes. You had to be competitive on price.
     2   molecule to decline potentially, so it was -- a              2   That's generic industry.
     3   forecast is completely assumption-based, and so really       3        Q. And were you responsible at all for -- and
     4   would just kind of use the assumptions from the              4   maybe this overlaps with some of the things we've
     5   forecast to help the sales team in discussions with          5   already talked about in your prior positions, but
     6   customers.                                                   6   responsible for communicating to customers pricing or
     7         Q. And consistently achieve forecast targets           7   pricing changes?
     8   of six percent demand variance and five percent              8        A. Sales was the main point of contact with
     9   financial variance -- what does that mean?                   9   customers.
    10         A. Variance in regards to what my forecast            10        Q. And so sales would be responsible for
    11   was and how the demand came in, as well as financial,       11   providing information regarding pricing or changes in
    12   with the price obviously being a factor.                    12   pricing?
    13         Q. And would the IMS data provide you price           13        A. That is correct.
    14   data as it related to competitors?                          14        Q. October 2012 to July 2013, another
    15         A. It had a -- not by competitor. If I                15   promotion to regional account manager?
    16   recall, it had a price for the market, like an              16        A. That is correct.
    17   aggregated price.                                           17        Q. And who was your direct report?
    18         Q. What about the chargeback data? Were you           18        A. Jane Williams.
    19   still utilizing that data?                                  19        Q. Are you familiar with the term annual
    20         A. Sure. I would still run reports in                 20   incentive plan or terms?
    21   Cognos. Sure.                                               21        A. Annual --
    22         Q. Did the chargeback data indicate                   22        Q. As it relates to Mallinckrodt's bonus
    23   competitor pricing?                                         23   structure?
    24         A. No. The chargeback data again was only             24        A. Oh. I don't remember exactly what it was

   Golkow Litigation Services                                                                    Page 14 (50 - 53)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-17
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further15Confidentiality
                                                         of 81. PageID #: 216518
                                                                             Review
                                                           Page 54                                                         Page 56
     1 called. Yeah.                                                  1   different goals, if you will, and I think one of those
     2       Q. Do you know whether or not your change in             2   from what I recall was sales-based. I mean, others
     3 position from product manager to regional account              3   were like personal development or it could have been
     4 manager impacted your bonus structure or how bonuses           4   various things.
     5 were paid?                                                     5        Q. But one of those factors was volume of
     6       A. I do believe -- from what I recall, I do              6   sales?
     7 believe I was receiving -- included in some sort of            7        A. One of those factors, yes, was sales.
     8 bonus structure at that point in time. I don't                 8        Q. And I may have asked you. Your direct
     9 remember the specifics.                                        9   contact was Jane Williams, which is also reflected in
    10       Q. The next exhibit I'm going to show you is            10   Exhibit 3; correct?
    11 Plaintiff's Exhibit Number 3. This is Bates range             11        A. That is correct.
    12 MNK-T1_0007219775.                                            12        Q. At this point in time you received a
    13            [Exhibit Mallinckrodt-Cardetti-003 marked          13   company vehicle; correct?
    14            for identification.]                               14        A. I believe so. Back in 2012? Let me --
    15        Q. This is a document dated August 9, 2012.            15        Q. It said --
    16   Could you take a look at it? And this is why I was          16        A. Yeah, I believe so.
    17   asking you about the annual incentive plan. I hadn't        17        Q. And what were your duties?
    18   mentioned yet the sales incentive comp plan, but this       18        A. Oh. Sorry. Yeah.
    19   is sort of what I'm asking about now -- what the            19        Q. I'm sorry. I should have pointed it out.
    20   difference is between those, since it seems to be that      20   What were your duties and responsibilities as a
    21   you're now in a position where you're moving from           21   regional account manager?
    22   annual incentive plan to the SICP.                          22        A. This is -- this was an introductory sales
    23            MR. TSAI: And Mark, since it looks like            23   position. I had very few small accounts just to kind
    24   we'll be discussing Ms. Cardetti's personal financial       24   of learn the roles and responsibility of the sales

                                                           Page 55                                                      Page 57
     1 information, I'd just like to designate this part              1   team.
     2 highly confidential.                                           2        Q. So now you went from marketing to sales?
     3        Q. (By Mr. Dearman) Do you recall what the              3        A. That is correct.
     4   annual incentive plan was?                                   4        Q. And did you receive any formal training
     5        A. I don't remember the details of the plan,            5   from Mallinckrodt when you started in the sales
     6   no.                                                          6   position?
     7        Q. So -- and I appreciate the fact that you             7        A. I received training, yes, from various --
     8   don't recall the details. It was obviously a long time       8   at various points in time from various people. There
     9   ago.                                                         9   were -- I felt like I had several mentors.
    10        A. Right.                                              10        Q. Besides mentors, what I'm referring to --
    11        Q. The annual incentive plan -- was that a             11   was there any formal classroom-type training that you
    12   bonus plan?                                                 12   received?
    13        A. Again, I don't recall.                              13        A. Classroom training?
    14        Q. How about the sales incentive comp plan,            14        Q. Didn't have to be a class, but --
    15   the SICP, which I presume was something that you were       15        A. No. I mean, there was training. Whether
    16   involved in until you left Mallinckrodt?                    16   it was in person or over the phone, I mean, with us
    17        A. Yes, from my recollection this was -- this          17   working remote -- yes, there was training for the
    18   did include a bonus, but again, I don't recall the          18   position.
    19   details or the specifics.                                   19        Q. And what types of training from marketing
    20        Q. Do you know if the bonus was tied to                20   to sales did you receive?
    21   volume of sales?                                            21        A. I don't recall the details on the
    22        A. The bonus was tied to various different             22   training.
    23   things. If I recall, we had -- on an annual basis had       23        Q. Do you recall how much training you
    24   to create -- I think there were like five or six            24   received?

   Golkow Litigation Services                                                                    Page 15 (54 - 57)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-17
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further16Confidentiality
                                                         of 81. PageID #: 216519
                                                                             Review
                                                         Page 58                                                        Page 60
     1        A. I don't recall. I mean, I do remember                1        Q. That was also a promotion?
     2   that not having any sales experience, Jane worked very       2        A. That is correct.
     3   closely with me on everything at the very beginning,         3        Q. Do you know whether you were still part of
     4   so --                                                        4   the SICP program, the sales incentive compensation
     5        Q. Would you have contact with customers at             5   plan?
     6   this point?                                                  6        A. Excuse me. I believe I was, yes.
     7        A. Yes, I would.                                        7        Q. And so one of the factors that would go
     8        Q. And do you recall which customers you had            8   into your bonus was volume of sales?
     9   contact with?                                                9        A. Along with various other objectives as
    10        A. I don't remember which customers I worked           10   well.
    11   with at this specific time, no.                             11           MR. DEARMAN: Move to strike that as
    12        Q. And what was the point of having customer           12   nonresponsive.
    13   contact? I mean, what were you doing?                       13        Q. (By Mr. Dearman) One of the factors that
    14        A. I was the main contact for the customer.            14   you -- was used as a director of national accounts to
    15   I was working with the customer on opportunities, on        15   determine your bonus was volume of sales; correct?
    16   existing business. Again, I was the main point of           16        A. Volume of sales was one of the factors
    17   contact, so if anything came up.                            17   that was included.
    18        Q. And when you used the term opportunities,           18        Q. And who was your direct report as director
    19   what do you mean?                                           19   of national accounts?
    20        A. So I mean, it was a business, and we were           20        A. Jane Williams.
    21   looking to grow in terms of -- again, at our restrained     21        Q. At this point did you have anyone
    22   capacity, going back to the whole quota, there were         22   reporting to you?
    23   situations where we lost business and we had to try to      23        A. No.
    24   work to regain the business. Yeah, I mean, there            24        Q. So what was the difference between

                                                           Page 59                                                            Page 61
     1 were -- you looked for opportunities to continue to            1 regional account manager then and direct national
     2 work with the customer.                                        2 accounts as it related to duties and responsibilities,
     3     Q. And when you say continue to work with the              3 if any?
     4 customer, you mean continue to grow or increase volume?        4      A.   It was really just -- again, regional was
     5     A. Potentially. Again, I mean, these                       5 kind of an introductory sales role. It wasn't
     6 customers were well-established customers with                 6 technically regional. Our accounts were not
     7 Mallinckrodt that already had products on contract, so         7 geographical or anything. It was by account specific,
     8 it was my job to work with them to -- we didn't want to        8 so kind of graduated, if you will, to work with some of
     9 lose the business, so yes.                                     9 the larger accounts.
    10       Q. Were you responsible for negotiating                 10      Q.   Do you recall which accounts you started
    11 price -- pricing with customers in this role?                 11 working with as the director of national accounts?
    12       A. Yeah, so there was -- again, pricing was             12      A.   Sure.
    13 collaborative between sales and marketing. It was not         13    Q. It says 16 relationships, but --
    14 singly decided upon. Yeah.                                    14    A. Right. So the largest ones were
    15       Q. In this role were you the individual who             15 Walgreens -- WBAD -- as it mentions here, WBAD,
    16 would be requesting from marketing those types of             16 Walgreens, AmerisourceBergen, and OptiSource were my
    17 reports that you would had been generating earlier when       17 large accounts at that point in time.
    18 you were in those roles?                                      18    Q. What is WBAD?
    19       A.   Potentially. With having that experience,          19    A. WBAD is a sourcing group for Walgreens and
    20 I could have gathered it myself. I still had access to        20 AmerisourceBergen.
    21 it, from what I recall.                                       21      Q.   Do you know if that was the same thing as
    22     Q. And then in July of 2013 you became the                22 Walgreens Boots Alliance?
    23 director of national accounts; is that correct?               23      A.   That is. Correct.
    24     A. That is correct.                                       24      Q.   And as director of national accounts, was

   Golkow Litigation Services                                                                     Page 16 (58 - 61)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-17
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further17Confidentiality
                                                         of 81. PageID #: 216520
                                                                             Review
                                                             Page 62                                                        Page 64
     1 one of the things you were responsible for with these            1        A. Well, lost business is if there was a
     2 relationships was to increase volume of sales?                   2   product on contract with a specific customer and we
     3      A.    So again, we worked with customers on                 3   went from having the business to no longer having the
     4 opportunities to grow sales, but again, we were within           4   business for whatever reason. It could have been a
     5 constraints due to quota, so the quota was established           5   variety of reasons. And in terms of quota, again, I
     6 for the company by the DEA and we were operating within          6   wasn't really involved in what those quota limits were
     7 those constraints.                                               7   or -- yeah. The --
     8      Q.    Was it your understanding that the quota              8        Q. But one of your duties and
     9 that you're referring to was directly related to                 9   responsibilities was to replace business if possible
    10 Mallinckrodt versus the entire market?                          10   with your accounts?
    11      A.    Yes. So the quota was specific to                    11        A. Well, sure. We were looking to grow
    12 Mallinckrodt. From my understanding, each manufacturer          12   within constraints, knowing that there were constraints
    13 received a certain amount of quota from the DEA.                13   for the company.
    14      Q.    And in order to work on the opportunities,           14        Q. And the constraints again are the quotas?
    15 as you had indicated within the quota, would you work           15        A. The constraints would be the quotas. Or I
    16 with marketing on those opportunities?                          16   mean, or manufacturing capabilities. I mean, if there
    17      A.    Yes. So it was a pretty collaborative                17   was -- if we were constrained on a manufacturing line
    18 approach within sales and marketing on anything. So             18   or something. I mean, there could have been other
    19 marketing didn't do anything by themselves, sales               19   constraints.
    20 didn't do anything. I mean, there was always the                20        Q. Are you aware of situations where you --
    21 collaboration between the two groups.                           21   where Mallinckrodt wasn't able to meet whatever the
    22      Q.    Did you ever send out e-mails to any of              22   quota level was due to manufacturing constraints?
    23 your accounts regarding opportunities?                          23        A. I was not aware. I mean, I didn't --
    24      A.    I mean, yeah. There was situations where             24   wasn't given that type of information as far as where

                                                             Page 63                                                          Page 65
     1 we were working on opportunities. Again, and just to             1 we came in compared to quota year after year from what
     2 kind of back up, not knowing the full context of -- I            2 I recall. Again, that was not our responsibility.
     3 mean, this is very generally speaking; right? So there           3        Q. So let's assume for a minute you lost
     4 could have been lost business, and so we were looking            4   business of -- we'll just say hypothetically 100 units
     5 to grow on that specific product that we had lost                5   of whatever the molecule was.
     6 business from another customer, so that could then               6        A. Uh-huh. Sure.
     7 become an opportunity with another customer.                     7        Q. There were other account representatives,
     8       Q. So if you lost business with one customer,              8   right, in your group that had other customers?
     9 that would leave room in the quota to go to another              9        A. That is correct.
    10 quota? Is that what you mean?                                   10        Q. So what was the mechanism that was used
    11       A. Sure. Yes. That's correct, yeah.                       11   such that you both wouldn't offer the same opportunity
    12       Q. And how would you become aware, as the                 12   to a customer?
    13 regional -- as the -- sorry -- as the director of               13        A. We had weekly meetings. Everybody was
    14 national accounts, how would you become aware of room           14   aware of what was going on as a business. Again, there
    15 in the quota?                                                   15   were monthly meetings with -- to review the forecast,
    16       A. I would become aware of lost business, not             16   so the forecast -- as the product managers were
    17 necessarily how much room we had left in the quota per          17   responsible for those particular products. They were
    18 se, but knowing -- again, we had the monthly meetings           18   fully aware of what was going on with that product.
    19 with sales, marketing, supply, planning -- I mean,              19   Any opportunities or offers that were outstanding with
    20 there were multiple people in the room to go over the           20   customers, any lost business -- all of that would go
    21 forecast on a monthly basis.                                    21   into the forecast. So they were kind of the manager
    22      Q. What's the distinction between -- what's                22   over the product family, and sales was -- kind of the
    23 the distinction, if any, between lost business and room         23   manager over the customers.
    24 in the quota?                                                   24            However, there was -- as I said, there was

   Golkow Litigation Services                                                                      Page 17 (62 - 65)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-17
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further18Confidentiality
                                                         of 81. PageID #: 216521
                                                                             Review
                                                           Page 66                                                           Page 68
     1 constant collaboration between the groups, so everybody        1        A. Not --
     2 kind of was somewhat aware of what was going on, but           2            MR. TSAI: Object to the form.
     3 the product manager kind of held that, if you will, to         3        Q. (By Mr. Dearman) Go ahead.
     4 your question.                                                 4        A. Yeah. Not necessarily. I'm sorry. Can
     5        Q. Because the product manager was                      5   you repeat the question now?
     6   responsible for a specific SKU or a specific molecule?       6        Q. Absolutely. I'll ask it to you this way.
     7        A. Product families. It was kind of                     7   What was the purpose of your understanding, in your
     8   designated by product families, which included several       8   role and responsibility, that there was a quota? Why
     9   SKUs in some situations.                                     9   did you know that? You were a salesperson who was --
    10        Q. And was the goal to reach the ceiling of            10   had specific accounts you were dealing with.
    11   the quota?                                                  11        A. Uh-huh.
    12        A. There was not necessarily a goal to hit             12        Q. Why did you have to know what the quota
    13   that. There was just -- it was set by the DEA, and          13   was?
    14   just to kind of give some context with the quota, from      14        A. I didn't need to know. I mean -- and
    15   my understanding I was not involved in how those were       15   again, I didn't have that detail. I just knew that
    16   set or anything, but that was really kind of looking at     16   there was a quota.
    17   here's our current book of business and here's how it       17        Q. So then how is it that you determined that
    18   equates to -- this is my just my layman's view of the       18   there was an opportunity? And when I'm using the term
    19   world --                                                    19   opportunity -- you can tell me if this is your
    20        Q. Fair enough.                                        20   understanding as well -- an opportunity is an
    21        A. Here's our book of business. Here's what            21   opportunity for a Mallinckrodt customer to purchase
    22   it equates to quota. This is the quota request that we      22   more of a molecule. Is that your understanding of an
    23   are needing -- or requesting, I guess, and then the DEA     23   opportunity?
    24   would say yea or nay, they could grant us 100 percent,      24        A. Opportunity is looking for products that

                                                           Page 67                                                         Page 69
     1 they could grant us 20 percent of our request. So the          1   are not on contract that could potentially be on
     2 request would be a comprehensive view from, again, my          2   contract. Again, knowing that there are constraints.
     3 layman's perspective as far as what I'm aware.                 3   It's not like we could go out after the entire market
     4       Q.   Are you referring now to changes in the             4   or after every customer, but yeah, there were
     5 quota? Is that what you're referring to?                       5   opportunities with customers.
     6       A.   No, I'm referring to the original request,          6         Q. And I'm trying to -- and maybe we're
     7 but again, I was not involved in the request, I did            7   saying the same thing, but when we're using the
     8 not --                                                         8   opportunity, what you mean is an opportunity for a
     9        Q. Understood.                                          9   Mallinckrodt customer to purchase more of or to start
    10        A. Yeah.                                               10   purchasing a molecule from Mallinckrodt?
    11        Q. But you were involved in sales; correct?            11         A. Yeah, the way that I'm using opportunity
    12        A. I was involved in sales.                            12   would be that they're not currently purchasing it and
    13        Q. And you were involved in offering                   13   there's an opportunity for them to potentially purchase
    14   opportunities to accounts -- right -- customers?            14   it.
    15        A. I was involved in working with customers.           15         Q. Was there any opportunities to increase
    16        Q. And you were retained by the quota;                 16   what they were purchasing, as opposed to they weren't
    17   correct?                                                    17   purchasing it?
    18        A. That is correct.                                    18         A. There were -- I mean, dependent on the
    19        Q. And it was an effort in weekly meetings             19   customer. Some customers dual-sourced, for example,
    20   and other meetings and collaboration to make certain        20   would give dual awards, so 50 percent to Mallinckrodt
    21   that if there was some lost business and the quota          21   and 50 percent to another manufacturer.
    22   wasn't being met, to figure out what opportunities you      22         Q. And I'm going to get to that in a second.
    23   could offer to other customers so that you could reach      23         A. Okay.
    24   the quota; correct?                                         24         Q. But back to what we were talking about,

   Golkow Litigation Services                                                                     Page 18 (66 - 69)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-17
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further19Confidentiality
                                                         of 81. PageID #: 216522
                                                                             Review
                                                        Page 70                                                           Page 72
     1 which is -- and let's just use your example, which is         1   capabilities, what else went into the restraints?
     2 going to an account who wasn't purchasing that molecule       2        A. I can't recall. I mean, those were the
     3 and offering them that opportunity; correct?                  3   main ones that I recall.
     4       A.   Again, the customers are the wholesaler,           4        Q. So let's assume for a second for purpose
     5 distributors.                                                 5   of my question --
     6        Q. Correct.                                            6        A. Okay.
     7        A. Direct retail chains.                               7        Q. -- that you don't have any manufacturing
     8        Q. Yes.                                                8   constraint, that you can manufacture it. That's not a
     9        A. But yes, that's who we would be working             9   problem. That would lead then to the only restraint or
    10   with.                                                      10   constraint being the quota; correct?
    11        Q. And when you were told that you could              11            MR. TSAI: Object to the form. Go ahead.
    12   reach out to one of your accounts to offer them an         12        Q. (By Mr. Dearman) You can answer the
    13   opportunity -- right?                                      13   question.
    14        A. Uh-huh.                                            14        A. I mean, again, knowing that there was
    15        Q. The opportunity was defined in quantity;           15   quota that the company had to operate under and we
    16   correct?                                                   16   couldn't go above that quota, we weren't -- I wasn't
    17        A. Correct --                                         17   involved in establishing that quota, but again, knowing
    18        Q. And the -- what was your understanding of          18   that there was quota for the company, there were
    19   how that quantity was set, if you had an understanding?    19   constraints on what we could sell.
    20        A. I mean, there was -- again, there was              20        Q. I appreciate that answer, and I'm asking
    21   collaborative discussions to understand what the -- if     21   for you a yes or no, and you can explain it any way
    22   there was, for example, business that was lost in          22   you'd like, but I'm looking for a yes or no. If we
    23   another account, we lost 100 units, is there an            23   take out a constraint of manufacturing capability, then
    24   opportunity to work with another customer on this 100      24   the only other constraint is quota; correct?

                                                          Page 71                                                          Page 73
     1   units?                                                      1            MR. TSAI: Object to the form.
     2         Q. And why is it that you wanted to                   2        A. Quota would have been --
     3   replace -- why did you want to replace the business?        3        Q. (By Mr. Dearman) It's a yes or a no.
     4   Let's use the 100 units to one customer. You lose that      4            MR. TSAI: Object to the form.
     5   business to a competitor. What's the purpose of -- why      5        A. Yes.
     6   would you want to sell the 100 units to another             6        Q. (By Mr. Dearman) You were a director of
     7   customer?                                                   7   national accounts from July of 2013 through October of
     8         A. It was a business. I mean, we were trying          8   2017; correct?
     9   to, I mean, to as much as possible, again within            9        A. That is correct.
    10   restraints. It wasn't like we could go out to the          10        Q. Created monthly compliance reporting for
    11   entire market or anything. I mean, there was very --       11   forecast accuracy, which was incorporated by the entire
    12   it was a very regulated market, and there were a lot of    12   sales team. Am I reading the right thing?
    13   constraints around it.                                     13        A. I'm sorry. Where are you?
    14         Q. And so besides quota, can you list other          14        Q. I'm sorry. I'm -- that's fair. I'm at
    15   constraints?                                               15   your last -- the bottom bullet, under director of
    16         A. As I mentioned, manufacturing constraints         16   national accounts. Can you please tell me what
    17   would also be a potential where -- I don't know -- I       17   compliance reporting is?
    18   don't know the details regarding manufacturing, but if     18        A. Sure. So if -- going back to that
    19   there was two products that were utilizing the same        19   example, if a customer contracted a specific product
    20   manufacturing line or something and that line was          20   with us and they told us that their demand -- a lot of
    21   already at capacity so we -- I don't know the details,     21   times it was complete estimate on their behalf, but an
    22   but I just know there were manufacturing constraints,      22   estimated demand was 100 units, then it was really kind
    23   so --                                                      23   of -- for forecasting purposes, we would review on a
    24         Q. So besides quota and besides manufacturing        24   monthly basis if we were -- if that 100 units was

   Golkow Litigation Services                                                                    Page 19 (70 - 73)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-17
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further20Confidentiality
                                                         of 81. PageID #: 216523
                                                                             Review
                                                            Page 74                                                       Page 76
     1 coming in or not. Again, for forecasting purposes we            1        Q. And one of the factors to determine what
     2 needed to have that information accurate.                       2   your bonus would be is volume of sales; correct?
     3      Q. Going back to your example where you said               3        A. One of the factors -- again, there were
     4 that they could be buying 50/50 -- they could be buying         4   multiple factors that were -- that went into that
     5 from Mallinckrodt and buying from a competitor -- how           5   program.
     6 would you know whether or not they were buying from a           6        Q. Again, one of the factors would be the
     7 competitor?                                                     7   volume of sales?
     8       A. If the customer was willing to share                   8        A. One of the factors would be volume of
     9 that -- or let's say that they -- it was an RFP put out         9   sales that went into the program, along with several
    10 for 100 units one month and then the next RFP comes out        10   others.
    11 and it only is for 50 units, and looking back you know         11        Q. We can -- I can ask this question 500
    12 that their full demand is 100 units; right? So if only         12   times if you'd like, and I appreciate you providing
    13 50 percent of that is going out to bid now, they -- I          13   additional information, but my question was is it
    14 mean --                                                        14   correct that one of the factors in determining your
    15      Q. How do you confirm the accuracy of what                15   bonus as a director of national accounts is volume of
    16 their full demand is? Did you?                                 16   sales? And I'm asking you for a yes or no, and then
    17       A. We can't confirm that information from the            17   you can explain it any way you want.
    18   customer -- I mean, we wouldn't have that information.       18            MR. TSAI: Object to the form. Go ahead.
    19   The customer typically would provide again what their        19        A. One of the factors included sales. Yes,
    20   estimated usages would be.                                   20   that is correct.
    21       Q. We talked about IMS data before. Would                21        Q. (By Mr. Dearman) It says you were
    22   IMS data give you a glimpse into what that customer did      22   nominated by management to participate in product
    23   the month before?                                            23   pipeline team?
    24       A. No. The IMS data was by manufacturer and              24        A. That is correct.

                                                            Page 75                                                         Page 77
     1 not by our customers, at least the data that I am               1        Q. What is the product pipeline team?
     2 familiar with and saw.                                          2        A. It was a -- from what I recall, it was a
     3        Q. Are you aware of whether there was any                3   team of various roles looking into -- R & D kind of led
     4   data that Mallinckrodt had access to which would allow        4   this team from my recollection, looking at items that
     5   to you look and see what other competitors were selling       5   we could potentially bring to our portfolio.
     6   to your customers or what other -- what other                 6        Q. And when you say items, what is it that
     7   competitors were selling to your customers?                   7   you mean when you refer to the term items as it related
     8        A. No, we wouldn't have that information.                8   to your duties and responsibilities?
     9            MR. TSAI: Mark, we've been going about an            9        A. I'm sorry. Items meaning the products?
    10   hour-and-a-half.                                             10   Is that --
    11            MR. DEARMAN: Yeah.                                  11        Q. Is that what you were referring to?
    12            MR. TSAI: Take a quick break?                       12        A. Yes, products. Yeah, so R & D team looked
    13            MR. DEARMAN: Absolutely.                            13   to grow our portfolio, and there was a team established
    14            THE VIDEOGRAPHER: We are going off the              14   with various roles to look at those products as
    15   record at 9:28 AM.                                           15   potential items in our pipeline.
    16            [A brief recess was taken.]                         16        Q. And would you be referring to -- then to
    17            THE VIDEOGRAPHER: We are back on the                17   generic medications that were not already in your
    18   record at 9:43 AM.                                           18   pipeline?
    19        Q. (By Mr. Dearman) I might have asked you              19        A. I don't recall what products or anything,
    20   this, but with regards to your position as a director        20   but they were -- there may have been some that were
    21   of national accounts, would you also be participating        21   already in the pipeline that were being reevaluated,
    22   in the SICP bonus program?                                   22   potentially. New ones, I don't recall. Yeah.
    23        A. Yes, I recall being part of that program             23        Q. It indicates that you won the 2016
    24   in that position.                                            24   manufacturer of the year award from PBA. Do you see

   Golkow Litigation Services                                                                     Page 20 (74 - 77)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-17
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further21Confidentiality
                                                         of 81. PageID #: 216524
                                                                             Review
                                                            Page 78                                                         Page 80
     1 that?                                                           1 drugs?
     2       A. I do.                                                  2       A.    I'm not familiar with the branded
     3     Q. What is the 2016 manufacturer of the year,               3 business.
     4 and who is PBA?                                                 4       Q.    Would that have been important for you to
     5     A. PBA is a wholesaler located in Kansas                    5 know as a salesperson at Mallinckrodt?
     6 City, and they were a customer of mine that year. I             6            MR. TSAI: Object to the form. Go ahead.
     7 don't know the specific details as to how they                  7       A.    I was responsible for generic
     8 determined the manufacturer of the year.                        8 pharmaceuticals. Did not have any responsibility for
     9       Q. Did you get a plaque?                                  9 brands.
    10       A. I believe there was a plaque that                     10       Q.    (By Mr. Dearman) So looking at this
    11 Mallinckrodt was provided.                                     11 organizational chart and -- do you see where you're
    12           [Exhibit Mallinckrodt-Cardetti-004 marked            12 located on this chart?
    13           for identification.]                                A. I do.
                                                                      13
    14      Q. I'm marking as Exhibit Number 4 a document     14     Q. I'm glad you do. Where are you?
    15 that is Bate-ranged 0117 -- I'm sorry --               15     A. At the very bottom on the left, under Jane
    16 MNK-T1_002330117. Are you familiar, if you turn to the 16 Williams's column.
    17 page before it, where it says Covidien Pharmaceuticals         17       Q.    And so we talked about your position while
    18 specialty generics, strategic plan? Are you familiar           18 you were working for Jane Williams; correct?
    19 with these type plans? These something you've seen             19       A.    Yes.
    20 before?                                                        20       Q.    Is that the position you would have been
    21       A. Strategic plans, yes, I'm familiar -- I'm             21 in until the time that you departed from Mallinckrodt?
    22 familiar with.                                                 22     A. No. So this notes RAM, which would have
    23       Q. And it says Covidien Pharmaceuticals.                 23 been the regional account manager, between October 2012
    24 What's that?                                                   24 and July of 2013.

                                                          Page 79                                                          Page 81
     1        A. Covidien Pharmaceuticals at this time was             1        Q. And then when you moved to director of
     2   the parent company of Mallinckrodt.                           2   national accounts, is that -- would that be on this org
     3        Q. Was Covidien Pharmaceuticals the parent of            3   chart?
     4   Mallinckrodt the entire time you were with                    4        A. It would have still been with -- under
     5   Mallinckrodt?                                                 5   Jane's team.
     6        A. No.                                                   6        Q. But you wouldn't have been a RAM? You
     7        Q. When did that change?                                 7   would have been --
     8        A. I don't remember the specific date.                   8        A. A director of national accounts, so an
     9        Q. If you turn to the second page, there's an            9   NAD, if you will.
    10   organizational chart. Are you familiar with that term?       10        Q. I see it. Where Steve Becker is?
    11        A. Organizational chart?                                11        A. That's correct.
    12        Q. Yes.                                                 12        Q. And again, in your role as a director of
    13        A. Yes.                                                 13   national accounts, did anyone directly report to you?
    14        Q. And it says specialty generics, FY, full             14        A. No.
    15   year 2013. I assume that's what that means?                  15        Q. And if you turn the page to the third page
    16        A. Fiscal year.                                         16   of the document, it lists folks' names at the top, Pete
    17        Q. Fiscal year 2013? Okay. Specialty                    17   Romer, Bonnie New, open territory -- I assume that's
    18   generics. What does that refer to at Mallinckrodt, if        18   not a name of somebody -- Steve Becker and Lisa
    19   you know?                                                    19   Cardetti?
    20        A. Just the name of our group, generics.                20        A. Yes.
    21        Q. Was there also a group for branded drugs?            21        Q. And if you look at the names underneath on
    22        A. There was another group for branded, yes.            22   the list underneath your name, Bartell Drugs, Bashas,
    23        Q. And do you know whether or not branded               23   Bi-Mart. Do you see that?
    24   drugs that were sold by Mallinckrodt included scheduled      24        A. I do.

   Golkow Litigation Services                                                                       Page 21 (78 - 81)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-17
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further22Confidentiality
                                                         of 81. PageID #: 216525
                                                                             Review
                                                          Page 82                                                            Page 84
     1        Q. What is that referring to, if you know?             1 financials, but utilizing that data to ensure that we
     2        A. Those are customers -- again, customers of          2 were doing the right thing in terms of shipping to
     3   Mallinckrodt would have been wholesaler, distributors,      3 customers of ours that -- ensuring that we were being a
     4   direct retail, for example.                                 4 responsible manufacturer and supplier of the product
     5        Q. And does this refresh your recollection as          5 and working with customers that were responsible as
     6   to when you were in the regional manager spot that          6 well.
     7   these would have been your accounts?                        7      Q.      You say that there was a very robust
     8        A. Not exactly. I mean, yes, it looks like             8 program where they looked at detailed information just
     9   this is what I was responsible for at that time, but it     9 specific to chargeback data. What were they looking
    10   doesn't refresh any specific memories.                     10 specifically at chargeback data for, if anything?
    11        Q. Are you familiar with the term diversion?          11      A.      Yeah. So chargebacks would include,
    12        A. I am.                                              12 again, only internal Mallinckrodt information in terms
    13        Q. And what is your understanding of that             13 of what -- we go back to the -- my original kind of
    14   term?                                                      14 definition, if you will, of the wholesaler selling out
    15        A. Diversion could take place at several --           15 to the pharmacy, the bottle quantity that the
    16   there could be several different types of diversion.       16 wholesaler sold to the pharmacy.
    17   Diversion could be in this business at the                 17           That is the end of the information that we
    18   manufacturer, like a break-in at the distribution plant    18 had as far as where our product was going. So the
    19   or the distribution or at any facility, for that           19 chargeback information would come from the wholesaler,
    20   matter.                                                    20 again in an aggregated format, depending on how that
    21            Diversion could be when we were -- are            21 customer provided that, whether it be daily, weekly,
    22   shipping product and the carrier of that product --        22 monthly, and it was aggregated, and the team utilized
    23   product is stolen from the transportation carrier. It      23 that data.
    24   could be diversion at the -- our customers' facilities,    24      Q.      Utilized that data to do what?

                                                          Page 83                                                            Page 85
     1 in terms of burglary or break-ins, obtaining the              1    A. I was not in the suspicious order
     2 product illegally that way. It could be at the                2 monitoring group. I would -- Karen Harper managed that
     3 pharmacy level. I mean, there's various different             3 group, so I would recommend contacting Karen in regards
     4 types of diversion.                                           4 to the specific -- what they did specifically with that
     5        Q. Any others that you can think of?                   5 data.
     6        A. Diversion in the sense a patient acquires           6      Q.      And so you can't tell me specifically.
     7   product that was not his or hers by whatever form.          7 Can you tell me generally?
     8        Q. Do you believe that diversion can result            8      A.      Generally, from -- again, from my
     9   in abuse -- abuse of opioids?                               9 perspective in my roles at Mallinckrodt, I was aware
    10        A. Sure, diversion could have an impact.              10 generally that they were looking at orders coming in,
    11   Yeah.                                                      11 comparing it to historical demand, making sure that
    12        Q. Are you familiar with the term suspicious          12 anything -- if an order looked suspicious, looking at
    13   order?                                                     13 that. But again, for the specifics I would recommend
    14        A. Yes, I'm very familiar with suspicious             14 contacting Karen.
    15   orders.                                                    15      Q.      While at Mallinckrodt, did you have any
    16        Q. And what is your understanding of a                16 responsibility to approve a shipment to a customer?
    17   suspicious order?                                          17      A.      That was not my responsibility, so
    18        A. So specifically at Mallinckrodt, there was         18 suspicious order monitoring gave the approvals in terms
    19   a compliance team that again, I know very high-level as    19 of what orders should or should not ship.
    20   far as what their -- what they did on a day-to-day         20      Q.      And you did not; correct?
    21   basis, but I do know that they -- it was a very -- in      21      A.      I did not give the approvals.
    22   my eyes, it was a very robust program where they looked    22     Q. From the time that you started in January
    23   at detailed information, just -- specific to chargeback    23 of 2006 to the time that you departed in October of
    24   data, again, where the purpose of that was for true-up     24 2017, are you aware of a single order that was


   Golkow Litigation Services                                                                      Page 22 (82 - 85)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-17
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further23Confidentiality
                                                         of 81. PageID #: 216526
                                                                             Review
                                                         Page 86                                                        Page 88
     1   determined to be suspicious at Mallinckrodt?               1        A. I don't know.
     2        A. I don't remember specific orders. I do             2        Q. In your roles at Mallinckrodt that we had
     3   remember that that team looked at it on a regular basis    3   previously discussed, did you understand that
     4   and did the diligence to ensure that they felt             4   Mallinckrodt was legally required to provide effective
     5   comfortable. In my eyes, that team was very                5   controls and procedures to guard against theft and
     6   conservative and wanted to ensure that what we were        6   diversion of controlled substances?
     7   shipping out was validated.                                7        A. We were trained that there were rules and
     8        Q. Do you know, from the time that you                8   regulations, again, that -- knowing that this is a
     9   started at Mallinckrodt until the time that you left       9   highly-regulated market, in terms of what our legal
    10   Mallinckrodt, whether or not there was a single order     10   responsibility was. That was the suspicious order
    11   that was determined to be suspicious?                     11   monitoring and legal and regulatory teams'
    12        A. I don't -- I would not have had that              12   responsibilities.
    13   information in terms of what orders -- I mean, again,     13        Q. So did you have an understanding that
    14   the suspicious order monitoring team reviewed all of      14   Mallinckrodt was legally required to provide effective
    15   that. I don't know a specific order that was              15   controls and procedures to guard against theft and
    16   considered suspicious during that --                      16   diversion of controlled substances?
    17        Q. So you were not aware -- you are not aware        17        A. Yes, generally speaking. I knew that
    18   of a single order that was determined to be suspicious    18   there were regulations and rules.
    19   while you were at Mallinckrodt; correct?                  19        Q. What were your -- what was the source of
    20        A. There were orders that were determined to         20   that understanding?
    21   be suspicious during that time. I don't know the          21        A. Training that Mallinckrodt had provided.
    22   specifics of those orders.                                22        Q. Can you tell me about any training that
    23        Q. Was there more than -- were there less            23   you received as it relates to diversion or
    24   than 10?                                                  24   anti-diversion?

                                                         Page 87                                                       Page 89
     1        A. I don't know the -- I don't know the --            1        A. I don't remember the specifics around the
     2        Q. Was there more than 10?                            2   training. Again, this was a long time ago. But I do
     3        A. I don't know the details around the number         3   know that from my recollection, every employee was
     4   of orders that were considered suspicious or were not      4   required to do training, and again, I don't remember
     5   considered suspicious. Again, that was a suspicious        5   the specifics, though.
     6   order monitoring team that was responsible for all of      6        Q. And did the training include
     7   that, and I would recommend contacting that group.         7   anti-diversion training?
     8        Q. And I appreciate your recommendation, and          8        A. From my recollection -- I believe so.
     9   I'm not asking you how many weren't suspicious. I'm        9        Q. When did you leave Mallinckrodt?
    10   asking you if you know how many were suspicious.          10        A. In October 2017.
    11   Actually, my question is do you know whether any were     11        Q. In October 2017, did you receive any
    12   deemed suspicious? Yes or no?                             12   training regarding anti-diversion efforts?
    13        A. There were abs --                                 13            MR. TSAI: Object to the form. Go ahead.
    14            MR. TSAI: Object to the form. Go ahead.          14        A. In that specific month?
    15        A. There were absolutely orders that were            15        Q. (By Mr. Dearman) Yeah.
    16   considered suspicious.                                    16        A. I don't recall.
    17        Q. (By Mr. Dearman) Do you know how many?            17        Q. How about the year 2017?
    18        A. I do not know how many.                           18        A. I do remember that it was regular training
    19        Q. Do you know who Mr. Rausch is?                    19   that we had -- Mallinckrodt had several pieces of
    20        A. I believe there were a few Rausches that          20   material that the employees were to be trained on on a
    21   worked at Mallinckrodt. A couple, I believe. A father     21   regular basis. I don't remember the cadence of any
    22   and a son, if I remember correctly.                       22   specific training, no. And we had to complete the
    23        Q. Did either of them work in the SOM                23   training within a certain amount of time.
    24   program?                                                  24        Q. So can you tell me in 2017 whether or not

   Golkow Litigation Services                                                                 Page 23 (86 - 89)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-17
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further24Confidentiality
                                                         of 81. PageID #: 216527
                                                                             Review
                                                       Page 90                                                         Page 92
     1 you received any such training?                              1 specific orders from customers was in my customer
     2        A. Again, I don't remember the timing of --           2 service representative days, and again, that was not my
     3        Q. The training -- did it require some sort           3 responsibility. It was simply to enter the orders into
     4   of a either webinar or some other materials that would     4 the system.
     5   be utilized for purposes of training?                      5        Q. Were you aware whether or not Mallinckrodt
     6        A. I do remember there were -- yeah, like an          6   had a responsibility to avoid filling suspicious
     7   online type of training.                                   7   orders?
     8        Q. Where you would log in and you would spend         8        A. Sure. Again, I knew that there were rules
     9   your time to receive whatever training you were            9   and regulations around suspicious orders and I know
    10   required to receive?                                      10   that the suspicious order monitoring team was doing the
    11        A. That is correct. That was part of the             11   diligence looking at all of that, and I do know that
    12   training.                                                 12   orders were deemed to be suspicious.
    13        Q. Were there policies and procedures that           13        Q. When you use the term diligence that you
    14   you were provided to -- that you were provided with       14   just used --
    15   that explained to you how often you had to train or       15        A. Uh-huh.
    16   when you had to train?                                    16        Q. -- or due diligence, what is it you mean
    17        A. We would get notifications on login --            17   by that?
    18   there's a new training out there that needs to be         18        A. Kind of like what I referred to before, I
    19   completed by X date, for example.                         19   guess. So looking at the orders coming in, looking at
    20        Q. Who would provide -- was that by e-mail?          20   historical volume. Again, this is my layman's
    21        A. That was by e-mail.                               21   perspective of what that team was doing. I don't know
    22        Q. And who would provide those notifications         22   the specifics as to what they were doing. I just know
    23   to you? Was there a training group or somebody else?      23   that there was a process that was followed by that team
    24        A. I don't remember who sent those -- it --          24   to look at orders.

                                                        Page 91                                                          Page 93
     1   from what I recall it may have been a very general         1        Q. And when you say that team, can you --
     2   Mallinckrodt e-mail -- communication. I don't know.        2        A. Sorry. Suspicious order monitoring team.
     3       Q. But you would log in and you would receive          3        Q. And do you know who was part of that team?
     4   whatever the training was?                                 4   Can you name anyone?
     5       A. Yes.                                                5        A. Karen Harper, and at one point I
     6       Q. And you believe that some of that training          6   believe -- or Jen Buist. Those are the two names that
     7   included discussion about diversion or anti-diversion?     7   come to mind.
     8       A. Yeah, from what I recall, that would have           8        Q. And I understand that was the
     9   been included in those trainings.                          9   responsibility of that team, and what I'm asking you
    10       Q. Did you have an understanding that                 10   now is as a director of national accounts, what was
    11   Mallinckrodt had a duty to report suspicious orders?      11   your responsibility as it related to the suspicious
    12       A. A very general understanding, and pretty           12   order monitoring, if any?
    13   much that's the extent of it.                             13        A. I was not involved in the suspicious order
    14       Q. Did you ever report any suspicious orders?         14   monitoring process, from what I recall.
    15       A. Did I report it to who?                            15        Q. And that would be true of your entire time
    16       Q. Anybody?                                           16   at Mallinckrodt?
    17       A. Not that I recall. Again, depending on             17        A. Yeah, the suspicious order monitoring
    18   what -- I mean, if you're referring to July 2013          18   team -- that was their responsibility in terms of
    19   through 2017, I wouldn't really have access to the        19   reviewing and making those decisions. They were the
    20   orders coming in or anything like that.                   20   decision makers.
    21       Q. I'm referring to anytime you were with             21        Q. So I want to make sure we're not splitting
    22   Mallinckrodt.                                             22   hairs here.
    23       A. Yeah, no, I don't recall. I mean, again,           23        A. Sure.
    24   specific orders -- the only time that I would have seen   24        Q. When you say they were responsible, I'm

   Golkow Litigation Services                                                                  Page 24 (90 - 93)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-17
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further25Confidentiality
                                                         of 81. PageID #: 216528
                                                                             Review
                                                           Page 94                                                            Page 96
     1   wondering what your role, if any, in the department           1       A.    I don't remember specifics around the
     2   that you were in -- did that intersect with the SOM           2 training, no.
     3   program or the SOM team?                                      3       Q.    Anything else with regard to generalities?
     4         A. Again, kind of going back to my analyst              4       A.    Not that I can recall.
     5   days, I ran reports. There may have been -- I don't           5    Q. Did your -- in sales, did your intended --
     6   remember specifically, but there may have been a time         6 who was your intended customer while you were in sales,
     7   where I was asked to run a report for the suspicious          7 and did that change while you were in sales?
     8   order monitoring team, for example. Yeah.                     8       A.    The intended customer were the wholesaler,
     9         Q. Let me see if I can make it a little bit             9 distributor, direct retail chains. Like our direct
    10   easier for you. From the time that you were a product        10 relationships that we had with those wholesalers,
    11   manager in 2011 and forward till the time that you           11 distributors, direct retail chains.
    12   left -- when was the first time that you got into the        12       Q.    What was your understanding, if any, as to
    13   sales department? Let's start -- let me ask you that         13 whether or not -- once the product was received by
    14   question.                                                    14 whoever the intended customer was, whether or not
    15         A. Sales was regional account manager.                 15 Mallinckrodt had a further responsibility as it related
    16         Q. So let's talk about that.                           16 to anti-diversion?
    17         A. Okay.                                               17       A.    So the responsibility was held in the
    18         Q. So in your tenure in the sales department           18 suspicious order monitoring team, and that is exactly
    19   at Mallinckrodt, can you tell me what role, if any, you      19 what, from my perspective, Mallinckrodt did. They
    20   had in regards to the suspicious order monitoring            20 looked at the data that was provided by those customers
    21   process at Mallinckrodt?                                     21 of ours -- again, the wholesaler, distributors, direct
    22         A. Okay. Thank you for specifying the time             22 retail chains -- in terms of the pharmacies that they
    23   frame.                                                       23 were selling to.
    24         Q. You're welcome.                                     24            All of that information was integrated

                                                            Page 95                                                           Page 97
     1    A. So during -- as sales -- so if an order                   1 into the chargeback data. The suspicious order
     2 came in, was deemed suspicious by the suspicious order          2 monitoring team used that data to make decisions, from
     3 monitoring team, they didn't have any backup                    3 my understanding, and decisions were made based on
     4 documentation of a new award or anything like that,             4 having that. Again, that is just internal Mallinckrodt
     5 they would reach out to the salesperson that was                5 data. It doesn't give you the whole picture on those
     6 responsible for that customer -- again, wholesaler,             6 pharmacies or anything, but from my understanding
     7 distributor, direct retail chain primarily -- and ask           7 decisions were made based on that data, and I know that
     8 for additional insight in terms of this order that              8 pharmacies were cut off.
     9 looked suspicious.                                              9   We -- the suspicious order monitoring team
    10          So we were kind of the middleman, if you       10 cut off specific pharmacies, and notifications went out
    11 will, between suspicious order monitoring and the       11 to the wholesalers and distributors that we will not
    12 customer, relaying information from the SOM team to the 12 accept chargebacks for these pharmacies. I mean, I
    13 customer and back from the customer to the SOM team.    13 feel like that was -- the diligence was done with that
    14 And that was done over e-mail.                          14 team.
    15      Q. And what training did you receive for that      15      Q. So you would agree that Mallinckrodt had
    16 role or that responsibility?                            16 some further responsibility once it delivered the
    17      A. I vaguely recall Karen -- I don't remember      17 product to its intended customer, and that was the
    18 specifics, but Karen giving us training regarding --    18 SOM -- the suspicious order monitoring team's
    19 that they needed this information in order to release   19 responsibility?
    20 orders or to potentially release orders.                       20       A. Suspicious order monitor --
    21       Q. Anything else?                                        21           MR. TSAI: Object to the form. Go ahead.
    22      A. Anything else in regards to the training               22       A. Sorry. Can you repeat the question?
    23 that I remember?                                               23       Q. (By Mr. Dearman) Yeah. Once a product
    24      Q. That is correct.                                       24   was received by whoever the intended customer was,

   Golkow Litigation Services                                                                        Page 25 (94 - 97)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-17
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further26Confidentiality
                                                         of 81. PageID #: 216529
                                                                             Review
                                                          Page 98                                                      Page 100
     1 whether it was a retail chain or it was a distributor,        1        Q. So you don't know whether there's a
     2 do you know or do you believe that Mallinckrodt had any       2   difference or what the differences are between the
     3 further responsibility as it related to making sure           3   peculiar order and a suspicious order?
     4 that diversion did not occur?                                 4        A. Not necessarily. Not that I recall.
     5            MR. TSAI: Object to the form. Go ahead.            5        Q. Do you know whether or not -- while you
     6        A. So again, diversion can happen in many              6   were at Mallinckrodt, whether or not any peculiar
     7   forms, and --                                               7   orders were ever shipped to a customer?
     8        Q. (By Mr. Dearman) And I'm referring to all           8        A. So again, my understanding of a peculiar
     9   of the forms.                                               9   order is one that the suspicious order monitoring team
    10        A. Right. So we can't affect or we can't              10   may have needed additional information, and for an
    11   control all of the forms of diversion. We can control      11   example, if we recently won business with this specific
    12   what we sold to the customer and the information -- we     12   customer, there was no history of that customer
    13   can use the data that was provided to us for               13   purchasing that product, so based on whatever the
    14   Mallinckrodt-specific products on who those pharmacy --    14   algorithm that that team had determined -- that team
    15   who those wholesalers sold product to, utilize that        15   meaning the suspicious order monitoring team had
    16   information in a responsible manner to make decisions      16   determined, it was considered a peculiar order, and
    17   on how -- who received our product, who meaning the        17   then they reached out to the sales and market team --
    18   pharmacies. And again, that is the end of the chain as     18   market -- excuse me -- marketing team, for example, to
    19   far as the information that we had.                        19   get additional information.
    20        Q. Are you familiar with the saying know your         20             We would have potentially provide -- this
    21   customer's customer?                                       21   is just a hypothetical example -- that we would have
    22        A. I am familiar with that saying.                    22   provided that information on the new award and the
    23        Q. And what does that mean?                           23   expected volumes, and then that order could have
    24        A. Just what I explained. Just the                    24   potentially been released based on that additional

                                                          Page 99                                                            Page 101
     1 wholesaler is our customer, the pharmacy is the               1 information for the SOM team.
     2 wholesaler's customer. So knowing your customer's             2       Q.   Are you aware of whether any peculiar
     3 customer is really that chargeback data that                  3 orders were flagged to your attention and were
     4 Mallinckrodt had and utilized.                                4 subsequently shipped?
     5        Q. Do you also believe that it included                5     A. Potentially, yeah. I mean, there could
     6   looking at IMS data?                                        6 have been orders that were -- again, from that exact
     7        A. To know your customer's customer?                   7 same example. That may have been a new award, and that
     8        Q. Yes.                                                8 would have been okay to ship because of the new award.
     9        A. I don't see the correlation with that.              9       Q.   Are you aware of any peculiar orders that
    10        Q. Are you familiar with the term peculiar            10 were flagged to you that were not shipped?
    11   order?                                                     11       A.   Again, there could have been situations.
    12        A. Yes.                                               12 I don't remember specific orders or anything, but there
    13        Q. What is a peculiar order?                          13 could have been situations where, based on the
    14        A. It's an order that the suspicious order            14 information provided back to the SOM team, they felt
    15   monitoring team has deemed to be suspicious and needed     15 that it wasn't appropriate to still -- to ship that
    16   additional information to make a decision. That's my       16 order based on whatever details that they were
    17   interpretation of peculiar order.                          17 provided, so sure. Yes.
    18        Q. Is there any difference to you then                18       Q.   Do you recall any of those orders?
    19   between a peculiar order and a suspicious order?           19       A.   Do I recall any of those -- I do not
    20        A. I don't know how they were used with that          20 recall a specific order that was -- I do know that
    21   team, so not necessarily in my opinion -- from my          21 there were -- again, the process that took place, and
    22   perspective. I mean, it may have been that they needed     22 there would have -- there could have potentially been
    23   more information. Again, I don't know. That would          23 orders that shipped and there could have potentially
    24   probably be best described by the SOM team.                24 been orders that didn't ship depending on the


   Golkow Litigation Services                                                                   Page 26 (98 - 101)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-17
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further27Confidentiality
                                                         of 81. PageID #: 216530
                                                                             Review
                                                            Page 102                                                      Page 104
     1 information that the SOM team received and whether they          1 true-or-false question. True or false? Every order
     2 deemed it appropriate.                                           2 that the SOM group deemed peculiar was eventually
     3     Q. So there are a lot of things that could                   3 shipped?
     4 happen, and so I'm asking you what your knowledge is as          4           MR. TSAI: Object to the form.
     5 to whether they wanted. So I'm going to ask you                  5      Q. (By Mr. Dearman) Is that false or is that
     6 again --                                                         6 true?
     7       A. Sure.                                                   7           MR. TSAI: Object to the form.
     8       Q.   -- with regard to a peculiar order, are               8      A. Please repeat it.
     9 you aware of a peculiar order that was brought to your           9      Q. (By Mr. Dearman) Sure. True or false?
    10 attention, you did whatever diligence you were supposed         10 Every order that the SOM group deemed peculiar was
    11 to do in the sales group, and the order was not                 11 eventually shipped to the customer?
    12 shipped?                                                        12           MR. TSAI: Object to the form.
    13       A. I recall there were situations where                   13      Q. (By Mr. Dearman) It's true or false. Do
    14 orders were not shipped, and I mean, vaguely.                   14 you think it's true or do you think it's false?
    15       Q. Do you know how many?                                  15      A. I don't --
    16       A. Absolutely not.                                        16           MR. TSAI: Object to the form. Go ahead.
    17        Q. Is the same true for suspicious orders?               17      A. I don't agree with that statement because,
    18        A. Yes. I mean, again, I kind of use that                18 again, there were orders that were shipped and there
    19   interchangeably from my perspective.                          19 were orders that were not shipped.
    20        Q. Do you agree with the following statement?            20      Q. (By Mr. Dearman) And would that be true
    21   During your tenure at Mallinckrodt, there was not a           21 also if I used suspicious orders instead of peculiar
    22   single order that was deemed peculiar that was not            22 orders in the same --
    23   eventually shipped?                                           23      A. I don't know how the suspicious order
    24       A. Say that again, please.                                24 monitoring team defined the difference between peculiar

                                                        Page 103                                                          Page 105
     1        Q. Sure. Do you agree with the following                  1 and suspicious, so I don't -- I can't answer that
     2   statement? During your tenure at Mallinckrodt, there           2 question.
     3   was not a single order that was deemed peculiar that           3         Q. All right. Unfortunately I have to ask
     4   was not eventually shipped?                                    4   the question again now.
     5        A. Can you rephrase? There's kind of a                    5         A. Okay.
     6   double negative in there.                                      6         Q. And I'm going to ask it to you -- instead
     7        Q. There is. That's correct. All right.                   7   of as it relates to a peculiar order, I'm going to ask
     8   Are you aware of any orders that were deemed peculiar;         8   it to you as it relates to a suspicious order. It's a
     9   okay?                                                          9   true-or-false question. Every order that the SOM group
    10        A. Okay.                                                 10   deemed suspicious was eventually shipped to the
    11        Q. Which were not subsequently shipped to a              11   customer? True or false?
    12   customer?                                                     12             MR. TSAI: Object to the form.
    13        A. Any orders that were --                               13         A. Again, I do not agree with that statement
    14        Q. Deemed peculiar?                                      14   because there were situations in which the suspicious
    15        A. -- deemed peculiar that were not shipped.             15   order monitoring team may have deemed an order to be
    16        Q. But not -- that were not shipped?                     16   approved to ship, and there may have been situations
    17        A. Yes, there could have been orders that                17   where the suspicious order monitoring team deemed it
    18   were deemed -- I mean, I don't remember specifics             18   not appropriate to ship based on the information that
    19   around any orders or anything like that. Again, that          19   they had, and that was again not my decision. The
    20   was the suspicious order monitoring team. I do know           20   suspicious order monitoring team was responsible for
    21   that they reached out for additional information, and         21   that.
    22   if an order was deemed not to ship that would have been       22         Q. (By Mr. Dearman) So you believe my
    23   their decision.                                               23   statement was false?
    24        Q. Maybe I'll ask it to you this way as a                24             MR. TSAI: Object to the form.

   Golkow Litigation Services                                                                  Page 27 (102 - 105)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-17
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further28Confidentiality
                                                         of 81. PageID #: 216531
                                                                             Review
                                                        Page 106                                                          Page 108
     1        A. Can you repeat the question?                         1         Q. Have you ever created a document for sales
     2        Q. (By Mr. Dearman) I can. We can do this               2   and rebates for any of your accounts?
     3   as many times as you'd like. I'm going to ask now            3         A. Potentially. I mean, I --
     4   again about the suspicious order, and I'm going to ask       4         Q. If you turn to the next page --
     5   you whether or not you agree that this is a true             5         A. Uh-huh.
     6   statement or a false statement.                              6         Q. -- in that chart -- just at the top; I'm
     7        A. Okay.                                                7   not asking you about the other ones. MI contract
     8        Q. Any order that the SOM group determined              8   title -- do you know what that is?
     9   was suspicious, they deemed it to be suspicious, was         9         A. MI contract title. I don't recall what
    10   eventually cleared to be sent or shipped to a customer?     10   that would -- MI -- what's that for?
    11        A. I don't -- I do not agree with that.                11         Q. Do you know what rebate fee frequency --
    12        Q. Is that -- so you think it's false?                 12   and again, I'm just in the top of that chart.
    13        A. Because the --                                      13         A. Uh-huh.
    14        Q. You think it's false? You told me the               14         Q. Do you know what that refers to?
    15   reason why. I'm just asking you. You think it's             15         A. Sure. So from my recollection, that would
    16   false?                                                      16   be based on how often those rebates would be paid.
    17           MR. TSAI: Object to the form. Go ahead.             17         Q. And I don't think we've talked about
    18        A. I don't agree with that statement                   18   rebates yet, so what is a rebate?
    19   personally.                                                 19         A. A rebate is -- it could be many different
    20        Q. (By Mr. Dearman) Do you think it's false?           20   types of rebates negotiated with customers. Every
    21   Do you personally think it's false?                         21   account would be different from my recollection.
    22        A. I --                                                22         Q. Were you ever involved while at
    23           MR. TSAI: Object to the form.                       23   Mallinckrodt in negotiating rebates with customers?
    24        A. I personally think that that is false,              24         A. During my sales position, rebates were

                                                          Page 107                                                     Page 109
     1   that the suspicious order monitoring team -- that the        1 discussed. That is correct, yes.
     2   suspicious order monitoring team made the decision           2       Q. And would rebates be part of the written
     3   based on the information that they had to ship or not        3 contract with the customer?
     4   ship.                                                        4        A. They would, yes.
     5             [Exhibit Mallinckrodt-Cardetti-005 marked          5        Q. What is the purpose of a rebate? Does
     6             for identification.]                               6   that benefit the customer? Does that benefit
     7        Q. (By Mr. Dearman) I'm going to show you               7   Mallinckrodt? Does it benefit both of you?
     8   what is marked as Exhibit 5.                                 8        A. It's just how you come about the end
     9             MR. DEARMAN: Can I see one of those for a          9   price. Yeah.
    10   second? Sorry about that. Thanks.                           10        Q. What's the difference between a rebate and
    11        Q. (By Mr. Dearman) This is Bates range 5043           11   a chargeback?
    12   through -- it's native, so that's the only Bate range,      12        A. So the chargeback is getting you back to a
    13   but it's a one -- it's a two-page document attached to      13   contract price, so if you remember they purchase at a
    14   the native format slip sheet. Have you had a chance to      14   WAC price. Get you down to the contract price. And a
    15   look at these two pages?                                    15   rebate would be going from contract to a net price,
    16        A. I'm trying. They're little.                         16   whatever was negotiated.
    17        Q. Sorry.                                              17        Q. So before we used a WAC price of 10, I
    18        A. Okay.                                               18   think, dollars, we used a contract price of $8?
    19        Q. Are you familiar with these type of                 19        A. Correct.
    20   documents?                                                  20        Q. What is the net price? What does that
    21        A. Not necessarily. I mean, I don't know who           21   mean?
    22   created this or when or what the purpose was, or            22        A. It could have been different for every
    23   there's no context around either of these documents,        23   single customer. Contract could have meant net with
    24   so --                                                       24   some customers. There could have been zero rebates.

   Golkow Litigation Services                                                                Page 28 (106 - 109)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-17
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further29Confidentiality
                                                         of 81. PageID #: 216532
                                                                             Review
                                                         Page 110                                                        Page 112
     1   Again, it was dependent on the customer, and -- yeah.       1        A. I'm sorry. The --
     2        Q. What was the purpose of the rebate?                 2        Q. That's okay.
     3        A. It was just a negotiated -- I mean, to get          3        A. What you gave me.
     4   the customer to a negotiated price.                         4        Q. Is there a -- can you just refer to the
     5        Q. Would the chargeback information be used            5   number down at the bottom just so --
     6   to determine what the rebate was?                           6        A. I'm sorry.
     7        A. No, the chargeback was -- no.                       7        Q. That's okay. Just --
     8        Q. Did the rebate -- was there actually a              8        A. MNK-T1_0006434399.
     9   payment made to the customer for the rebate, or was it      9        Q. And if you just -- in the future, if you'd
    10   a credit that was put to a future -- if you know?          10   just refer to the last four we'll find it.
    11        A. Every customer could have been different           11        A. Sure. Okay.
    12   on how that was paid. I don't know the specifics on        12        Q. So 4399?
    13   any of that.                                               13        A. 4399. Correct. So this was a report that
    14            [Exhibit Mallinckrodt-Cardetti-006 marked         14   I recall was for reference only based on what was --
    15            for identification.]                              15   based on based on our contractual agreements with our
    16        Q. I'm going to show you a document which is          16   customers, and so it appears that Cindy was asking me
    17   marked Exhibit Number 6. It is Bate ranged 4382            17   to update it -- or no, wait, I was asking Cindy to
    18   through 4404.                                              18   update it.
    19        A. Thank you.                                         19        Q. Right. And why would you have been doing
    20        Q. You see the first page there is an e-mail?         20   that? What were you going to use this matrix for, if
    21   Who is Lisa Lundergan?                                     21   you know?
    22        A. That is me.                                        22        A. So again, this is, from my recollection,
    23        Q. And was that your maiden name?                     23   just a report that was utilized to know what was
    24        A. Yes.                                               24   contracted like in our agreements with our customers.

                                                         Page 111                                                         Page 113
     1        Q. Do you see that there's an e-mail down at           1        Q. So the first one -- on that rebate
     2   the bottom from Cindy Cerneka, who I think was one of       2   matrix -- ABC ProGenerics Primary, and it says that
     3   your supervisors that we talked about, to you --            3   they're an indirect customer, and it says the rebate is
     4        A. Yeah.                                               4   13 percent. 13 percent of what?
     5        Q. -- on June 9, 2018?                                 5        A. I don't know the details of that contract
     6        A. Yes, I do see that.                                 6   at this time, so I can't answer that question. I don't
     7        Q. Do you have any reason to believe that you          7   have the contract of AmerisourceBergen back in 2008.
     8   did not receive this e-mail in the ordinary course of       8        Q. It says -- it uses the term -- it uses the
     9   your business at Mallinckrodt?                              9   number 13 percent. I'm not asking you what the
    10        A. Do I have any reason to believe I did not          10   contract says. I'm asking you what that 13 percent is
    11   receive it?                                                11   supposed to represent.
    12        Q. That you did not receive it?                       12        A. That's what the contract would specify --
    13        A. No, based on what I'm looking at.                  13   how that 13 percent is paid.
    14        Q. Please let me know when this has been              14        Q. And what were the options as to how that
    15   updated. You -- that was from you to Cindy.                15   13 percent could be paid?
    16        A. Uh-huh.                                            16        A. Off of -- contract price would have been
    17        Q. What was it that you were trying to figure         17   an option.
    18   out what was updated?                                      18        Q. And the purpose of looking at this to know
    19        A. So the -- from my recollection, back in            19   that ABC ProGenerics Primary had a rebate of 13
    20   2008, as you can see here, this rebate metrics -- it       20   percent -- how did that inform you as to what you did
    21   was just an internal report that was used as reference     21   in sales at Mallinckrodt?
    22   as needed to -- based on --                                22        A. So at this point in time, I was a market
    23        Q. What are you referring to when you say             23   analyst back in 2008, so this was really just a report
    24   rebate metrics?                                            24   that was provided to, again, know what was on

   Golkow Litigation Services                                                                Page 29 (110 - 113)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-17
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further30Confidentiality
                                                         of 81. PageID #: 216533
                                                                             Review
                                                      Page 114                                                         Page 116
     1   contract -- what was our contractual obligations that       1 it to yourself. You say that you don't have projected
     2   was negotiated with the customer and the terms and          2 usages for all of the products awarded to Costco. Do
     3   conditions that was referenced as needed.                   3 you see that?
     4        Q. If you go back to the beginning of the              4        A. I do.
     5   e-mail -- back to the beginning of the document --          5        Q. And in order to make this report useful in
     6        A. Uh-huh.                                             6   tracking their compliance, could you provide the
     7        Q. -- you have the e-mail page, and then the           7   projected usages for the items that were awarded on the
     8   next document is 4384. Do you see that?                     8   attached spreadsheet? When you say to make this report
     9        A. I do.                                               9   useful, what did you mean?
    10        Q. And we can start with any of these. It             10        A. If -- to be able to do the calculations.
    11   doesn't matter. Cardinal, access, acute. Do you see        11   If you don't have what their expected usages are,
    12   that?                                                      12   there's no data.
    13        A. I do.                                              13        Q. And if you take a look at the spreadsheet
    14        Q. And it says morphine sulfate ER 15                 14   itself, is there -- you have the -- I don't know what
    15   milligrams tab, bottle of 100. What is that referring      15   035701 is at the top. Is that a SKU or an item number?
    16   to?                                                        16        A. Yes.
    17        A. So this is what it appears, the -- based           17        Q. You have an item description, you have an
    18   on that contract with Cardinal at this time these it       18   indirect price and a direct price. What's the
    19   were rebates and the item number, the NDC with a           19   distinction between those prices, if you know?
    20   specific product that was in the contract.                 20        A. So for some customers that didn't
    21        Q. So the 18.5 percent rebate was in                  21   warehouse product that needed to go through the
    22   reference to that specific item?                           22   wholesalers, they would be purchasing the product
    23        A. That specific item on that specific                23   through the wholesaler but would have a contract with
    24   contract. Correct. At that time.                           24   Mallinckrodt, so the price that they purchased it --

                                                         Page 115                                                         Page 117
     1         Q. Understood.                                        1   the indirect price and then the direct price would have
     2         A. Yeah.                                              2   been the negotiated price, if you will. It looks like
     3             [Exhibit Mallinckrodt-Cardetti-007 marked         3   it's all the same in this -- from what I'm looking
     4             for identification.]                              4   here, so indirect is equal to direct, but it was really
     5         Q. I'm going to show you Exhibit 7 which is           5   just a contract that was loaded at the wholesalers for
     6   Bate ranged 34 -- I'm sorry -- 4566 through 4567, and       6   indirect customers.
     7   then there's a spreadsheet -- a native spreadsheet          7         Q. So back to the e-mail. In order to make
     8   attached. Thank you. That e-mail is a one-page              8   this report useful in tracking their compliance --
     9   document, 4566. This was back in 2008, so you were in       9   tracking their compliance with what, or for what?
    10   the marketing department at that point; is that            10         A. So again, compliance tracking kind of like
    11   correct?                                                   11   what we were discussing earlier on my résumé was
    12         A. As an analyst.                                    12   really -- again, if it was a new award -- newly-awarded
    13         Q. Right.                                            13   item with a customer, they estimated the usage to be
    14         A. Correct.                                          14   100 bottles, for forecasting purposes that hundred
    15         Q. You can see on the bottom of the e-mail           15   bottles would be put into our forecast, and then this
    16   it's an e-mail from you to Bonnie New?                     16   was really to kind of track if we were getting that 100
    17         A. Yes.                                              17   bottles, that business as -- with that newly-awarded
    18         Q. Who's Bonnie New?                                 18   contract.
    19         A. Bonnie New was in sales.                          19         Q. That compliance had nothing to do with the
    20         Q. Do you have any reason to believe that you        20   SOM program, or did it?
    21   didn't send this e-mail in the ordinary course of your     21         A. No, I mean it was more a sales and
    22   business at Mallinckrodt?                                  22   marketing tool for forecasting. Yeah.
    23         A. No, I do not.                                     23         Q. And if you go back to the chart again
    24         Q. If you read the e-mail to Bonnie -- read          24   where we were talking about the item 035701, and we

   Golkow Litigation Services                                                               Page 30 (114 - 117)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-17
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further31Confidentiality
                                                         of 81. PageID #: 216534
                                                                             Review
                                                       Page 118                                                              Page 120
     1 looked at the price of 343, the direct price of 343,         1 Excel file. It was an Excel spreadsheet. So the
     2 what's the effective date and the expiration date?           2 usages would be put into there for any newly-awarded
     3        A. If we can go back to the previous                  3 item.
     4   question.                                                  4        Q.   If we turn back to the report again --
     5        Q. Sure.                                              5        A.   Uh-huh.
     6        A. So I mean, again, suspicious order                 6        Q.   -- it says usage. Do you see that at the
     7   monitoring could have used that information as far as      7 top?
     8   newly-awarded volumes in making their decisions, so it     8        A.   I do.
     9   could have -- yeah.                                        9        Q.   Do you see there's nothing underneath
    10        Q. Is that what you were referring to when           10 usage? Or is there and I'm missing it?
    11   you said compliance?                                      11        A.   There are some items with usage.
    12        A. No. So compliance in terms of --                  12        Q.   Oh, okay. So I see. So it's to the side,
    13        Q. Sale?                                             13 under the zeros, there's 3,000 down there and 12,000?
    14        A. -- the volume that was provided to us, an         14      A. Yeah. Yeah, there's --
    15   estimate from the customer on the expected usage that     15      Q. Okay. All right.
    16   would be on their contract, and then we would compare     16      A. I mean, I don't know what was -- what were
    17   that. This would be kind of comparing that volume to      17 the newly-awarded products other than this -- I don't
    18   what was purchased on contract for forecasting            18 have any additional context to know what the
    19   purposes, but if you remember our discussion earlier, I   19 newly-awarded products were in regards to what products
    20   referenced kind of the same situation, where if there     20 I was looking for usage on.
    21   was an order that came in from suspicious order           21        Q.   Okay. That's fair. But if you drop down
    22   monitoring and there was no history from -- of the        22 to that line under usage where there's a number 30,000?
    23   customer purchasing it -- purchasing that product and     23        A.   Uh-huh.
    24   that product -- or excuse me -- that order would have     24        Q.   What is that referring to?

                                                       Page 119                                                           Page 121
     1 been named peculiar or suspicious, that then they could      1         A. Again, that's the estimated usage provided
     2 have -- that the suspicious order monitoring team at         2   by the customer on their demand and the expected usage
     3 that point in time could have reached out to get more        3   that was contracted.
     4 information to ensure that they felt comfortable with        4         Q. Does that mean 30,000 of those specific
     5 releasing that order. So just to clarify.                    5   tablets or pills?
     6        Q. If we go to usage, because you indicated           6         A. 30 --
     7 that you needed projected usages; correct?                   7         Q. Or is it by pill or by bottle or what is
     8        A. Projected usages. Again, what was                  8   it?
     9 contracted and estimated -- provided from the customer,      9         A. 30,000 would have been by bottle. But I
    10 yes.                                                        10   don't -- I mean, I don't know if this is annual. I
    11        Q. So if we go back to that spreadsheet again        11   don't know any other context. Yeah.
    12   and look at the first item.                               12         Q. That's fine. I'm just trying to figure
    13        A. Uh-huh.                                           13   out what it is.
    14        Q. Under usage, there's nothing there. Is            14         A. Sure.
    15   that the number -- is that some number or percentage      15             [Exhibit Mallinckrodt-Cardetti-008 marked
    16   that you were looking for?                                16             for identification.]
    17        A. I don't recall. I mean, it looks like             17         Q. I'm going to show you Exhibit 8, which is
    18   this -- I don't recall this specific e-mail.              18   86664 (sic). It's an e-mail, and then attached to it
    19        Q. Well, I'm just trying to figure out --            19   is a spreadsheet that is produced in native format as
    20   where would the projected usage show up on this           20   well. You see this e-mail to you on August 6th, 2009,
    21   document, if it would?                                    21   from Kate Muhlenkamp?
    22        A. So I reference profit model here, and so          22         A. I do.
    23   that is -- that was another tool utilized by sales, and   23         Q. 2009, you were in the sales -- you were
    24   the customer's estimated usages would be put into that    24   still an analyst; correct?

   Golkow Litigation Services                                                                Page 31 (118 - 121)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-17
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further32Confidentiality
                                                         of 81. PageID #: 216535
                                                                             Review
                                                              Page 122                                                          Page 124
     1      A.   That is correct.                                         1        A. No.
     2      Q.   Who is Kate?                                             2        Q. If we turn the page back to the actual
     3      A.   Kate was a product manager at that time.                 3   chargeback spreadsheet, I guess, I'll refer to this.
     4      Q.   Do you have any reason to believe that you               4        A. Sure.
     5 didn't receive this e-mail in your ordinary course of              5        Q. Are you familiar with this type of a
     6 business at Mallinckrodt?                                          6   report?
     7      A.   No, I do not.                                            7        A. Yes, I remember these types of reports.
     8      Q.   Who is Victor Borelli?                                   8   Sure.
     9      A.   Victor Borelli was a salesperson at that                 9        Q. The first thing is DEA number, and what
    10 time.                                                             10   does that refer to, if you know?
    11      Q.   Did you know who Victor Borelli was?                    11        A. DEA number is the actual facility's DEA
    12      A.   Yes.                                                    12   registration number with the DEA. Facility meaning the
    13      Q.   Did you know him?                                       13   pharmacy.
    14      A.   Yes, I worked with him. He was in sales                 14        Q. It says ship to customer name, Enrique
    15 and I was in marketing.                                           15   Gonzalez-Pujol, M.D., under ship to customer name.
    16      Q.   And when you got into sales was he still                16   Under pricing contract, it says Sunrise Wholesalers and
    17 in sales, if you know?                                            17   it gives their ID number; correct?
    18      A.   I don't remember when he left.                          18        A. Correct.
    19      Q.   On the -- so then if you go up to the top,              19        Q. It gives a SKU of 853001. It gives a
    20 it's from you to -- back to Kate, and you CCed Victor,            20   product description of oxycodone with some of the other
    21 do you see that? And it says subject, Sunrise reports.            21   dosing information; correct?
    22      A.   I do.                                                   22        A. That's not dosing information. That's the
    23      Q.   And then under the attachments, it says                 23   strength.
    24 some numbers -- CY-08, CY-09, Q12-2. Do you know what 24                    Q. The milligrams?

                                                              Page 123                                                         Page 125
     1 any of those numbers refer to?                                     1       A.   Yes.
     2        A. CY would have been calendar year 2008.                   2       Q.   The pricing quality -- quantity?
     3        Q. Okay. Yeah.                                              3       A.   Quantity.
     4        A. CY-09 -- calendar year 2009, January                     4       Q.   And the net sales? All right.
     5   through June. So it was six months of sales in 2008              5       A.   Correct.
     6   and six months of sales in 2009, so Q1 and Q2 meaning            6       Q.   So the DEA number is the number of --
     7   January through March and Q2 through June.                       7 whose number -- whose DEA number is that, if you know?
     8        Q. Do you know why Victor was asking for this               8       A.   That's the pharmacy's DEA number.
     9   information?                                                     9       Q.   Who is Enrique Gonzalez-Pujol, M.D., as
    10        A. I do not.                                               10 the customer?
    11        Q. Were you familiar with who Sunrise                      11       A.   That is the customer that Sunrise
    12   Wholesalers were before receiving this e-mail?                  12 Wholesaler shipped to.
    13        A. I was aware of them as -- I don't know if               13       Q.   The SKU would be the same SKU, would be
    14   they were a customer of ours at this point in time, but         14 Mallinckrodt SKU?
    15   from my understanding or recollection I believe so,             15       A.   Yes, that's our SKU -- NDC number, SKU.
    16   yes.                                                            16 Uh-huh.
    17        Q. There anything else you know about Sunrise              17       Q.   And pricing quantity and net sales --
    18   Wholesalers as you sit here today?                              18 what's the significance of that to Mallinckrodt as it
    19        A. That they're a wholesaler that was                      19 relates to the chargeback?
    20   eventually cut off and that account was closed at               20       A.   So again, I don't know the purpose of this
    21   Mallinckrodt due to -- throughout the SOM team and the          21 report, why Victor was requesting it. My role as an
    22   suspicious order monitoring. That's about it, yeah,             22 analyst was to run the data and provide the report. I
    23   that I recall.                                                  23 don't know the purpose of the request, what they were
    24        Q. Was Sunrise ever your customer?                         24 looking for.


   Golkow Litigation Services                                                                      Page 32 (122 - 125)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-17
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further33Confidentiality
                                                         of 81. PageID #: 216536
                                                                             Review
                                                               Page 126                                                        Page 128
     1            All I know is what I looked -- this is                   1   Gonzalez-Pujol and this pricing quantity of 2,400,
     2 what I ran, apparently, according to this e-mail, so I              2   that's 2,400 bottles of 100 pills over what period of
     3 ran a report based on what was requested -- Sunrise                 3   time based on the e-mail and the -- can you tell me
     4 Wholesalers and who they shipped to and how much during             4   that?
     5 this specific time frame.                                           5        A. It looks like attached are the chargeback
     6       Q.    When you say how much -- if we look at                  6   reports for calendar year 2008 and calendar year 2009,
     7 that first DEA number and the Enrique Gonzalez, it says             7   January through June, according to the e-mail, 8664
     8 quantity 2,400. Does that mean 2,400 pills or bottles?              8   document.
     9       A.    That's bottles.                                         9        Q. And do you know why -- is this in a
    10       Q.    And how many are in a bottle -- how many               10   specific order? Is it in order of -- in any specific
    11 pills?                                                             11   order?
    12       A.    On this specific one -- so if you look at              12        A. It looks like what I did was -- I can't
    13 the SKU, 853001, 01 at the end refers to a 100-count at            13   tell. It doesn't appear to be -- excuse me --
    14 Mallinckrodt, so that would have been a 100-count                  14        Q. How about pricing quantity? It looks to
    15 oxycodone 30-milligram bottle.                                     15   me like it might be in order of the most net sales to
    16       Q.    So that was 2,400 bottles of 100 pills in              16   the least net sales. I could be making that up.
    17 each bottle?                                                       17        A. It doesn't appear to be descending based
    18       A.    That is correct.                                       18   on pricing quantity.
    19       Q.    And the net sale -- what is that referring             19        Q. It does or does not?
    20 to?                                                                20        A. Does not. I mean, if you look at -- it
    21       A.    That's referring to whatever the                       21   goes from the -- no, it doesn't. I'm trying to see
    22 negotiated price was with Sunrise, like our pricing                22   here. Okay. So it looks like there are -- are there
    23 with Sunrise, like our account with Sunrise.                       23   multiple tabs? What am I looking at here?
    24       Q.    Can you tell from this how much Sunrise                24        Q. Yeah, I'm not sure either. This is how it

                                                          Page 127                                                                Page 129
     1   charged Dr. Pujol?                                                1   was produced to us, so I don't know.
     2         A. No. This is all -- again, chargebacks was                2         A. Okay. So what it looks like is that this
     3   all internal Mallinckrodt data.                                   3   first section -- and I don't know if this is -- I don't
     4         Q. Would you then refer to that net sale                    4   know specifically.
     5   number as a chargeback from Sunrise Wholesaler?                   5         Q. No, no. You're -- it doesn't; you're
     6         A. So not this specific number, because that                6   right. But it stops -- Sunrise Wholesaler stops, and
     7   wouldn't have been the price. This is a report based              7   then it goes to another group of people like HD Smith,
     8   on a specific time frame for those quantities, so no,             8   et cetera.
     9   not that net sales price. I mean, that's a net sales              9         A. Right.
    10   measure or whatever.                                             10         Q. Do you see that?
    11         Q. Could you have included additional                      11         A. I do, yeah. So the first group for
    12   information on this report as it related to the                  12   Sunrise, it appears that it's --
    13   contract price and other things? I mean, was that                13         Q. It's going from -- oh.
    14   available to do if it was asked for?                             14         A. -- descending -- plain net sales, yes.
    15         A. Not in Cognos that I recall. I mean, the                15         Q. And the other, which appears to be for
    16   pricing could have changed within this time period, so           16   different customers but it's the same type of a
    17   it's not exact -- unless you knew the full context of            17   spreadsheet? It's reflecting chargeback information?
    18   that have contract during these time periods, no, you            18         A. Right. Right. Yeah. Was this the one
    19   couldn't correlate directly net sales with pricing               19   attachment that's referenced in this e-mail?
    20   quantity unless you knew that there was no pricing               20         Q. I think it was just the Sunrise because
    21   change -- I mean, again, I don't have any context as             21   that's all that was asked for, so I'm assuming that it
    22   far as what the Sunrise Wholesale contract was at that           22   was just the Sunrise chart.
    23   time.                                                            23         A. Okay.
    24         Q. And again, using this first -- Enrique                  24         Q. But the numbers aren't as important to me

   Golkow Litigation Services                                                                      Page 33 (126 - 129)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-17
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further34Confidentiality
                                                         of 81. PageID #: 216537
                                                                             Review
                                                           Page 130                                                       Page 132
     1 as just understanding what the --                               1        A. May 2010. Associate product manager, yes.
     2      A.    Sure.                                                2        Q. So you're still in marketing but you're in
     3      Q.    I don't know how long we've been on or               3   a product manager role?
     4 whether --                                                      4        A. That is correct.
     5           MR. TSAI: It's been about an hour and 15              5        Q. Do you know why Jim Rausch in finished
     6 minutes.                                                        6   goods would be asking you about an order that Excel
     7           MR. DEARMAN: Do you want to take a break,             7   placed?
     8 a short break?                                                  8        A. I don't know the interaction between
     9           MR. TSAI: Yeah.                                       9   customer service and suspicious order monitoring. I
    10           MR. DEARMAN: All right.                              10   don't know why he would have been asking that.
    11           MR. TSAI: Let's aim for seven again.                 11        Q. He refers to 44,208 bottles of morphine
    12           THE VIDEOGRAPHER: We are going off the               12   oral and it's like three times more than they've ever
    13 record at 10:56 AM.                                            13   placed before?
    14           [A brief recess was taken.]                          14        A. Uh-huh.
    15           THE VIDEOGRAPHER: We are back on the                 15        Q. Do you know what the significance of three
    16 record at 11:07 AM.                                            16   times more than they've ordered, if any?
    17           [Exhibit Mallinckrodt-Cardetti-009 marked            17        A. Well, this is Jim's e-mail, but --
    18           for identification.]                                 18        Q. It was to you, though; right?
    19      Q.    (By Mr. Dearman) I'm showing you a                  19        A. But in looking at this e-mail, it looks
    20 document marked Exhibit Number 9, which is Bates number        20   like he was -- yes, this was to me, to answer your
    21 6730. This is an e-mail from Jim Rausch to you on May          21   question. It looks like he's looking at historical
    22 5th, 2010. Do you have any reason to believe that you          22   orders.
    23 didn't receive this in your ordinary course of                 23        Q. What's the significance, if any, of three
    24 business?                                                      24   times as it relates to historical orders?

                                                       Page 131                                                            Page 133
     1         A. No.                                                  1         A. So he's looking at a specific order that
     2         Q. Do you know who Jim Rausch is?                       2   Excel Rx placed for 44,208 bottles of morphine oral
     3         A. I do remember Jim Rausch.                            3   compared -- it appears that he's comparing it to what
     4         Q. Who is he?                                           4   they've historically placed orders for for that
     5         A. I remember him working at Mallinckrodt.              5   product.
     6         Q. His signature block underneath the e-mail            6         Q. And so do you have any idea, as it related
     7   that he sent you on May 5th indicates he's customer           7   to your role in receipt of this e-mail, as to what the
     8   service manager of finished goods. Do you know what           8   significance of three times more than they've ever
     9   finished goods group is?                                      9   placed before is?
    10         A. Finished -- I'm not familiar with that              10         A. It would be a simple calculation as far as
    11   title, but finished goods would have been the generics       11   what they -- their historical orders looked like.
    12   group, I assume. Yeah. I don't know.                         12         Q. Do you know whether there was a formula as
    13         Q. So you don't know?                                  13   it related to historical orders when an order would be
    14         A. Well, customer service manager of finished          14   suspicious or peculiar?
    15   goods. I don't know for a fact, I mean, no.                  15         A. I mean, I know that there was an algorithm
    16         Q. Do you know who Excel is?                           16   or calculation. I don't know what that was, though.
    17         A. Excel Rx?                                           17         Q. Do you know whether it was three times?
    18         Q. Yeah.                                               18         A. I do not what that was -- that calculation
    19         A. Yes.                                                19   was, no.
    20         Q. Back in May of 2010 you were a associate            20         Q. Do you know whether it included anything
    21   product manager at that point? You need to refer to          21   else other than historical ordering?
    22   your résumé?                                                 22         A. I do not know what suspicious order
    23         A. I got to refer to remember.                         23   monitoring reviewed in order to consider an order
    24         Q. I am as well.                                       24   suspicious or peculiar.

   Golkow Litigation Services                                                                 Page 34 (130 - 133)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-17
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further35Confidentiality
                                                         of 81. PageID #: 216538
                                                                             Review
                                                         Page 134                                                      Page 136
     1        Q. Why would Jim be asking you this question?           1        Q. Understood.
     2        A. I was probably -- associate product                  2        A. Yeah.
     3   manager -- I was probably responsible for morphine oral      3        Q. Is it your understanding that if there
     4   during this time.                                            4   were other questions or other issues that would have
     5        Q. Do you know whether you were or you                  5   stopped him, stopped Jim from allowing this to ship,
     6   weren't?                                                     6   that he would have asked you?
     7        A. I mean, based upon this, that would be my            7        A. Sure. Yeah.
     8   recollection, that I managed that product during that        8        Q. So is it your understanding that this
     9   time, yes.                                                   9   likely order was sent to this Hospice group?
    10        Q. And you responded to Mr. Rausch; correct?           10        A. It likely was, yeah, unless you have other
    11        A. Yes, it appears so.                                 11   e-mails in this chain to make us think otherwise.
    12        Q. And what did you tell him?                          12        Q. I don't. I don't.
    13        A. Yes, we are offering them the remainder of          13        A. Okay.
    14   our inventory for morphine order since it is being          14            [Exhibit Mallinckrodt-Cardetti-010 marked
    15   discontinued. Thank you for checking.                       15            for identification.]
    16        Q. Do you know whether the order was shipped?          16        Q. And I'm going to show you a document now
    17        A. I do not know if the order was shipped. I           17   which is Bates range 3314 through 3318, and this is
    18   don't recall.                                               18   Exhibit Number 10.
    19        Q. Are you aware of whether or not sending             19        A. Thank you.
    20   them the -- are you aware of whether or not the fact        20        Q. You might want to start at the end because
    21   that you discontinued a product in your portfolio is a      21   that's the beginning of the e-mail family.
    22   reason to ship a product that was indicated to be three     22        A. Sure.
    23   times earlier orders?                                       23        Q. Just to start, this was from Brenda
    24        A. So I know that -- just in context of this           24   Rehkop. Do you know who Brenda was or is?

                                                          Page 135                                                         Page 137
     1 e-mail and knowing that customer, Excel Rx, they were a        1       A.    I'd like to read the full e-mail.
     2 Hospice provider, so -- and they had these -- I forget         2       Q.    Take your time.
     3 the name of it -- these kits, if you will, that were           3       A.    Okay. Thank you.
     4 like take-home kits for Hospice.                               4       Q.    We've got all day.
     5          You're probably all familiar with Hospice             5       A.    Till 5:30.
     6 in terms of keeping the patient comfortable in their           6       Q.    Take your time.
     7 own home more often. So morphine oral from my -- from          7            MR. DEARMAN: Okay, I can tell you we'll
     8 what I remember, was included in that kit, if you will,        8   never finish this depo by 5:30 if these e-mails are
     9 so it was -- Excel Rx -- it was a big product for them         9   going to be read in full in this way, so I just want
    10 in terms of there was a lot of usage due to the nature        10   you to know that I've got at least 20 or 30 more of
    11 of their business being in Hospice, so they -- this           11   them. There's no way we'll get that done, but I just
    12 is -- from what I vaguely remember of this particular         12   want to put that out there.
    13 situation is that it appeared that we were partnering         13            MR. TSAI: Yeah, well, we're not going to
    14 with Excel Rx for this product, knowing that we were          14   have a situation where the witness can't read an
    15 getting out of that business and they warehoused the          15   exhibit, so --
    16 product in their distribution center so they were able        16            MR. DEARMAN: Absolutely. I completely
    17 to hold inven -- additional inventory knowing that they       17   understand.
    18 were getting out of that product.                             18            MS. HERZFELD: I'm also a bit concerned
    19      Q. So Jim mentioned that he saw something                19   with the 5:30 deadline, that I'm not going to have time
    20 that was peculiar or suspicious and you responded             20   to do my questioning. Is the witness available to go
    21 here's why they're getting that much?                         21   tomorrow if we need to continue?
    22    A. Right. So this is an example as to why                  22            MR. TSAI: I actually think we can
    23 marketing would have been asked for additional                23   accommodate the schedule. We started at 8:00 for that
    24 information.                                                  24   reason. I mean, we can manage the breaks to be able to

   Golkow Litigation Services                                                                 Page 35 (134 - 137)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-17
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further36Confidentiality
                                                         of 81. PageID #: 216539
                                                                             Review
                                                             Page 138                                                     Page 140
     1   accommodate her schedule.                                       1 ahead and release the order?
     2            MS. HERZFELD: Just as long as we're clear              2        A. I do see that.
     3   on the record that I still reserve my two hours. I              3        Q. Then if you turn the page to the first
     4   don't anticipate that I'll take it all, but I don't             4   page of the e-mail chain. There are some additional
     5   want to be shut out of this because of some time                5   e-mails about the order, but the result was that it was
     6   restraints.                                                     6   shipped to the customer; correct?
     7            MR. TSAI: Well, let's proceed.                         7        A. It appears so.
     8        Q. (By Mr. Dearman) You reviewed it?                       8        Q. Let's go to 5238, please. One of the
     9        A. I'm ready.                                              9   this -- when we had talked about your bonus, one of the
    10        Q. Okay. Brenda Rehkop -- I'm sure I'm                    10   factors in -- one of the factors that went into bonus
    11   butchering her name. Who is Brenda?                            11   was volume of sales; correct?
    12        A. Brenda was in customer service.                        12        A. Sales. Correct.
    13        Q. Do you have any reason to believe that you             13        Q. Was there a factor that went into your
    14   didn't receive this e-mail chain in the ordinary course        14   bonus -- the number of peculiar or suspicious orders
    15   of your business at Mallinckrodt?                              15   that you caught?
    16        A. No, I do not.                                          16        A. No. No.
    17        Q. On June 10, 2010, again you are in the                 17            [Exhibit Mallinckrodt-Cardetti-011 marked
    18   product manager group, you received this e-mail from           18            for identification.]
    19   Brenda, and what is the subject of the e-mail?                 19        Q. Exhibit Number 11, which is a e-mail chain
    20        A. Peculiar order from McKesson for                       20   Bate range 6449 through 6550. Two pages. Can you tell
    21   methylphenidate.                                               21   me when you're ready to talk about the e-mail, ma'am?
    22        Q. And what is your understanding of what                 22        A. Okay.
    23   Brenda is telling you, if anything?                            23        Q. This e-mail came from Brenda again to you
    24        A. She -- in reading the e-mail, she's                    24   and Marc, correct, CCed to Jim Rausch?

                                                          Page 139                                                          Page 141
     1 learning to monitoring the peculiar orders and she has            1         A. Correct.
     2 a question about a specific order.                                2         Q. Do you have any reason to believe that you
     3        Q. And then the e-mail which you've read goes              3   didn't receive this in the ordinary course of business
     4   through conversations between some of these folks about         4   at Mallinckrodt?
     5   the specific order?                                             5         A. I do not.
     6        A. Uh-huh.                                                 6         Q. It's asking you to please confirm that
     7        Q. Correct?                                                7   these HD Smith orders are within normal limits;
     8        A. Correct.                                                8   correct?
     9        Q. And what was the net result? Was the                    9         A. Correct.
    10   peculiar order shipped, or was it not shipped? I can           10         Q. Are these numbers order numbers, or are
    11   direct you to 3315, which is the second page. And it's         11   they amounts, or do you know?
    12   from Brenda to Jim. Brenda, go ahead and release the           12         A. They appear to be order numbers.
    13   order. After talking to Tim, we don't see any issue            13         Q. Both are printed on a peculiar order
    14   sending this product. Do you see that?                         14   report, and I just need to follow up. What is a
    15        A. Oh. Yes. Sorry.                                        15   peculiar order report?
    16        Q. Do you know who Marc is?                               16         A. It appears that it was a report that
    17        A. Marc Montgomery, yes.                                  17   customer service was running.
    18        Q. Who is he?                                             18         Q. Are you familiar with the report?
    19        A. He was in marketing -- a product manager               19         A. No, I never have a recollection of running
    20   at that time.                                                  20   the report nor receiving the report, as it's pretty
    21        Q. So he was a product manager like you were?             21   apparent in this e-mail that I am not familiar with the
    22        A. I was an associate product manager at this             22   report either at this time.
    23   time, yes, in marketing.                                       23         Q. And if we go back to -- if we go to the
    24        Q. So you see where Marc tells Brenda to go               24   first page of that, you're indicating that you're not

   Golkow Litigation Services                                                                   Page 36 (138 - 141)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-17
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further37Confidentiality
                                                         of 81. PageID #: 216540
                                                                             Review
                                                         Page 142                                                       Page 144
     1   familiar because of why?                                    1        Q. I'm going to show you now Exhibit Number
     2        A. Gosh. Back in two thousand -- I mean,               2   12, which is 5238 through 5240.
     3   this is probably a fairly new process at this point in      3            [Exhibit Mallinckrodt-Cardetti-012 marked
     4   time from what I recall. I don't know.                      4            for identification.]
     5        Q. Well, you respond to Brenda and say all of          5        A. Thanks.
     6   these orders are fine. What is the criteria for orders      6        Q. Please let me know when you're ready to
     7   hitting this report?                                        7   talk about the e-mail.
     8        A. Uh-huh.                                             8        A. I'm ready.
     9        Q. These quantities are much lower than their          9        Q. All right. So the prior e-mail, the prior
    10   normal demand, so just curious; correct?                   10   exhibit was July 28, 2010, and that's where Brenda told
    11        A. Right. Correct.                                    11   but the formula. Now we're looking at e-mail that is
    12        Q. And Brenda responds to you; correct?               12   dated August 17th, 2010 --
    13        A. Correct.                                           13        A. Uh-huh.
    14        Q. And in her response, she tells you what            14        Q. -- and it's from Jim to you; correct?
    15   the report is looking at; correct?                         15        A. Correct.
    16        A. Correct.                                           16        Q. Any reason to believe that you didn't
    17        Q. So when you received this e-mail and you           17   receive this in your ordinary course of your business
    18   asked Brenda what generated the report, she provided       18   at Mallinckrodt?
    19   you with the information that's at the top of this         19        A. No.
    20   e-mail dated 7-28-2010; right?                             20        Q. Jim is asking you about an unusual order
    21        A. That is correct.                                   21   quantity. Do you see that?
    22        Q. Did you know this information prior to             22        A. I do.
    23   7-28-2010? And this information I'm referring to is        23        Q. For AmerisourceBergen; correct?
    24   what Brenda told you with regard to the report looking     24        A. Correct. Yes.

                                                         Page 143                                                       Page 145
     1   at the previous 18 months order multiplied by three,        1        Q. So this is 2010 and you are an associate
     2   the target average quantity. Did you know that before       2   product manager still?
     3   that?                                                       3        A. Correct.
     4        A. No, I'm clearly asking on July 28th what            4        Q. Does that mean that Amerisource was one of
     5   the criteria is, so I'm clearly not familiar with that      5   your accounts?
     6   information.                                                6        A. Associate product manager. Product
     7        Q. But then you were provided it; correct?             7   manager, manages products, not marketing.
     8        A. That is correct.                                    8        Q. You're right. I'm sorry. I'm sorry.
     9        Q. Is it your understanding that Jim Rausch            9   You're right.
    10   was in the suspicious order monitoring group, if you       10        A. Yeah.
    11   know?                                                      11        Q. Do you know what product this is?
    12        A. I remember him being in customer service;          12        A. Oh, man. You're really making me
    13   however, I don't know what his interactions were with      13   remember. No, I don't.
    14   the suspicious order monitoring group.                     14        Q. Okay. That's all right. The fact that
    15        Q. Other than Karen Harper, whose name you            15   he's pointing out -- that Jim's pointing out to you
    16   used before --                                             16   that there's an unusual order quantity would you agree
    17        A. Uh-huh.                                            17   means that this is a scheduled drug?
    18        Q. -- can you tell me anybody else who was            18        A. I don't know what products they were
    19   in the suspicious ordering group?                          19   looking at.
    20        A. Yeah, as I mentioned before, I remember            20        Q. Did you --
    21   Jen Buist.                                                 21        A. I mean, it's a potential, but --
    22        Q. Okay. Right. Anybody else?                         22        Q. Were you an account manager for
    23        A. Those are the two that I remember the most         23   nonscheduled drugs as well?
    24   interaction with. I don't remember anyone else, no.        24        A. I don't remember. We did have

   Golkow Litigation Services                                                               Page 37 (142 - 145)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-17
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further38Confidentiality
                                                         of 81. PageID #: 216541
                                                                             Review
                                                        Page 146                                                         Page 148
     1 nonscheduled drugs. Again, I don't remember exactly at       1        A. Again, I don't remember the context; what
     2 this time what product I was managing, but I did manage      2   was going on with AmerisourceBergen at this time with
     3 nonscheduled drugs at one point; correct.                    3   this specific product. During this time -- I don't
     4       Q.   And did you receive e-mails from folks            4   remember the specifics around any of that information,
     5 like Jim Rausch asking you about unusual orders for          5   so --
     6 nonscheduled drugs?                                          6        Q. This is an example of another unusual
     7        A. I don't recall.                                    7   order that was brought to your attention which was
     8        Q. Do you see your response to Jim on August          8   shipped to a client; correct?
     9   17, 2010, where you say hi, Jim. Monthly average           9        A. I don't know -- I don't see confirmation
    10   demand is around 1,800 bottles so it's okay to release?   10   on whether or not it was shipped or not. I don't
    11        A. I do see that, yes.                               11   see --
    12        Q. So what algorithm or formula or analysis          12        Q. Do you have any reason to believe it was
    13   did you use to determine that because their monthly       13   not shipped?
    14   average demand is around 1,800 bottles, it was okay to    14        A. I don't know. I don't have any other -- I
    15   release?                                                  15   don't know.
    16        A. I don't remember any of the specifics             16        Q. How about this question? This is another
    17   around the analysis or anything that I did to --          17   example of an order that was brought to your attention
    18   regarding this specific order.                            18   as being unusual which you felt comfortable releasing;
    19        Q. So you don't know?                                19   correct?
    20        A. I don't remember what information was             20        A. Correct. That's what it appears to, yeah.
    21   looked at for this order, no.                             21   But again, I mean, just to reiterate, it was not my
    22        Q. And it says hi, Lisa. Is 1,800 bottles            22   final decision on whether or not the product shipped or
    23   the average for the Corona, California, location. Do      23   not. So this is -- this was kind of the process with
    24   you see that?                                             24   it looks like customer service, suspicious order

                                                        Page 147                                                       Page 149
     1        A. I do.                                              1 monitoring. Again, I don't know what discussions took
     2        Q. And do you know what the Corona,                   2 place between customer service and suspicious order
     3   California, location is?                                   3 monitoring, but this just kind of to me shows that we
     4        A. That's just one of their distribution              4 were doing diligence, that there were multiple
     5   centers.                                                   5 departments involved in this process to make sure that
     6        Q. And then you respond no, that is ABC's             6 we were doing the right thing.
     7   total demand; correct?                                     7        Q. And based on your training and your
     8        A. Correct.                                           8   experience and your role, you felt that you could tell
     9        Q. And then Jim asks you to find out why              9   Mr. Rausch that you were comfortable in releasing this
    10   Corona, California, is ordering such a large quantity?    10   order to this customer; correct?
    11        A. Correct.                                          11        A. From my perspective and in my role, based
    12        Q. And on the first page of this e-mail you          12   on whatever context I had at that time back in August
    13   respond to Jim; correct?                                  13   of 2010, and the information I knew about Amerisource
    14        A. Correct.                                          14   and that customer, yes, it appears that I was
    15        Q. And you indicate that the location has an         15   comfortable; however, again, that -- I did not have the
    16   average of 512 bottles a month, including this order,     16   ultimate decision on whether or not products shipped --
    17   the August demand was 840 bottles. It appears their       17        Q. I'm not asking you whether you had the
    18   orders are trending up because in June they ordered 720   18   ultimate decision.
    19   bottles. We can continue to monitor; however, I feel      19        A. Okay.
    20   comfortable releasing this order. Correct?                20        Q. That's not my question.
    21        A. I do see that, yes.                               21        A. Sure.
    22        Q. Other than what was in -- what's in this          22        Q. So we'll ask the question again and we can
    23   e-mail, what gave you the comfort to release this         23   try again.
    24   order?                                                    24        A. Sure. Okay.

   Golkow Litigation Services                                                              Page 38 (146 - 149)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-17
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further39Confidentiality
                                                         of 81. PageID #: 216542
                                                                             Review
                                                         Page 150                                                     Page 152
     1        Q. You felt comfortable, based on the                  1 exhibit that I showed you, under the subject, it was
     2   experience and training that you had, to -- based on        2 order 70175100. Am I right about that, under the
     3   the information you had, to release this to the             3 subject line?
     4   customer; correct?                                          4        A. I'm sorry. Where -- oh, the order number?
     5        A. Yes, that's what the e-mail states.                 5        Q. Yeah.
     6        Q. And three weeks before this is when Brenda          6        A. 70175100? Yes.
     7   Rehkop told you about the formula that she used for the     7        Q. And does that match up then with any of
     8   peculiar reports; correct?                                  8   these orders from this e-mail?
     9        A. Right. That's the formula that customer             9        A. It does not appear. No.
    10   service used, yes.                                         10        Q. Are you -- we already talked about who
    11        Q. And that you used as a result?                     11   Kate is; correct?
    12        A. That was the formula that customer service         12        A. Correct.
    13   used. Again, I don't know what additional information      13        Q. And Kate -- you were sending -- I'm sorry.
    14   I looked at or had at that time to make those              14   It looks like Brenda was sending an e-mail to you and
    15   decisions.                                                 15   to Kate and CCed Jim about Cardinal. Do you see that?
    16        Q. But the e-mail says specifically that the          16        A. Correct.
    17   location has an average of 512 bottles a month.            17        Q. I don't know how this got butchered, but
    18   Including this order, their August demand is 840           18   the e-mail indicates that it's to Kate. Can you take a
    19   bottles. It appears their orders are trending up           19   look at Cardinal order, and it gives an order number
    20   because in June they ordered 720 bottles. We can           20   for multiple oxy SKUs. Please confirm, Brenda, and
    21   continue to monitor; however, I feel comfortable           21   then hi, Lisa, Cardinal NLC, and several of the
    22   releasing this order. Please let me know if you need       22   floating DCs placed -- oh, I guess it's to both of you.
    23   any further information. Right?                            23   Okay. So first she says to Kate take a look at the
    24        A. That is what it says, yes.                         24   Cardinal order?

                                                        Page 151                                                       Page 153
     1        Q. Are you aware of him asking you for any             1        A. Uh-huh.
     2   additional information?                                     2        Q. And then to you, Cardinal NLC and several
     3        A. I don't remember back in August of 2010.            3   of the floating DCs has placed orders for morphine.
     4   There may have been phone conversations. Again, there       4   Here are the order numbers they kicked out of the PEC
     5   may have been additional information that I don't --        5   order report. Is that peculiar order report?
     6   there may have been other context.                          6        A. Yes, that would be my assumption as well.
     7        Q. But as of the date of this e-mail, you              7   Yes.
     8   were comfortable releasing the order?                       8        Q. And then you sent an e-mail to Natalie.
     9        A. Yes, that's what it states.                         9   Who's Natalie Kayich?
    10           [Exhibit Mallinckrodt-Cardetti-013 marked          10        A. Natalie was an analyst at that time.
    11           for identification.]                               11        Q. So you were trying to get some reporting
    12        Q. Let me show you another document which is          12   from her?
    13   marked Exhibit Number 13, which is Bates range 6392 --     13        A. Yes.
    14   6392 through 6407. Sorry. I ripped your first page         14        Q. And you asked for a report on Cardinal
    15   off. Tell me when you're ready to discuss this e-mail      15   days on hand at the SKU level?
    16   chain. There may be two pages at the end of this that      16        A. Yes.
    17   don't apply. I don't know. Can I see the exhibit           17        Q. What is the SKU level?
    18   again?                                                     18        A. NDC item level. Yeah. SKU and NDC is
    19        A. Sure.                                              19   kind of used interchangeably.
    20        Q. Just to -- no, that's right.                       20        Q. And you're indicating that you wanted to
    21        A. Okay.                                              21   see if any of the morphine SKUs that they are ordering
    22        Q. Sorry.                                             22   more than normal are one of the products in which they
    23        A. Sure. Okay.                                        23   were increasing their on-hand inventory; correct?
    24        Q. If you go back and look at the prior               24        A. Correct.

   Golkow Litigation Services                                                               Page 39 (150 - 153)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-17
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further40Confidentiality
                                                         of 81. PageID #: 216543
                                                                             Review
                                                        Page 154                                                       Page 156
     1        Q. And attached to this is a spreadsheet?                1   APAP 5 500 tabs?
     2        A. Yes.                                                  2        A. I do.
     3        Q. Can you tell me whether or not the SKUs               3        Q. May 31st, 2010, it says 936. What does
     4   that they were ordering were more than the norm from          4   that reflect?
     5   looking at the spreadsheet?                                   5        A. 936 bottles. And again, this is -- is
     6        A. So the spreadsheet is what Natalie                    6   this the first tab? Does it --
     7   attached; correct?                                            7        Q. It's the first tab I have.
     8        Q. Correct. Right.                                       8        A. The first tab of the attachment?
     9        A. So this is their days on hand inventory.              9        Q. Yeah.
    10        Q. Okay. And what is that?                              10        A. Because there -- it references two tabs,
    11        A. The amount of inventory that the                     11   days on hand.
    12   wholesaler has in their warehouse.                           12        Q. Well, if you take a look at the next page,
    13        Q. From Mallinckrodt?                                   13   which is 6395, I think that is the -- it starts with
    14        A. Of Mallinckrodt product, correct. So                 14   tab -- it goes from A to N. No?
    15   that's another piece of data that the wholesaler             15        A. Okay. I see that. Yes.
    16   provides Mallinckrodt as far as their on-hand                16        Q. Right?
    17   inventory.                                                   17        A. Yes.
    18        Q. Which you would know as well from                    18        Q. If you just turn one page. Just one page.
    19   chargebacks; right?                                          19        A. Yeah. Yeah, yeah, yeah.
    20        A. Chargebacks is what the wholesaler sold to           20        Q. So under Tab A it gives you the SKU.
    21   the pharmacies, so it's a completely separate set of         21        A. Uh-huh.
    22   information.                                                 22        Q. B it gives you the description of the
    23        Q. If you sell to the wholesaler and the                23   item.
    24   wholesaler does not end up selling the product to a          24        A. Right.
                                                           Page 155                                                       Page 157
     1 pharmacy, do you get a chargeback when it stays in              1        Q. C it tells you May 31st, 2010, it says
     2 their inventory?                                                2   936. So what is 936 again?
     3     A. That -- no. A chargeback is generated                    3        A. It appears that that is 936 bottles of
     4 when they sell to it a pharmacy.                                4   that item on hand at this customer -- at Cardinal.
     5     Q. Right. So if it wasn't in a chargeback                   5        Q. And that is Mallinckrodt product that's on
     6 form, you would assume it was still in their inventory;         6   hand in their inventory; right?
     7 correct?                                                        7        A. Yes, that's the only information we would
     8       A. That is correct.                                       8   have access to.
     9       Q. Do you know -- did you interpret these                 9        Q. If we go to D, which is June 7th, it shows
    10 reports at any point; do you know?                             10   2,808 on hand; right?
    11    A. Well, it appears that I was asking for                   11        A. Correct.
    12 more information to do -- to dig deeper, so this is, in        12        Q. And you can go across and it continues to
    13 my opinion, another example as to how and why -- and           13   show the amounts?
    14 how the process was working. Everyone was kind of              14        A. Correct.
    15 digging into the detail to make sure that we felt              15        Q. Do you know why there was an increase from
    16 comfortable to release the order.                              16   May of 936 to June of 2,808?
    17      Q. Do you know if you felt comfortable to                 17        A. No, I do not. And I did not manage
    18 release this order?                                            18   hydrocodone either.
    19      A. I don't. Do you have any additional                    19        Q. Did you manage any of the items that are
    20 e-mails from this? I don't know if this order was              20   on this chart?
    21 released or not.                                               21        A. I don't remember at what point in time --
    22     Q. If you look at 6394, which is the first         22           the products that I managed.
    23 page of the spreadsheet, and we start with Item Number 23                Q. Well, morphine oral is one that you did
    24 2, which is SKU 035701 -- do you see that? Hydrocodone 24           mention; right?

   Golkow Litigation Services                                                                 Page 40 (154 - 157)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-17
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further41Confidentiality
                                                         of 81. PageID #: 216544
                                                                             Review
                                                         Page 158                                                       Page 160
     1        A. Yes, so it appears that the morphine                1   to and then they send it out to the FDCs is the forward
     2   products where Brenda was referencing was directed to       2   DCs.
     3   me, yes.                                                    3            So if these orders were the forward DC
     4        Q. Is there a specific line item here that             4   orders to what Brenda has mentioned in the e-mail,
     5   you were directed to? I mean, I see morphine starting       5   there wouldn't have been a historical view of shipping
     6   at 73.                                                      6   to those forward DCs, which appears to be why it has
     7        A. Right. So again, this is just a report              7   kicked out on this report.
     8   that Natalie ran based on Cardinal's inventory.             8         Q. So in the situation where you are sending
     9        Q. Right, but what generated the question was          9   it to someone's main center and then they're going to
    10   multiple oxy SKUs; right? Please okay -- please            10   ship it out to their local places, do you have
    11   confirm if this order is okay or not. Thanks, Brenda;      11   information on the -- on both the NLC and the DC?
    12   right?                                                     12         A. Yes. So that's the information that I had
    13        A. That was directed to Kate.                         13   requested from Natalie on the on-hand -- their on-hand
    14        Q. Right. Cardinal NLC and several of the             14   inventory.
    15   floating DCs have placed orders for morphine. Here are     15         Q. All right. I got it. Thank you.
    16   the order numbers that kicked out on the peculiar order    16         A. Okay, sure.
    17   report. So if we look at 70174595, is there a way to       17            [Exhibit Mallinckrodt-Cardetti-014 marked
    18   track that on this form or not?                            18            for identification.]
    19        A. So just to clarify --                              19         Q. And I'm going to show you Exhibit 14,
    20        Q. Please.                                            20   which is one page, Bates 5508.
    21        A. This 70174595 -- that was an internal              21         A. Thank you.
    22   order number.                                              22         Q. Ready when you are.
    23        Q. Okay.                                              23         A. I -- oh, I'm sorry. I'm ready.
    24        A. Okay? So this report is reflective of              24         Q. That's all right. This is dated September

                                                      Page 159                                                         Page 161
     1 Cardinal's inventory on hand at their distribution            1 21st, 2010, from Jim to you. Do you see that?
     2 center.                                                       2       A. Yes.
     3        Q. Right. Right. But if we talk about                  3       Q. And then you responded to him. Do you
     4   morphine --                                                 4   have any reason to believe this wasn't in the ordinary
     5        A. Uh-huh.                                             5   course of your business?
     6        Q. -- they're telling you that Cardinal NLC            6       A. No.
     7   and several of the forwarding DCs -- what's a DC?           7       Q. You were now a product manager at this
     8        A. Distribution center.                                8   time? Oh, maybe not --
     9        Q. Placed orders for morphine. Here are the            9       A. Associate.
    10   order numbers that kicked out on the peculiar order        10       Q. Still an associate product manager. Okay.
    11   report. So you're being told that these orders kicked      11   And Jim sent you an e-mail about Amerisource and a
    12   as peculiar based on one of the factors that were being    12   specific order. Do you see that?
    13   used; right?                                               13       A. I do.
    14        A. Correct. But then if you read further              14       Q. And then did you respond to it?
    15   down in the e-mail, it says I would assume the             15       A. Yes.
    16   individual DCs have printed because they rarely order      16       Q. And you indicated the increase is very
    17   directly and would not have enough history in the          17   small and they have ordered amounts equal to or larger
    18   system to calculate an accurate average. However, with     18   than those listed below so you're fine with releasing
    19   these individual DCs and the NLC ordering a large          19   them; correct?
    20   quantity I am obligated to check into it.                  20       A. Yes.
    21            So the NLC -- so based on this e-mail, we         21       Q. So Jim pointed out to you an order which
    22   were regularly shipping to the NLC, so the national        22   was unusual that he thought, and you responded that you
    23   distribution center, so some of the larger wholesalers     23   were fine with releasing the order?
    24   have a national distribution center that you can ship      24       A. Yes, that's what it appears.

   Golkow Litigation Services                                                               Page 41 (158 - 161)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-17
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further42Confidentiality
                                                         of 81. PageID #: 216545
                                                                             Review
                                                         Page 162                                                      Page 164
     1         Q. Do you have any reason to believe that the         1   change is where they changed the SKU -- the NDC of
     2   order was not released?                                     2   their product.
     3         A. I don't -- I don't know if this order was          3        Q. And so you provided Jim with the reason
     4   released or not because I don't know what else -- other     4   that you believed that they were increasing the order
     5   conversations took place between customer service and       5   quantity; correct? That was the point of your
     6   suspicious order monitoring.                                6   response; right?
     7         Q. So the answer is you don't know?                   7        A. That we have seen an increase; correct.
     8         A. I don't know. Yeah, that's the answer.             8   Yes.
     9         Q. I don't know is fine.                              9        Q. Right. And now you were saying why you
    10         A. Okay.                                             10   think you were seeing the increase; correct?
    11         Q. Let me show you --                                11        A. Oh, correct. Yes.
    12            [Exhibit Mallinckrodt-Cardetti-015 marked         12        Q. And do you know whether this order
    13            for identification.]                              13   shipped?
    14         Q. Show you what's been marked as Exhibit 15.        14        A. I do not know.
    15   It's one page, Bates 8461. Let me know when you're         15        Q. Let me show you --
    16   ready to discuss the e-mail.                               16            [Exhibit Mallinckrodt-Cardetti-016 marked
    17         A. I'm ready.                                        17            for identification.]
    18         Q. This is an e-mail September 10th, 2010.           18        Q. Exhibit 16 is two pages, 9432, 9433.
    19   You're still an associate product manager; correct?        19        A. Okay.
    20         A. Correct.                                          20        Q. This is an e-mail from Ginger Collier. In
    21         Q. It's from Jim to you; correct?                    21   November 2010 are you still a product manager?
    22         A. Correct.                                          22        A. 2010 associate product manager, yes.
    23         Q. And then you responded again. Do you have         23        Q. Associate product manager. Okay. And
    24   any reason to believe you didn't receive this e-mail or    24   Ginger is sending this to Natalie, to you, to Marc

                                                       Page 163                                                       Page 165
     1 send this e-mail in the ordinary course of your               1 Montgomery, and to Kate, also to Penny Myers. Who's
     2 business?                                                     2 Penny Myers?
     3       A. No.                                                  3        A. I don't remember penny's exact role. She
     4       Q. It's regarding a Cardinal Health order.              4   may have been in product management or associate
     5   Do you see that?                                            5   product -- I can't remember exactly. She was in the
     6       A. Correct. Yes.                                        6   marketing group.
     7       Q. And it asks to you look at the increased             7        Q. And do you have any reason to believe that
     8   order quantity for a specific code that they have           8   you didn't receive in this in your ordinary course of
     9   placed as compared to an average order quantity. Do         9   business?
    10   you see that?                                              10        A. No.
    11       A. I do.                                               11        Q. Ginger -- the subject is quota issues. Do
    12       Q. Did you respond?                                    12   you see that?
    13       A. I did.                                              13        A. I do.
    14       Q. And what was your response?                         14        Q. And do you know what was it that Ginger
    15       A. We have seen an increase on majority of             15   was telling you?
    16   morphine sulfate SKUs due to Watson's NDC change.          16        A. Do I -- excuse me. Do I --
    17   There has been some confusion in the market; therefore,    17        Q. What was Ginger telling you?
    18   customers that typically purchase Watson product have      18        A. I'll read it. I just wanted to advise you
    19   been purchasing ours. I do not expect this to continue     19   that we have heard about API issue -- API quota issues
    20   much longer. Please let me know if you have any            20   with some of our competitors, and then it goes into
    21   questions.                                                 21   detail, so --
    22       Q. What is Watson's NDC change?                        22        Q. What is API?
    23       A. So Watson was a -- from what I recall,              23        A. Active pharmaceutical ingredient.
    24   Watson was a competitor of ours at that time, and NDC      24        Q. How is that different from SKU, or --

   Golkow Litigation Services                                                               Page 42 (162 - 165)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-17
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further43Confidentiality
                                                         of 81. PageID #: 216546
                                                                             Review
                                                         Page 166                                                         Page 168
     1        A. The SKU is the actual bottle, the finished          1        A. Yes.
     2   dosage product. The API is the active pharmaceutical        2        Q. Still an associate product manager. Who
     3   ingredient that is used in manufacturing the finished       3   is Jeremy Stamer?
     4   dosage, so you don't -- yeah.                               4        A. I don't remember what group Jeremy was in.
     5        Q. Do you know why she was telling you                 5        Q. Do you have any reason to believe that you
     6   about Endo having a problem getting quota on morphine       6   didn't send this or receive this e-mail in the ordinary
     7   and Roxanne having a problem getting quota on               7   course of your business at Mallinckrodt?
     8   methadone?                                                  8        A. No.
     9        A. This is Ginger's e-mail. I would ask                9        Q. It says Jeremy, please find attached the
    10   Ginger that question. Yeah.                                10   oxycodone data by COT and distributor from Kate. Do
    11        Q. Okay. Do you know why you were copied on           11   you see that?
    12   this e-mail?                                               12        A. I do.
    13        A. I was on Ginger's team.                            13        Q. What is COT?
    14        Q. If you go up to Kate's e-mail in response          14        A. Class of trade.
    15   to Ginger above --                                         15        Q. And what does that mean?
    16        A. Uh-huh.                                            16        A. So a wholesaler, retail, long-term care --
    17        Q. -- Kate says can we communicate below to           17   those are classes of trade.
    18   the sales team? I think it might make them feel better     18        Q. And distributor is the actual distributor;
    19   to know that they're not alone. Do you know what she       19   correct?
    20   meant by that?                                             20        A. Correct.
    21        A. I do not.                                          21        Q. And Jeremy asks you a question on November
    22        Q. So when I had -- earlier we had talked             22   19th in his e-mail. See that?
    23   about IMS data; right?                                     23        A. I do see that, yes.
    24        A. (Nodding "yes.")                                   24        Q. He asked you to rerun the data from

                                                      Page 167                                                          Page 169
     1        Q. Do you know whether IMS data includes end           1 January 2010 through September of 2010?
     2   purchaser information?                                      2        A. Yes.
     3        A. End purchaser information? So IMS data is           3        Q. He further says the IMS NSP data that we
     4   based on the market and the --                              4   have only goes through November and I'd like to cut the
     5        Q. Do you know whether it shows purchase data          5   data for an apples-to-apples comparison. What is IMS
     6   from distributor to pharmacy?                               6   NSP?
     7        A. No, not to my knowledge. Nothing that I             7        A. IMS is the market data I was referring to.
     8   ever saw.                                                   8   I don't know what NSP stands for. It's an IMS term. I
     9           [Exhibit Mallinckrodt-Cardetti-017 marked           9   don't know what that stands for, though.
    10           for identification.]                               10        Q. And you responded to Jeremy saying you
    11        Q. I'll show you Exhibit 17, which starts at          11   updated the data, right, including only January through
    12   1620 and goes to 1622 with a native spreadsheet            12   September; correct?
    13   attached.                                                  13        A. Correct.
    14        A. Thank you.                                         14        Q. And you say the report includes total end
    15        Q. And would you let me know when you're              15   purchaser sale, distributor to end purchaser, and MI to
    16   ready to discuss it?                                       16   end purchaser. Distributor to end purchaser -- who
    17        A. Okay. Okay. I am ready.                            17   would that be?
    18        Q. Ready?                                             18        A. The pharmacy.
    19        A. I am ready.                                        19        Q. So that would be from the distributor to
    20        Q. Okay. This -- these documents are                  20   the actual pharmacy?
    21   attached to an e-mail which are from you to Jeremy         21        A. Correct.
    22   Stamer. Do you see that?                                   22        Q. And what is MI to end purchaser?
    23        A. I do.                                              23        A. Oh. MI, Mallinckrodt, Inc., at that time.
    24        Q. On November 19th, 2010?                            24   Yeah. MI to end pur -- yeah, so direct sale, so --

   Golkow Litigation Services                                                               Page 43 (166 - 169)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-17
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further44Confidentiality
                                                         of 81. PageID #: 216547
                                                                             Review
                                                        Page 170                                                           Page 172
     1        Q. So indirect and direct?                              1        Q. Well, if you look at the -- go to the
     2        A. Correct. Right, right.                               2   attachment of the e-mail, the first page, the first --
     3        Q. And if we take a look at this document,              3   the e-mail that you sent to Jeremy and Jeremy sent to
     4   the spreadsheet or the report --                             4   you.
     5        A. Uh-huh.                                              5        A. Okay. Yes.
     6        Q. -- it shows you class of trade and it                6        Q. Bates 1620. You see attachment, oxy
     7   gives you business total, institutional total, retail        7   kilograms sold year to date?
     8   total, repackagers, other total, domestic total;             8        A. Yes.
     9   correct?                                                     9        Q. You -- does that help you interpret what
    10        A. Correct.                                            10   doses are or what any of this is?
    11        Q. And if you turn the page, it appears to             11        A. Well, doses would be the actual dose, so a
    12   provide the class of trade, the family, the SKU, the        12   pill or tablet in the bottle. So that's what doses is.
    13   description; correct?                                       13        Q. Do you know why you referred to -- because
    14        A. Correct.                                            14   Jeremy sends you an e-mail to rerun data, you send him
    15        Q. And if you turn two pages from that, on             15   an attachment, and you call it oxy kilograms sold year
    16   the top it says doses, MGS, distributor to end              16   to date. See that? That was your e-mail.
    17   purchaser, MI to end purchaser, total end purchaser.        17        A. Yeah, but it appears that --
    18   Do you see that, and doses?                                 18        Q. So that's what I'm trying to figure out --
    19        A. I do.                                               19   what that is.
    20        Q. Do you know what all that refers to?                20        A. Yeah, it appears that this was originally
    21        A. MGS would be the milligrams. Distributor            21   ran from Kate from the original e-mail. Please find
    22   to end pur -- I mean, I don't recall this --                22   attached the oxycodone data from Kate, and he was
    23        Q. Do you know whether this information                23   asking me to update it. So this appears to be Kate's
    24   contains information other than for Mallinckrodt?           24   original report that I was updating.

                                                          Page 171                                                       Page 173
     1        A. I don't recall. I'm trying to decipher               1        Q. So any idea why or what the purpose of
     2   the information here.                                        2   tracking the doses is or was?
     3        Q. Well, maybe this will help you. If you               3        A. I don't know the reason for this request.
     4   turn the page to 1623, which is another spreadsheet          4        Q. But you believe these to be doses that
     5   that was attached, and you see customer?                     5   were sold from Mallinckrodt to like, for example, on
     6        A. Yes.                                                 6   the first customer, AmerisourceBergen? That's what
     7        Q. Does that help or does that give you any             7   your understanding is?
     8   additional information?                                      8        A. That's my understanding, yeah.
     9        A. I don't know where this information was              9        Q. Were you aware of any contracts that
    10   pulled. It appears that this was just Mallinckrodt          10   Mallinckrodt had with distributors where the per-unit
    11   data. I don't know where this data was pulled, but          11   price is reduced due to some sort of a volume discount
    12   just looking at the customer and that first column, it      12   or a volume purchase?
    13   appears that this is internal data.                         13        A. There -- I do recall volume incentives
    14        Q. So this -- for that period of time that             14   that Mallinckrodt had with customers.
    15   you talked about in your e-mail would be how many           15        Q. Do you know whether any of the contracts
    16   doses -- if we look at customer, which is                   16   that you were familiar with at Mallinckrodt provided
    17   AmerisourceBergen Health -- doses of something for that     17   for profit sharing with any of the distributors?
    18   period of time?                                             18        A. Profit sharing with the distributors?
    19        A. Doses of -- this is kind of hard to                 19        Q. Uh-huh.
    20   decipher. I don't know if --                                20        A. No.
    21        Q. I mean, it talks about oxy kilograms sold,          21        Q. Were you aware of whether or not
    22   so --                                                       22   Mallinckrodt had any what was labeled preferred
    23        A. Again, I don't know what this is telling            23   distributors?
    24   us.                                                         24        A. Preferred distributors? No, I'm not

   Golkow Litigation Services                                                                 Page 44 (170 - 173)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-17
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further45Confidentiality
                                                         of 81. PageID #: 216548
                                                                             Review
                                                       Page 174                                                            Page 176
     1 familiar.                                                    1 decline for forecasting purposes.
     2       Q. Other than storage of drugs and                     2       Q. How about the number of opioid
     3 distribution, what other services did distributors           3 prescriptions filled relative to other drugs?
     4 provide to Mallinckrodt?                                     4       A. Other drugs? Again, that was probably
     5            MR. TSAI: Object to the form. Go ahead.           5 done with the suspicious order monitoring team. That
     6        A. I mean, again, from my very small                  6 was not in the -- my -- in my tenure at Mallinckrodt.
     7   perspective of the whole suspicious order monitoring       7           [Exhibit Mallinckrodt-Cardetti-018 marked
     8   program, we only had one small piece of the big            8           for identification.]
     9   picture; right? So we were only familiar with what         9           MR. DEARMAN: Lunch is here, so I just
    10   Mallinckrodt product was sold into those wholesalers      10   want everybody to know that.
    11   and distributors.                                         11           MR. TSAI: Okay.
    12            From my understanding, there was                 12       Q. (By Mr. Dearman) Exhibit 18. You get
    13   discussions with the SOM team and our wholesalers,        13   some free highlighting. Please let me know when you're
    14   distributors, because we had information as far as what   14   ready to discuss this.
    15   the wholesalers sent to specific pharmacies, again, for   15       A. Okay.
    16   just Mallinckrodt product; however, the wholesaler had    16       Q. So it appears -- do you know who Steven
    17   visibility to what was sent to those pharmacies with      17   Cochrane is?
    18   Mallinckrodt product and additional manufacturers'        18       A. Yes, he was at KeySource.
    19   product, so from my understanding, there was -- and       19       Q. So he sends an e-mail to Victor in sales
    20   again, I wasn't privy to those conversations or           20   on the 3rd of February, and then Victor forwards where
    21   discussions or anything, but I believe that there was     21   he asks you a question, correct, about OxySource --
    22   discussions around that just to try to understand the     22   sending OptiSource any oxy 30 in the past
    23   full picture.                                             23   three-and-a-half months?
    24        Q. In any of your roles or at your time at           24       A. Correct.

                                                       Page 175                                                            Page 177
     1 Mallinckrodt, were you aware of whether or not               1     Q. And then you forward that on to Jane and
     2 Mallinckrodt analyzed the number of opioid                   2 to Ginger; correct?
     3 prescriptions filled by any individual pharmacy              3     A. Correct.
     4 relative to the population of the pharmacy's community?      4     Q. What was the point of forwarding it on to
     5        A. I do not know what their algorithms or             5 Jane and Ginger?
     6   anything were with the suspicious order monitoring         6     A. Well, it appears to make them aware of the
     7   team.                                                      7 situation.
     8        Q. I'm asking you whether you're aware                8       Q.     And when you say situation, what -- I'm
     9   whether or not that was analyzed?                          9 trying to understand what situation.
    10        A. I am not aware. I was not included in             10       A.     Sure. So as it notes in the e-mail, there
    11   that department.                                          11 were orders that were shipped Smith Drug, who was an
    12        Q. How about increase in opioid sales year           12 OptiSource member at the time, and it looks like that
    13   over year?                                                13 was done in error, so I guess -- were they on the other
    14        A. If I -- I'm sorry -- if I was aware --            14 e-mail? No. So yeah, just to make management aware of
    15        Q. Whether or not you're aware that                  15 that situation.
    16   Mallinckrodt analyzed that factor for --                  16       Q.     I guess my question really is -- and I'm
    17        A. That opioid -- so we had access to that           17 trying to understand -- how does the backorder process
    18   data throughout IMS as far as any molecule growth or      18 work? What creates a backorder? Why is there a back
    19   decline.                                                  19 order?
    20        Q. So you believe that Mallinckrodt did              20     A. So -- gosh, if I remember -- so the -- if
    21   analyze opioid sales from year to year?                   21 there's -- there could be multiple reasons as far as
    22        A. Yeah, I would agree with that. There was          22 why a product would be put on allocation, if you will,
    23   information pulled again from IMS to evaluate what was    23 so -- meaning that all orders would be held up in the
    24   going on in the market in terms of just growth or         24 system until they are released and approved.


   Golkow Litigation Services                                                                 Page 45 (174 - 177)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-17
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further46Confidentiality
                                                         of 81. PageID #: 216549
                                                                             Review
                                                       Page 178                                                      Page 180
     1            So in regards to backorders, if we didn't        1 regarding oxycodone sales in Florida prior to this
     2   have the quota, for example, then that product would      2 time?
     3   be -- then that -- excuse me -- that order would be on    3        A. I don't recall why it was a reminder.
     4   backorder -- basically, if we didn't have the product     4        Q. And what was Karen asking you to do?
     5   to ship customers, there's going to be a backorder, to    5        A. Per Ginger's approval yesterday, no hurry,
     6   simplify the answer.                                      6   but please summarize actions we have taken to prevent
     7        Q. As a product manager, you were responsible        7   oxycodone diversion in Florida especially such as
     8   for products, but were you responsible for any            8   walked away from blank percentage of oxy 30-milligram
     9   geographic areas?                                         9   business. We discontinued doing business with blank
    10        A. As an associate product manager at this          10   number of distributors, if applicable. No volume
    11   time, I was responsible for products, not for            11   incentives on customer contracts for oxycodone to
    12   customers. I'm sorry. Is that what you asked?            12   Florida.
    13        Q. Yeah. I mean, just geographic areas.             13        Q. What is a volume incentive?
    14        A. Okay. Geographic -- no. No. It was for           14        A. A volume incentive was one type of program
    15   that product.                                            15   that we worked with customers on.
    16        Q. Did there come a time while you were at          16        Q. I appreciate that. And what was the
    17   Mallinckrodt that you became responsible for specific    17   specifics of the program? What --
    18   geographic areas?                                        18        A. So there could have -- not every program
    19        A. No.                                              19   was the same, but it was a program again focusing on
    20        Q. Whether it be Florida or anywhere else?          20   driving business and looking at opportunities to work
    21        A. No.                                              21   with the customer.
    22            [Exhibit Mallinckrodt-Cardetti-019 marked       22        Q. Did it provide an incentive to the
    23            for identification.]                            23   customer if they sold more volume of product?
    24        Q. I'll show you Exhibit 19, which is Bate          24        A. So yes, it was -- there was -- again,

                                                       Page 179                                                      Page 181
     1   ranged 3462 through 3463. Let me know when you're         1 everyone was structured a little differently, but based
     2   ready to discuss this.                                    2 on sales and a specific rebate amount, for example.
     3       A. Okay. Okay, ready.                                 3        Q. Based on the volume of sales?
     4       Q. If you look at 3463, the first e-mail is           4        A. Volume of sales; correct.
     5   from Karen Harper to you; correct?                        5        Q. And do you know why Karen was saying to --
     6       A. Yes.                                               6   why Karen was saying that if -- no volume incentives on
     7       Q. Karen Harper was in the suspicious order           7   customer contracts for oxycodone in Florida would be an
     8   monitoring group?                                         8   action to prevent oxycodone diversion in Florida?
     9       A. Controlled substance compliance,                   9        A. Yeah, so from what I remember about this
    10   suspicious order monitoring, yes.                        10   time, there was -- this is -- we knew that something
    11       Q. Okay. That's the formal name?                     11   was happening in Florida, but -- and we were trying to
    12       A. Right. Uh-huh.                                    12   dig into the details to try to understand more specific
    13       Q. And do you have any reason to believe that        13   to Mallinckrodt sales in Florida and volume, et cetera,
    14   in March of 2011 you didn't receive this in the          14   so one of the actions that was taken by the company was
    15   ordinary course of business?                             15   to remove oxycodone from any volume incentives with
    16       A. No.                                               16   customers.
    17       Q. Still an associate product manager?               17        Q. What other information did you know about
    18       A. Correct.                                          18   Florida at that time?
    19       Q. And Karen is e-mailing you regarding              19        A. Really little. Really just that there was
    20   reminder, marketing info request around oxycodone        20   issues down in the State of Florida. I know that Kate
    21   Florida sales?                                           21   managed this product prior to myself, and that's kind
    22       A. Yes.                                              22   of when -- from what I recall, that's when all of this
    23       Q. Do you know why -- she said reminder. Do          23   kind of started bubbling up and we -- in looking at the
    24   you know -- had you been involved in any information     24   chargeback data, again kind of giving kudos to the

   Golkow Litigation Services                                                             Page 46 (178 - 181)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-17
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further47Confidentiality
                                                         of 81. PageID #: 216550
                                                                             Review
                                                       Page 182                                                         Page 184
     1   company in the sense that the process was working,           1 signed 11-16-07, it says $16 million to $19 million,
     2   that -- in looking at chargeback data because it was         2 $19.9 million, five percent, 20 to $29.9 million, seven
     3   available -- the chargeback data did include the             3 percent, $30 million-plus, 10 percent; right?
     4   pharmacy location, so they were able to drill into the       4        A. Correct.
     5   geographical location of those sales. So again, from         5        Q. So does that indicate that if they sold
     6   what I recall of this, we knew that there was an issue       6   between $16 and $19.5 million of product they got a
     7   in Florida and -- yeah.                                      7   five percent incentive, between 20 and 29.9 they got a
     8        Q. Oxycodone was the product that you were              8   seven percent, and if they sold over $30 million, they
     9   responsible for?                                             9   got a 10 percent incentive?
    10        A. I believe at this time after Kate left,             10        A. Yes, that is correct.
    11   as -- I was still an associate project manager but I        11        Q. And if you drop down to where it says Opt
    12   believe I was kind of helping -- filling that void in       12   A, what is Opt A? Option A?
    13   the department, from what I remember.                       13        A. Option A. Option A.
    14        Q. How would you have determined that you              14        Q. And then there's an Option B?
    15   weren't providing volume incentives on customer             15        A. Uh-huh.
    16   contracts for oxycodone to Florida?                         16        Q. What is HBAPAP incentive?
    17        A. So --                                               17        A. HBAPAP was an abbreviation for hydrocodone
    18        Q. Where would you have gotten that                    18   acetaminophen.
    19   information from?                                           19        Q. And so there was an incentive related to a
    20        A. Yeah, sure. So that's in our contracts              20   specific molecule?
    21   with customers.                                             21        A. It appears so.
    22        Q. Is there a database that you would go into          22        Q. And if you turn the page to 4400, under
    23   and see whether or not there's a box checked volume         23   Cardinal preferred source A.
    24   incentive?                                                  24        A. Uh-huh.

                                                          Page 183                                                        Page 185
     1       A. So if you remember that -- I forget what              1         Q. Recurring November to October, all
     2 it's called -- rebate matrix or something, so that was         2   contract and noncontract sales. It shows you a scale
     3 kind of a reference where -- that the contracts                3   for incentive payments; correct?
     4 department updated based on our contractual agreements         4         A. Correct.
     5 with customers on what programs and things were                5         Q. What would be a noncontract sale?
     6 included in the contract.                                      6         A. I don't recall.
     7       Q. If you can pull out that exhibit.                     7         Q. If you drop down to CVS Caremark, it says
     8       A. Sure.                                                 8   distribution service fee on that same 4,400. What is
     9       Q. And show me where there would be some                 9   distribution service fee?
    10 reference that you would know that.                           10         A. So there were some customer -- so this is,
    11       A. Sure. Oh, gosh.                                      11   again, just another fee that was either required or
    12       Q. It might be Exhibit 4.                               12   negotiated by customers -- a distribution service fee,
    13    A. Okay. Yeah. Got it. Yes, if you look at                 13   so -- that we paid to CVS to distribute our product
    14 3499, the very first customer, ABC ProGenerics program,       14   is -- yeah, based on my recollection of what that type
    15 additional incentives, comments, new VIP. So it's             15   would be.
    16 dated right there. So this is again just an internal          16         Q. Again, that was another incentive?
    17 report that could be used for reference as needed, so         17         A. I wouldn't consider that incentive. So I
    18 when Karen requested that information of me I could           18   mean, if you think about a wholesaler, they have costs
    19 come in here and determine who had a VIP with us and if       19   associated with pick -- packing and ship your product,
    20 there were any exclusions.                                    20   so it's -- in my opinion that's more of a -- like it
    21       Q. So let's -- what is a new VIP? What does             21   says, a service fee.
    22 that mean?                                                    22         Q. And if you go to Health Trust on the next
    23       A. A new volume incentive program.                      23   page, 4401, admin fee. What is that?
    24       Q. And then if you look underneath, new VIP             24         A. Administrative fee.

   Golkow Litigation Services                                                                Page 47 (182 - 185)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-17
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further48Confidentiality
                                                         of 81. PageID #: 216551
                                                                             Review
                                                            Page 186                                                          Page 188
     1         Q. And how would that -- who would pay who               1        Q. So now I can see where you'd figure out
     2   for an administrative fee?                                     2   whether there were no volume incentives on customer
     3         A. So Mallinckrodt would pay Health Trust                3   contracts for oxycodone in Florida. We discontinue
     4   a -- in this situation a three percent administrative          4   doing business with blank number of distributors if
     5   fee.                                                           5   applicable.
     6         Q. And three percent on volume, or total                 6        A. Uh-huh.
     7   sales?                                                         7        Q. How would you make the determination how
     8         A. Three -- no. Three percent --                         8   many distributors in the State of Florida that you
     9         Q. Of the total order?                                   9   discontinued doing business with?
    10         A. Three percent of -- again, I don't know              10        A. So distributors in general -- so not
    11   how this specific contract was written, but typically         11   necessarily only in the State of Florida, but -- so
    12   it would be three percent on contract price.                  12   this is part of -- again, part of the process where the
    13         Q. If you drop down to 44 -- down to Kerr               13   suspicious order monitoring team would review the
    14   Drug, Inc., WHL DIFF only. Do you know what that is?          14   chargeback data and do whatever they did in determining
    15         A. I'm sorry. Where are you?                            15   whether or not we wanted to work with a specific
    16         Q. I am -- if you go down from admin fee that           16   distributor. So Sunrise, for example, which we
    17   we were just talking about.                                   17   discussed earlier -- I know that that was one customer
    18         A. Oh, okay.                                            18   that we cut off doing business with.
    19         Q. And you go down about another five or six            19        Q. They were in Florida; right?
    20   to Kerr Drug.                                                 20        A. I don't know where they -- I never worked
    21         A. Right.                                               21   with them. And so this is kind of an example of that,
    22         Q. WHL DIFF only?                                       22   so she's asking to -- as far as that specific number of
    23         A. That is a wholesaler differential only.              23   distributors that we discontinued.
    24         Q. What does that mean?                                 24        Q. And where would you get that information?

                                                         Page 187                                                               Page 189
     1        A. So a wholesaler differential is a price                1 Would you push a button and it would appear?
     2   that is -- a price loaded at the wholesaler for this --        2       A.   Unfortunately I did not have a magic
     3   for example, would have been an indirect contract, so          3 button at that time, but --
     4   that customer would have purchased a price at that             4       Q.   Do you know whether or not -- or when you
     5   wholesaler differential price.                                 5 actually provided this information to Karen?
     6             If it was different than their direct                6       A.   I don't remember, no.
     7   price, then they -- we would provide a differential            7       Q.   Walked away from blank percentage of oxy
     8   payment back to them between the indirect price and            8 30-milligram business. Same thing. How would you come
     9   their direct price. So -- yeah.                                9 to that conclusion?
    10        Q. If you turn to 4404, please, and you look             10       A.   Working with -- trying to gather as
    11   under Supervalu Pharmacies?                                   11 much -- I don't remember how I gathered that
    12        A. Yes.                                                  12 information, but working with contracts, if we
    13        Q. Does that mean that every time they opened            13 discontinued contracts, sales. To gather the
    14   up a new store they got a free bottle of some sort of         14 information, probably various number of sources.
    15   scheduled opioid?                                             15       Q.   If Karen asked you to do this, would you
    16        A. I do not know the -- I don't know -- I'm              16 have done it in the ordinary course of your role at
    17   not familiar with that agreement, nor do I remember           17 Mallinckrodt?
    18   working on Supervalu as an account ever, so I do not          18       A.   Yes. Yes.
    19   know the context of that.                                     19       Q.   And the reason I'm asking you is because I
    20        Q. Thank you for that clarification.                     20 don't have an e-mail or anything indicating that you
    21        A. Sure.                                                 21 did it.
    22        Q. So we're going back now to Exhibit Number             22       A.   Okay.
    23   19, and the e-mail from Karen to you.                         23       Q.   So do you recall doing it?
    24        A. Sure.                                                 24       A.   I don't remember the specific request. I

   Golkow Litigation Services                                                                    Page 48 (186 - 189)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-17
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further49Confidentiality
                                                         of 81. PageID #: 216552
                                                                             Review
                                                        Page 190                                                           Page 192
     1 got several requests on a daily basis, but it's not          1 have been on vacation. I don't know.
     2 like me to just not respond.                                 2       Q.   Was there, I mean, like an org chart? Was
     3            MR. DEARMAN: Okay. It's 12:30. I have             3 there a list of the products that you were responsible
     4   to eat lunch now --                                        4 at any specific time?
     5            MR. TSAI: Okay.                                   5     A. During this time, from what I remember,
     6            MR. DEARMAN: -- so we're going to have            6 there was a lot of movement. Even in my résumé, as it
     7   to take a break.                                           7 says, product responsibilities to fill void in the
     8            THE VIDEOGRAPHER: We are going off the            8 department. So like I said, I don't remember what
     9   record at 12:31 PM.                                        9 dates and what products I managed when.
    10            [A recess was taken.]                            10       Q.   In that same e-mail from Julie in the last
    11            THE VIDEOGRAPHER: We are back on the             11 or second paragraph, it says customer, Super Rx
    12   record at 1:00 PM.                                        12 Pharmacy, and it gives an account number, was submitted
    13            MR. DEARMAN: Back on?                            13 for a contract for a transaction invoiced on June 11th,
    14        Q. (By Mr. Dearman) Did any distributors             14 2011, but they have not been preapproved to access this
    15   provide Mallinckrodt with promotional and marketing       15 contract. Do you know what that means?
    16   services to assist in product sales?                      16       A.   I do not.
    17        A. Not that I can recall.                            17       Q.   If you turn the page to 0883, it's an
    18            [Exhibit Mallinckrodt-Cardetti-020 marked        18 e-mail from you to Julie in response.
    19            for identification.]                             19       A.   Uh-huh.
    20        Q. I'll show you Exhibit Number 20, which is         20     Q. Do you see that?
    21   Bates range 0882 to 0884. Let me know when you're         21     A. I do see that.
    22   ready to discuss.                                         22     Q. It says I agree, Julie. Per the
    23        A. Okay.                                             23 agreement, only approved customers should be accessing
    24        Q. This e-mail starts from a July 26th, 2011,        24 this pricing. Is that referring to the special low

                                                        Page 191                                                           Page 193
     1 e-mail from Julie DePriest to Steven Becker, Ginger          1 price on the Fentanyl patch?
     2 Collier, and Jane Williams, and you're CCed, correct,        2       A. I don't recall this e-mail. I don't
     3 along with some others?                                      3 recall this situation. I don't recall anything
     4        A. Correct.                                           4 regarding this at all.
     5        Q. Do you have any reason to believe you              5        Q. And I get that, so now I'm asking you
     6   didn't receive this in the ordinary course of business?    6   whether or not this e-mail refreshes your recollection.
     7        A. No.                                                7   There's an e-mail from Julie DePriest to others,
     8        Q. Who is Julie DePriest?                             8   including you, you're copied on it, and then you
     9        A. Julie DePriest, if I recall correctly, was         9   respond to it and send it to Julie and copy the others
    10   managing contracts potentially at that time. I don't      10   and say I agree, Julie. Per the agreement, only
    11   recall.                                                   11   approved customers should be accessing this price. So
    12        Q. One of the things that Julie says is that         12   what are you agreeing to?
    13   they're offering a special lower price on the Fentanyl    13        A. So to answer your question, no, this does
    14   patch for new business. Was Fentanyl patch -- was that    14   not bring any recollection back to me. I don't recall
    15   one of your products?                                     15   this agreement. I don't recall this --
    16        A. I don't recall what I managed at this             16        Q. What were you agreeing to here? It says I
    17   time.                                                     17   agree, Julie.
    18        Q. This is July of 2011. You're still an             18        A. I don't recall this -- I agreed -- again,
    19   associate product manager?                                19   I don't remember anything about this. Per the
    20        A. That is correct.                                  20   contract, we're offering a special lower price, and the
    21        Q. If you weren't responsible for the                21   accounts must be preapproved and added to the contract
    22   Fentanyl patch, why would you be receiving an e-mail      22   prior to submissions. Per the -- then my response is I
    23   like this about Masters?                                  23   agree. Per the agreement, only approved customers
    24        A. I don't -- if the person managing it may          24   should be accessing this pricing, so according to this

   Golkow Litigation Services                                                               Page 49 (190 - 193)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-17
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further50Confidentiality
                                                         of 81. PageID #: 216553
                                                                             Review
                                                        Page 194                                                           Page 196
     1   e-mail that's what I'm agreeing to.                          1        A. That is correct.
     2            [Exhibit Mallinckrodt-Cardetti-021 marked           2        Q. Okay. Thank you.
     3            for identification.]                                3            [Exhibit Mallinckrodt-Cardetti-022 marked
     4        Q. I'm showing you Exhibit 21. It's a                   4            for identification.]
     5   two-page e-mail, 6481, 6482, page range.                     5        Q. I'll show you Exhibit 22, which goes from
     6        A. Okay.                                                6   0674 to 0687.
     7        Q. On September 16th, 2011, Stephanie Pellham           7        A. Okay.
     8   sent you an e-mail. Who is Stephanie?                        8        Q. Okay. I'd like to direct your attention
     9        A. According to this e-mail, senior contract            9   to Page 0675, which is the first page of the -- or the
    10   administrator.                                              10   second page of the e-mail from you to Lou Ann Randall
    11        Q. Do you know her as you sit here today?              11   on August 3rd, 2011. Do you see that?
    12        A. Yes, I remember Stephanie.                          12        A. I do.
    13        Q. Do you have any reason to believe you               13        Q. Do you have any reason to believe that you
    14   didn't receive this in the ordinary course of business?     14   didn't send this in the ordinary course of business?
    15        A. No.                                                 15        A. No.
    16        Q. Stephanie's asking you about something              16        Q. If you turn the page from there, there's a
    17   that popped up on a peculiar order summary report;          17   sheet, 0676, which says contract overview. Do you see
    18   correct?                                                    18   that?
    19        A. Correct.                                            19        A. I do.
    20        Q. And if you turn the page, at the beginning          20        Q. It is Sunrise Wholesale. You see that?
    21   of the e-mail you inquire as to the customer; correct?      21        A. Yes.
    22        A. Correct.                                            22        Q. Contract name? Payment terms -- if you go
    23        Q. And then at the top you respond to                  23   down there a little bit, two percent, 30, net 31?
    24   Stephanie. You see that?                                    24        A. Yes.

                                                          Page 195                                                        Page 197
     1       A. Yes.                                                  1        Q. And then under rebates, do you see it
     2       Q. And you say you spoke with Victor, and                2   shows a 12 percent rebate?
     3 they placed an additional month's worth of orders this         3        A. I do see that.
     4 month. What does it mean that they placed an                   4        Q. And that's to be paid quarterly?
     5 additional order that month?                                   5        A. I see that, yes.
     6       A. So this is a good example as to where I'm             6        Q. If you turn the page to 0681, which says
     7 kind of the middleman here; right? So Stephanie's              7   at the top term sheet, Mallinckrodt, Inc., dosage
     8 reach out to me for additional information per the             8   pharmaceuticals.
     9 process, that this order is peculiar, we can't release         9        A. Yes.
    10 it until we have more information. I reached out to           10        Q. Are you familiar with these term sheets?
    11 that salesperson. Victor apparently was managing              11        A. Yeah. So we had a standard template for
    12 Walgreens at that time, which was the customer in             12   our terms agreements.
    13 question here, and he provi -- it looks like he               13        Q. And does this appear to be one of those
    14 provided all of this information in the e-mail which I        14   standard?
    15 was referring -- or sending back to Stephanie.                15        A. Yes.
    16       Q. And the customer -- the information that             16        Q. If you go down to pricing.
    17 you got from Victor was that the customer was wondering       17        A. Yes.
    18 if they should be placing a one-time buy with one of          18        Q. The last sentence of that paragraph,
    19 our competitors to make sure they're taken care of, but       19   Mallinckrodt will credit customer the difference
    20 Vic said not to do that and to go ahead and place the         20   between the invoice price and current contract price
    21 orders; correct?                                              21   upon receipt and verification of chargeback submissions
    22     A. That's -- yes.                                         22   from customer on a contract number to be established.
    23     Q. And that was the information that you                  23   Do you see that?
    24 provided?                                                     24        A. I do.

   Golkow Litigation Services                                                                Page 50 (194 - 197)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-17
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further51Confidentiality
                                                         of 81. PageID #: 216554
                                                                             Review
                                                        Page 198                                                        Page 200
     1         Q. And then if you turn the page to Exhibit            1        Q. What would you expect -- the term sheet
     2   A, which is 0683 --                                          2   requires a verification of chargeback submission?
     3         A. Okay.                                               3        A. Correct.
     4         Q. We see here -- well, let's look at the              4        Q. So if we go to that page that I was just
     5   first one, which is NDC 0358-01. It's hydrocodone --         5   talking about, on 0683 --
     6   I'm not even going to try to say that. And it shows --       6        A. Uh-huh.
     7   so it shows the product description, it says the size,       7        Q. -- and we look at those numbers, what is
     8   hundreds. Does that mean a bottle of 100?                    8   it you would require to be included in a proper
     9         A. Yes, it does.                                       9   chargeback submission?
    10         Q. Invoice price per bottle.                          10        A. Okay. So just to set the stage, this
    11         A. Uh-huh.                                            11   document, these term sheets, were drafted by our legal
    12         Q. So now we have something that in the --            12   department, so I did not create these term sheets.
    13   this is in the actual term sheet of the contract, it        13   However, this is part of the chargebacks process that
    14   lists the invoice price of $6.41; right?                    14   we've been referring to all day.
    15         A. Correct.                                           15            So the wholesaler purchases it at WAC, or
    16         Q. The contract price is $4.89 and the net            16   invoice price. It's used interchangeably. We have a
    17   price is $4.30; correct?                                    17   negotiated contract price. Anytime they sell a product
    18         A. Correct.                                           18   out to a pharmacy, that's a chargeback, if you will.
    19         Q. Right? Okay. What is the -- besides the            19   So however it was negotiated with or however we
    20   difference in the numbers, what's the difference            20   received that information from Sunrise -- whether
    21   between the invoice price per bottle and the contract       21   daily, weekly, monthly, like we've said all along -- so
    22   price per bottle?                                           22   then that would be aggregated chargeback data on who
    23         A. The invoice price is the same as the WAC           23   they sold -- what pharmacy they sold our inventory to.
    24   price that I was referring to earlier.                      24        Q. So if we look at this first line of

                                                          Page 199                                                        Page 201
     1        Q. And WAC stands for?                                  1   bottles of hundreds and they sold it to a pharmacy for
     2        A. Wholesaler acquisition cost.                         2   $4.89; okay?
     3        Q. So here it's what Sunrise as a wholesaler            3        A. No, that's not correct.
     4   was acquiring it at?                                         4        Q. Okay. That's what I'm trying to figure
     5        A. Correct. That's what they would -- yes.              5   out.
     6        Q. And then the contract price is?                      6        A. So the chargeback data is the quantity
     7        A. The negotiated price.                                7   that they sold. It doesn't -- and I believe you've
     8        Q. And then the net price per bottle --                 8   asked this question before.
     9   what's the difference between the -- why is there a          9        Q. I might have.
    10   difference between the contract price and the net           10        A. They -- it does not include the price that
    11   price?                                                      11   they sold our product to the pharmacy. This is the
    12        A. If there were any rebates that were                 12   contract price with Sunrise, so again, that $10, $8
    13   negotiated as part of the contract, that takes you from     13   situation. They buy it at $10, their contract price is
    14   the contract to the net.                                    14   $8, we get the chargeback data, the aggregated
    15        Q. And that might be that 15 or 12 percent             15   chargeback data, we give them a chargeback of $2. So
    16   that we -- 15 -- 12 percent rebate that we saw on the       16   that's this -- and this is a standard terms and
    17   contract overview?                                          17   conditions agreement where this is the pricing.
    18        A. That is correct.                                    18        Q. And so I'm trying to figure out what's the
    19        Q. Now, can you from this -- can we have               19   purpose of the chargeback? Why not just sell it to
    20   another conversation about chargebacks, and give me an      20   them for $2 less in the first instance?
    21   idea what a customer such as Sunrise here would tell        21        A. The purpose of the chargeback -- I mean,
    22   you in order to process a chargeback?                       22   so it's -- the WAC price is a wholesaler acquisition
    23        A. I'm sorry. What the customer would tell             23   cost so they purchase the price at WAC.
    24   us?                                                         24        Q. I got it. Yeah.

   Golkow Litigation Services                                                                Page 51 (198 - 201)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-17
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further52Confidentiality
                                                         of 81. PageID #: 216555
                                                                             Review
                                                           Page 202                                                           Page 204
     1         A. So what's the purpose of that? Why do                1       A.   It is quota.
     2   they --                                                       2       Q.   It also indicates that you submitted a
     3         Q. No. What's the purpose of submitting the             3 request to the DEA for more quota. Is that something
     4   chargeback?                                                   4 that you did?
     5         A. Well, I mean, to get it back to the                  5       A.   No.
     6   negotiated contract price. I mean, as far -- that's --        6       Q.   How did you find out that that was
     7   when I entered the industry, that was kind of -- that         7 something that was done?
     8   was what was done with wholesalers. However, we took          8       A.   Again, through our monthly forecasting
     9   it a step further and utilized that chargeback data, as       9 meetings, the -- Karen Harper and her team were -- from
    10   referenced multiple times already today, with our            10 my recollection, were involved in that to an extent to
    11   suspicious order monitoring team to get into more            11 understand our -- the forecast, and so communication --
    12   detailed information to try to understand our                12 I mean, communications were happening all the time
    13   customer's customer. So it was utilized -- chargebacks       13 between the various departments, so marketing was
    14   were utilized above and beyond what the purpose of --        14 apparently made aware that we would have requested more
    15   in regards to the pricing.                                   15 quota. I don't remember who sent that notification or
    16         Q. And that was my point. It provided you              16 anything like that, so --
    17   additional data?                                             17       Q.   Was that a usual process, for Mallinckrodt
    18         A. Well, yeah. We had the data. Yeah, we               18 to request additional quote?
    19   had the chargeback data.                                     19       A.   Usual? I know it happened. I don't know
    20             [Exhibit Mallinckrodt-Cardetti-023 marked          20 how frequently.
    21             for identification.]                               21       Q.   You indicated that there would be an
    22         Q. Exhibit Number 23 is an e-mail that goes            22 allocation -- was there an allocation report or an
    23   from 9,400 to 9404.                                          23 allocation list? Does that ring a bell to you?
    24         A. Okay.                                               24       A.   So it appears that there was a list --

                                                         Page 203                                                             Page 205
     1         Q. This is an e-mail that you sent to several           1 what it states is direct customers with their monthly
     2   people on October 10th, 2011. Do you see that?                2 allocation would have been included in the letters.
     3         A. I do, yes.                                           3 Does that answer your question?
     4         Q. You're a product manager now?                        4       Q. Yeah, it does. I'm going to show you
     5         A. I am.                                                5 Exhibit Number 24, which goes from 6071 to 6072, and
     6         Q. Okay. Congratulations. Do you have any               6 I'm just trying to figure out if you know what these
     7   reason to believe that you didn't send this in the            7 allocation -- what the purpose of this allocation list
     8   ordinary course of your business?                             8 is.
     9         A. No.                                                  9             [Exhibit Mallinckrodt-Cardetti-024 marked
    10         Q. Do you know what letters that you're                10             for identification.]
    11   referring to here in this e-mail, when it says we are        11             MR. TSAI: Sorry.
    12   sending letters to customers?                                12        A. Oh.
    13         A. So anytime that there was supply                    13        Q. (By Mr. Dearman) And is this a report or
    14   constraint and we had to put a product on allocation,        14   a list that you're familiar with?
    15   we would notify customers so they -- to set                  15        A. Okay. First of all, this is not an e-mail
    16   expectations with them.                                      16   that I would have -- that I'm on -- or included on.
    17         Q. When you say supply constraint, are you             17        Q. I didn't say that it was.
    18   talking about a quota?                                       18        A. Sure. I don't know what this report is.
    19         A. Well, as it states in this e-mail on the            19        Q. Okay. That's fine. So maybe use the term
    20   first bullet point -- or the second set of bullets, the      20   allocation letter. Is that something you're familiar
    21   first one -- it says this interruption in supply is not      21   with, when we were talking about those letters?
    22   due to an API shortage but instead due to quota              22        A. So we're going back to 9400?
    23   constraints.                                                 23        Q. Not really. I'm asking --
    24         Q. So it's quota?                                      24        A. Oh. Got you.

   Golkow Litigation Services                                                                      Page 52 (202 - 205)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-17
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further53Confidentiality
                                                         of 81. PageID #: 216556
                                                                             Review
                                                          Page 206                                                                Page 208
     1        Q. -- you if you're just in general familiar               1 requesting additional quota, whether it was approved or
     2   with the terms allocation letter as it related to               2 not -- I don't -- but in terms of -- it appears that
     3   customers and Mallinckrodt?                                     3 Walgreens was willing to write a letter. But yeah.
     4        A. Yeah, anytime -- what comes to mind from                4       Q. The next bullet there says wanting favor
     5   our -- is anytime that -- that situation that I                 5 as to where we would price them to make sure Actavis is
     6   referred to earlier where we had supply constraints and         6 pricing them right. Do you know what they're asking
     7   had to put a product on allocation, we would send a             7 you? Are they asking you for a quota?
     8   letter to customers considered an allocation letter, if         8       A. I don't remember specifically on this
     9   you will, to notify them and set expectations.                  9 situation, but the way it reads is that they're wanting
    10        Q. Let me show you --                                     10 to -- because it looks like that Actavis can't supply
    11             [Exhibit Mallinckrodt-Cardetti-025 marked            11 them for whatever reason, and they have a certain
    12             for identification.]                                 12 price, and they're wanting to stay at that price.
    13        A. Okay.                                                  13 That's what it appears to be.
    14        Q. Is that your handwriting?                              14       Q. All right. Thank you. I'm going to show
    15        A. That is my handwriting.                                15 you Exhibit Number 26, which is Bates range 9509 to
    16        Q. So this was from you to Victor saying you              16 9515.
    17   received his voicemail, you're asking him to please            17            [Exhibit Mallinckrodt-Cardetti-026 marked
    18   send you oxy 15 and 30 usage?                                  18            for identification.]
    19        A. Correct.                                               19            [Discussion off the record.]
    20        Q. And he does send you that?                             20        A. Okay.
    21        A. Yes.                                                   21        Q. Do you know what Hazelwood operations is?
    22        Q. Any reason to believe you didn't receive               22        A. It was from what I recall a automated
    23   that in the ordinary course of business?                       23   e-mail from our system, so an automated e-mail that was
    24        A. No.                                                    24   set to run, for example, at a certain time or

                                                             Page 207                                                             Page 209
     1        Q. He tells you in Florida they had the                    1 something.
     2   largest oxy 15 and 30 dispensers and currently use              2       Q. Do you have any reason to believe you
     3   Actavis for both SKUs; correct?                                 3 didn't receive this e-mail in the ordinary course?
     4        A. Yes.                                                    4        A. No.
     5        Q. What data would you use to determine that               5        Q. And then you forwarded something on to --
     6   Actavis is the one that is providing them with those            6   and I think it's probably the attachment -- to Ginger
     7   SKUs?                                                           7   and to others?
     8        A. I wouldn't have any data to confirm that.               8        A. That is correct.
     9        Q. So you don't know how he came up with that              9        Q. Who is George Saffold?
    10   statement?                                                     10        A. George Saffold? I remember the name but I
    11        A. I don't know where he came up with that                11   do not remember his role.
    12   information.                                                   12        Q. All right. No problem. Your e-mail, you
    13        Q. (By Mr. Dearman) Do you know why you                   13   indicate you've eliminated back orders on oxycodone IR
    14   indicated willing to write letter to the DEA as it             14   but future-dating orders. What does that mean?
    15   related to this?                                               15        A. So it's just a system, so when an order is
    16        A. What I can think of is -- I don't recall               16   generated or in our system it would have an order date,
    17   this specific situation, first of all, but if there            17   and so this report was generated based on that order
    18   were a situation where this quantity were to put our           18   date, and so in order to -- I mean, we would change
    19   forecast well above our capacity constraints, with --          19   that date to -- so it wasn't considered a backorder for
    20   quota -- in regards to quota, and we wouldn't be able          20   internal purposes. I don't know.
    21   to supply them, we would have to go pack to the DEA.           21             I mean, mainly because from -- I mean,
    22            Again, that was not me doing that but the             22   this is just an assumption based on what I was going on
    23   compliance team, Karen Harper and her team, would put          23   at this time, again knowing that product was put on
    24   together a pack of information in terms of why we were         24   allocation from this prior e-mail in October 2011.

   Golkow Litigation Services                                                                    Page 53 (206 - 209)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-17
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further54Confidentiality
                                                         of 81. PageID #: 216557
                                                                             Review
                                                            Page 210                                                         Page 212
     1 This is November 2011, so we had communicated per 9400           1            MR. DEARMAN: You got three of those.
     2 document.                                                        2        A. Okay.
     3      Q.    Per the allocation letters?                           3        Q. (By Mr. Dearman) All right, we finally
     4      A.    Per the allocation letters that we                    4   have an e-mail with Jennifer Buist on it; right?
     5 communicated to customers on their amount that we were           5        A. There she is.
     6 able to ship them. Some customers followed that                  6        Q. She exists. So this e-mail is sent from
     7 letter, some customers didn't, so we would have orders           7   Jennifer to you on 3-12-2012. Any reason to believe
     8 in house, and per our prior communication we would only          8   that you didn't get it?
     9 be able to ship X amount during X amount of time.                9        A. No.
    10      Q.    So if you didn't put this date in the                10        Q. Do you know remove who Eileen Spalding is?
    11 future it would generate another allocation letter?             11        A. Eileen worked in -- I believe it -- was
    12      A.    No. The allocation was like a manual                 12   she part of the -- she was up in -- she was located up
    13 letter, PDF, if you will, so that was sent to                   13   in our manufacturing facility in New York. She may
    14 customers, and that allocation didn't change.                   14   have been part of Karen Harper's team at the time. I
    15      Q.    So put --                                            15   don't recall the specifics, though, regarding her
    16      A.    I mean, from the --                                  16   position at that time.
    17      Q.    Right. I guess the allocation didn't                 17        Q. So she is telling you about an
    18 change.                                                         18   AmerisourceBergen order. Do you see that?
    19      A.    Sure.                                                19        A. I do.
    20      Q.    But once you send the allocation letter              20        Q. She also indicates that it exceeds our
    21 out, do you expect the customer send you another order          21   Tier 1 limit. Do you know what that is?
    22 immediately?                                                    22        A. I'm not familiar with -- I mean, it states
    23      A.    Well, they'll order as needed, so we're              23   monthly allocation plus 10 percent in the e-mail, but
    24 telling them -- like let's say X customer normally              24   again, I'm not familiar with any of the tiers or

                                                            Page 211                                                       Page 213
     1 orders 1,000 bottles a month. We're telling them as              1 algorithms from the suspicious order monitoring team.
     2 part of this allocation process we can only ship you             2       Q. So when you received this e-mail, did you
     3 100 bottle as to month.                                          3 ask anybody what the Tier 1 limit meant?
     4           Now, whether or not they comply with that              4       A. I don't remember what conversations took
     5 notification or not differed; right? So that customer            5 place back in March of 2012 regarding this e-mail.
     6 may have continued to place 1,000 bottles every month,           6       Q. So did you ever know what the Tier 1 limit
     7 knowing that we've already communicated to them that we          7 was?
     8 can only supply them 100.                                        8       A. Well, I was clearly given that
     9      Q.    And how does that then tie into                       9 notification in this e-mail.
    10 future-dating the order?                                        10        Q. Do you know how the tiers were selected?
    11      A.    So as I've mentioned before, so the order            11        A. No. Again, I don't know how the details
    12 in the system would have an order date, so basically            12   regarding the tiers or the algorithms or any of that
    13 when the customer places the order. And if we have              13   was determined other than what I'm seeing in front of
    14 communicated to them we're not going to ship you this           14   me.
    15 product until next month, for example, we future-dated          15        Q. So when you receive an e-mail like this
    16 those orders.                                                   16   that asks you to provide insight, what is it that you
    17      Q.    Okay. That's what --                                 17   would have done in your normal course of business?
    18      A.    Yeah. To follow the allocation.                      18        A. So again, at this point in time in March
    19      Q.    Okay. That's what I meant. All right.                19   of 2012, I was a product manager, so if I had any
    20      A.    Yeah.                                                20   additional insight as to what was going on with
    21           [Exhibit Mallinckrodt-Cardetti-027 marked             21   AmerisourceBergen, their contract changes, new awards
    22           for identification.]                                  22   or anything, I could have provided that information.
    23      Q.    I'm going to show you what is marked as              23           If I wasn't aware of anything myself, I
    24 Exhibit Number 27, Bates range 8931.                            24   would have reached out to the salesperson responsible

   Golkow Litigation Services                                                                  Page 54 (210 - 213)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-17
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further55Confidentiality
                                                         of 81. PageID #: 216558
                                                                             Review
                                                        Page 214                                                            Page 216
     1 for AmerisourceBergen at that time. If they were not         1 sending an e-mail to Cheryl Nelson. Do you know who
     2 aware, then they would reach out to AmerisourceBergen.       2 Cheryl Nelson is?
     3 So again, kind of the middleman, just trying to provide      3       A. At the bottom of the first --
     4 information going back to the suspicious order               4       Q. 4784.
     5 monitoring process to validate orders.                       5       A. Oh. Cheryl Nelson? Yes. Customer
     6            [Exhibit Mallinckrodt-Cardetti-028 marked         6   service.
     7            for identification.]                              7       Q. Do you know why Hazelwood is next to her?
     8        Q. I'm going to show you Exhibit 28, which is         8   Or is that a separate -- no, it's the same e-mail
     9   8924 and 8925.                                             9   address, it looks like.
    10        A. Okay.                                             10       A. I'm sorry. Where do you see this?
    11        Q. This is an e-mail that looks to be from           11       Q. Well, I see from Cardetti, Lisa M.
    12   Jennifer to you and Karen Harper as well as others;       12   Lundergan, sent Monday, March 26th, 2012 --
    13   correct?                                                  13       A. Okay.
    14        A. Correct.                                          14       Q. -- to Nelson, Cheryl, Hazelwood.
    15        Q. This was sent on March two thousand --            15       A. I don't know.
    16   March 13th, 2012?                                         16       Q. Okay. Who is Rose Adams?
    17        A. Correct.                                          17       A. Rose Adams managed the distribution center
    18        Q. So you're still a product manager at that         18   up in Hobart, New York.
    19   point in time?                                            19       Q. Clay Sanders -- Saunders?
    20        A. Correct.                                          20       A. Clay Saunders was the buyer at
    21        Q. Any reason to believe you didn't get this         21   AmerisourceBergen.
    22   in the ordinary course of business or send these          22       Q. And then you indicate please allocate
    23   e-mails?                                                  23   these orders to ship. Are you referring to the orders
    24        A. No.                                               24   on Page 4785?

                                                        Page 215                                                            Page 217
     1        Q. It's says Lisa, we have an order on Tier 2         1       A.   That's what it appears, yes.
     2   hold which is exhibiting an unusual pattern. What's a      2       Q.   And if you move up on that Page 4784
     3   Tier 2 hold?                                               3 from -- it's from Dosage Products Division
     4        A. Again, I was not familiar with the                 4 Pharmaceuticals to you. Do you know who Dosage
     5   suspicious order monitoring tiers; however, as it          5 Products Division is?
     6   states, the quantity order exceeds their 18-month          6       A.   If I recall, that was a generic customer
     7   average by more than 3X, so that's pretty much all I       7 service e-mail.
     8   know about Tier 2 that I can recall.                       8       Q.   And it refers you to the order numbers
     9        Q. You sent this onto Jennifer Bullerdick.            9 below, and it says I am unable to allocate, and there's
    10   What was Jennifer's position?                             10 a problem with these having been on D1 and D2 hold. Do
    11        A. She was also a product manager.                   11 you know what D1 and D2 hold is?
    12        Q. And then she forwarded it directly to             12       A.   I believe those were suspicious order
    13   Jennifer and indicated that we've been on back order so   13 monitoring holds. I don't recall 100 percent, but I
    14   it seems like a feasible quantity?                        14 believe those were the SOM holds.
    15        A. Yes.                                              15       Q.   Do you know how the holds relate to the
    16        Q. But your only experience with Tier 2 is           16 tiers, if they do?
    17   what you just read right here?                            17       A.   The holds was an auto -- like a system
    18        A. From I recall, yeah. I --                         18 generated, so I don't know how all of that was
    19            [Exhibit Mallinckrodt-Cardetti-029 marked        19 correlated systemically, to answer your question, no.
    20            for identification.]                             20     Q. Do you know whether there were other holds
    21        Q. I'll show you Exhibit 29, which is 4784 to        21 besides a D1 or D2?
    22   4786. Let me know when you're ready to discuss it.        22     A. Yes, there were other customer service
    23        A. Okay.                                             23 holds or system holds, yes.
    24        Q. So on the bottom of the first page, you're        24     Q. So like a D3 hold?

   Golkow Litigation Services                                                               Page 55 (214 - 217)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-17
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further56Confidentiality
                                                         of 81. PageID #: 216559
                                                                             Review
                                                     Page 218                                                           Page 220
     1        A. I don't remember all the holds.                  1 today, sales had the discussions with customers. It
     2        Q. Was there a list of the holds and what the       2 was not a single -- like I did not decide the price
     3   holds meant that you had access to at some point in      3 single-handedly. It was a collaborative discussion
     4   time?                                                    4 between sales and marketing. Management approved all
     5        A. Customer service had that list, yeah.            5 of the pricing that was -- went into any offer or
     6   Yeah.                                                    6 contract.
     7        Q. If you go to the last sentence there, it         7        Q. What went into an offer as it related to
     8   says but I am unable to remove the PM hold and/or        8   pricing? What was the process that was utilized?
     9   allocate. What is a PM hold?                             9        A. Yeah, so if you remember, the terms and
    10        A. Again, I don't remember all the specifics       10   conditions was the meat and potatoes of the agreement
    11   on what the holds --                                    11   with the customer, and so if you remember there was an
    12        Q. Do you have a general understanding what        12   Exhibit A, so this is just an example, so when that
    13   PM hold means?                                          13   agreement was put into place with that customer, those
    14        A. I do not. It could have been a variety of       14   are the prices at that time, so --
    15   different reasons why that was on hold.                 15        Q. The WAC price, the net price, the cost?
    16        Q. Now, when you became a regional account         16        A. Right. Right. So anytime that there was
    17   manager, that's when you left marketing and went to     17   a change to that price, there would basically be an
    18   sales; correct?                                         18   amended to that agreement, to that exhibit. Every --
    19        A. Regional account manager?                       19   some customers even had their own terms, templates, so
    20        Q. Do I have that right?                           20   I don't want to say that every single one looked
    21        A. No. No. So I was -- regional account            21   exactly like by any means, but that was the general
    22   manager was sales.                                      22   concept, so it was typically a one-page document that
    23        Q. It was sales?                                   23   included the product and the price that was being
    24        A. Yes.                                            24   offered.

                                                      Page 219                                                     Page 221
     1        Q. It was the first time you were in sales?         1        Q. I'm going to show you Exhibit 30, which is
     2        A. Correct. Yes.                                    2   7943 to 7945, and more of the compensation-type
     3        Q. So the answer is yes?                            3   questions that I was just asking.
     4        A. Yeah. Sorry.                                     4            [Exhibit Mallinckrodt-Cardetti-030 marked
     5        Q. That's all right.                                5            for identification.]
     6        A. But I didn't leave sales after that.             6        A. Sure. Okay.
     7        Q. No, no.                                          7        Q. Are you familiar with this document?
     8        A. Was that your question? I'm sorry.               8        A. Yes.
     9        Q. No, no. My question was when you started         9        Q. What is it?
    10   as a regional account manager, were you now in the      10        A. So we would provide Jane Williams, who I
    11   sales department?                                       11   reported to at this time, just a monthly report on
    12        A. Yes. Yes.                                       12   activity of my accounts and my territory.
    13        Q. And your compensation in the sales              13        Q. What was your territory?
    14   department was -- one of the factors was related to     14        A. My territory was account-based.
    15   volume; right? Correct?                                 15        Q. What do you mean by that?
    16        A. One of the factors related to sales.            16        A. By customer.
    17        Q. Sales, which was volume of product?             17        Q. So it wasn't geography; it was by
    18        A. Price obviously goes into sales.                18   customer?
    19        Q. So price and the volume of the product?         19        A. Correct.
    20        A. The way that I remember the compensation        20        Q. From this document can you tell who your
    21   was based on sales, so how you come up with sales is    21   customers were?
    22   volume and price.                                       22        A. I can.
    23        Q. Did you set the price?                          23        Q. And who were your customers?
    24        A. Throughout -- kind of as we've discussed        24        A. If you look at 7944 under customer

   Golkow Litigation Services                                                            Page 56 (218 - 221)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-17
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further57Confidentiality
                                                         of 81. PageID #: 216560
                                                                             Review
                                                     Page 222                                                           Page 224
     1 updates, they're bulleted.                                   1        A. I don't remember.
     2       Q. So NC Mutual, Premier Group, FW Care,               2        Q. Could you name one?
     3 Harvard Drug, Meijer, Price Chopper, Omnicare, Excel         3        A. Well, methylphenidate is a product.
     4 Rx, ABC, and AHP?                                            4        Q. How about besides methylphenidate?
     5        A. This is that is correct.                           5        A. Temazepam, maybe. I don't recall. I know
     6        Q. What's AHP?                                        6   that we had non-opioid products.
     7        A. AHP is a packaging division of                     7        Q. And if you look at the P & L excluding the
     8   AmerisourceBergen.                                         8   ADHD drug?
     9        Q. If we go back to the first page of this            9        A. Yes.
    10   document, 7943, territory sales summary based on fiscal   10        Q. Under rebates and fees, is that showing
    11   months, territory, and it lists your name, measures       11   how much was paid in rebates and fees in your territory
    12   gross sales?                                              12   for this period of time?
    13        A. Yeah.                                             13        A. Yes, that is what that's showing.
    14        Q. And then it lists fiscal year 2012 and            14        Q. And that is showing that -- okay. And
    15   fiscal year 2013; correct?                                15   then if you go down to net sales for the prior rolling
    16        A. Yes. Yes.                                         16   12 months and then the rolling 12 months, there's a
    17        Q. And what is the -- what's the VAR? What           17   variance, and that variance is 49 percent between the
    18   is that?                                                  18   last 12 months; right?
    19        A. Variance.                                         19        A. Yes.
    20        Q. And that's a negative variance?                   20        Q. So do you know how that number is up but
    21        A. Yes. So as you can see, fiscal year 2012          21   if you go to the top box that we talked about those
    22   was $91.5 million and fiscal year 2013 was $72.396        22   numbers are down?
    23   million, which leaves a seven -- or excuse me -- 19.178   23        A. Well, clearly it's driven from
    24   variance.                                                 24   methylphenidate ER.

                                                       Page 223                                                  Page 225
     1       Q. And it shows you the units, the spread              1       Q. Okay. That answers the question. Thank
     2   between 2012 and 2013 as well; correct?                    2 you.
     3       A. Correct.                                            3        A. Yeah.
     4       Q. Is P & L profit and loss?                           4        Q. And if you turn the page and you look at
     5       A. Yes.                                                5   the top of 7944, what is hydro APAP 325 business?
     6       Q. Including methylphenidate ER?                       6        A. Hydrocodone acetaminophen, 325 milligram.
     7       A. Methylphenidate, yes.                               7        Q. Do you know -- were you -- did you -- were
     8       Q. Yeah. That's a Schedule 2, or is it not?            8   you responsible for any other opioid product besides --
     9       A. I believe so. It was for ADHD. It was --            9   were you selling any other product besides the
    10   yeah. I believe that was a Schedule 2, though.            10   325-milligram hydro?
    11       Q. It wasn't; right? It was?                          11        A. Sure. Yeah. I mean, I was selling
    12       A. I believe it was a Schedule 2, but it was          12   various products.
    13   for ADHD.                                                 13        Q. Why do you have a box for that specific
    14       Q. If we look at the -- excluding the ADHD            14   molecule?
    15   drug, then we're talking about all opioids; right?        15        A. I'm trying to remember. When was this?
    16       A. Not necessa -- I mean, we had other                16   July. I don't recall. I don't remember.
    17   products in our portfolio.                                17        Q. Do you know why -- if you look under
    18       Q. That you were responsible for with your            18   customer it says Omnicare, Omnicare, and then there's a
    19   accounts?                                                 19   black line that goes across. Do you see that?
    20       A. I was -- I mean, when you're in sales you          20        A. Yes.
    21   have responsibility for the customer, but I mean, you     21        Q. Do you know what that black line was --
    22   could have been selling opioids and non-opioids.          22   was that something you put into the document?
    23       Q. And can you tell me in 2013 what                   23        A. Yeah, it was just a way for me to
    24   non-opioids you were responsible for selling?             24   distinguish between customers. It was just a format

   Golkow Litigation Services                                                              Page 57 (222 - 225)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-17
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further58Confidentiality
                                                         of 81. PageID #: 216561
                                                                             Review
                                                       Page 226                                                          Page 228
     1 that I did.                                                    1        A. I do not remember why I put Qualitest.
     2        Q. Do you know who Thomas Brown is?                     2        Q. And Qualitest was a manufacturer of what?
     3        A. Thomas Brown? I don't remember a Thomas              3        A. They manufactured many products. They
     4   Brown.                                                       4   were a competitor.
     5        Q. Are you familiar with the red flags video?           5        Q. Who is Alvogen?
     6        A. The red flags video? I do vaguely                    6        A. Alvogen is another manufacturer.
     7   remember that video.                                         7        Q. So if we look at Number 1 under that first
     8        Q. What was it?                                         8   e-mail on Page 7539, the 5/325 items removed to the
     9        A. If I recall correctly, it was a video in             9   base VIP.
    10   regards to how pharmacists could kind of recognize          10        A. Uh-huh.
    11   potential diversion, I mean, in regard -- like at the       11        Q. What are the purpose of the tiers that
    12   pharmacy, if I am remembering the correct video.            12   you're setting forth here?
    13            [Exhibit Mallinckrodt-Cardetti-031 marked          13        A. So this is a volume incentive program, a
    14            for identification.]                               14   VIP that we've discussed previously, and these are the
    15        Q. I'm going to show you Exhibit 32 (sic),             15   tiers set for AmerisourceBergen.
    16   which is 7538 through 7540.                                 16        Q. So the 85,000 to 94,000 -- that's pills or
    17            MR. TSAI: Sorry.                                   17   bottles?
    18        Q. (By Mr. Dearman) Let me know when you're            18        A. That's dollars.
    19   ready to --                                                 19        Q. I'm sorry. Dollars. Dollars. Right.
    20        A. Okay.                                               20   And so each of those tiers -- that's the incentive
    21        Q. If you look at the initial e-mail, which            21   price that's paid?
    22   is June 6th, 2014, from you to Walt Kaczmarek. Who is       22        A. The -- yeah, depending on where their
    23   Walt?                                                       23   sales were, that's what the rebate percentage.
    24        A. He was the president.                               24        Q. So what's the point of showing the seven

                                                          Page 227                                                      Page 229
     1        Q. The president of?                                    1   percent and then the $6 million number?
     2        A. Of generics.                                         2        A. That's simply a calculation of what that
     3        Q. Jay Williams, Ginger Collier, and Jacob              3   rebate would be.
     4   Longenecker, who we talked about. Do you have any            4        Q. If they hit that mark?
     5   reason to believe that you didn't send this in the           5        A. If they hit that. Correct.
     6   ordinary course of business?                                 6        Q. And then two talks about oxy APAP, VIP, so
     7        A. No, I do not.                                        7   is that a different molecule?
     8        Q. The 5/325 items -- what are 5/325s?                  8        A. That is.
     9        A. Well, we had some product -- 5/325 is a              9        Q. And that is another incentive program?
    10   milligram. Based on the context of this e-mail, it          10        A. It appears that it's a separate program,
    11   appears that I'm referring to hydrocodone 5/325, just       11   yes.
    12   knowing that on the second page, on 7540, how it states     12        Q. So it doesn't say rebate, though, but it
    13   7.5/325 and 10/325, I just remembered that those were       13   shows a percentage under the first line, which is $20
    14   the strengths of that product.                              14   million to twenty -- almost $25 million?
    15        Q. If you look at Page 7540, the last page.            15        A. Uh-huh.
    16        A. Yes.                                                16        Q. Four percent, and then minimum tier
    17        Q. Do you see above thank you and Lisa it              17   compliant? What does that mean, 40 percent? Do you
    18   says Qualitest?                                             18   know?
    19        A. I do.                                               19        A. I don't remember what that would have
    20        Q. What is that?                                       20   been.
    21        A. Qualitest is a manufacturer.                        21        Q. But this is on oxy, and instead of it
    22        Q. So do you know why you had dot, dot, dot,           22   being -- it's an annual tier program; right?
    23   dot, Qualitest, exclamation, exclamation, exclamation,      23        A. On oxy APAP. It's an oxy and
    24   exclamation, happy face?                                    24   acetaminophen combination product.

   Golkow Litigation Services                                                                Page 58 (226 - 229)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-17
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further59Confidentiality
                                                         of 81. PageID #: 216562
                                                                             Review
                                                            Page 230                                                    Page 232
     1        Q. And it shows you annual tiers and                      1        A. Rich -- gosh. Rich, Rich. It's on the
     2   quarterly tiers. If you turn the page to Number 3, it          2   tip of my tongue. Hang on. Tremonte.
     3   says we are not decreasing price as ABC requested, but         3        Q. Thank you. Are you familiar with the term
     4   the VIP quarterly payout should help them with                 4   key opinion leader?
     5   decreasing their sales-out price compared to the other         5        A. Key opinion? Vaguely. Key opinion
     6   manufacturer, Alvogen; right?                                  6   leader?
     7        A. Yes.                                                   7        Q. What is your understanding of that
     8        Q. If you then go to the first page of this               8   terminology?
     9   e-mail, this is an e-mail from you to these -- to some         9        A. Key opinion leader -- a decision-maker,
    10   of these people which is now referring to this pricing;       10   potentially.
    11   correct?                                                      11        Q. Did you ever work with doctors in order to
    12        A. It looks like it is discussing the VIP                12   speak to any of your clients about any of your
    13   program.                                                      13   products?
    14        Q. And it says the VIP percent is passed                 14        A. No.
    15   directly on to 40 percent of their customers, therefore       15        Q. What was that last number?
    16   those customers would see the value and we could expect       16        A. 32? 31? I don't know what --
    17   to see the volume back up. So that's 40 percent of            17        Q. I don't know.
    18   ABC's customers?                                              18            [Discussion off the record.]
    19        A. Yes, that is -- that's how I read that;               19            [Exhibit Mallinckrodt-Cardetti-032 marked
    20   correct.                                                      20            for identification.]
    21        Q. Earlier you indicated we're not decreasing            21        Q. Let me show you Exhibit Number 32, which
    22   the price, but here in Bullet 2, it says if we do not         22   is Bate range 1216 and 1217.
    23   decrease the price there is no additional benefit to          23            [Discussion off the record.]
    24   ABC; only those large customers would see the benefit.        24        A. Okay.

                                                         Page 231                                                          Page 233
     1 What do you mean by that?                                        1        Q. 1216 is an e-mail from you to you dated
     2       A. So as noted in the first bullet, only 40                2   9-30-2014. I assume you BCCed some customers with
     3 percent of their customers get additional rebates from           3   this?
     4 ABC, and so that leaves 60 percent of their customers            4        A. Yes, that's -- yeah.
     5 that do not. So as it states, if we don't decrease the           5        Q. Do you know what the purpose of this
     6 price, there's no additional benefit to ABC, so that 60          6   teleconference was?
     7 percent of those customers, I mean, wouldn't see any             7        A. It appears to discuss the DEA's ruling on
     8 change in their end because typically if you were to             8   rescheduling hydrocodone combination products.
     9 decrease your price -- we have no control over how the           9        Q. As a Schedule 2; correct?
    10 wholesaler set their sell prices nor did we know what           10        A. I'm sorry. As a Schedule 2. Yes. And
    11 their sell prices were with their customers. But you            11   inviting customers to participate if they were
    12 can just make the assumption that they're -- if you             12   interested.
    13 don't do anything with the price, that the price would          13        Q. And the moderator, Bob Twillman -- how did
    14 stay constant.                                                  14   you find Mr. Twillman?
    15        Q. And so the next one says in order to drive            15        A. I did not facilitate this. This would
    16   the volume back up for all customers, that additional         16   have been from another group. And this is a good
    17   60 percent, we would need to drop the price?                  17   example of an e-mail where legal or corporate
    18        A. Yes. Yes.                                             18   compliance would have drafted this and then sent this
    19        Q. And down at the bottom, in that                       19   to sales to say okay --
    20   second-to-last paragraph it says -- it says a lot, but        20        Q. Send it to your customers?
    21   one of the things it says is since Rich would be the          21        A. -- send it to your customers.
    22   final decision-maker on the margin issue. Who is rich?        22            [Exhibit Mallinckrodt-Cardetti-033 marked
    23        A. Rich was at AmerisourceBergen.                        23            for identification.]
    24        Q. What was Rich's last name?                            24        Q. Exhibit 33, 0440 through 0442.

   Golkow Litigation Services                                                                  Page 59 (230 - 233)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-17
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further60Confidentiality
                                                         of 81. PageID #: 216563
                                                                             Review
                                                        Page 234                                                           Page 236
     1        A. Okay.                                               1      A.    No. So all of the goals from -- that were
     2        Q. If you look at the -- so this is on                 2 determined at the beginning of the year were put
     3   October 2nd, 2014 -- it's your September monthly report     3 online. We could go in throughout the year to type in
     4   to Jane Williams about territory sales summary;             4 notes on, okay, if one of my goals as a personal
     5   correct?                                                    5 development was to take an Excel class, for example, I
     6        A. Correct.                                            6 could go in there and say okay, that goal has been
     7        Q. It looks like your sales from 2013 to 2014          7 completed and this is the class I took, these are the
     8   went up 52 percent. Do you see that?                        8 learnings from that class, et cetera.
     9        A. I do.                                               9           So we had access to that portal to kind of
    10        Q. And you sold less units? Is that                   10 update along the year -- excuse me -- throughout the
    11   accurate?                                                  11 year, and then at the end of the year, prior to that
    12        A. Yes, that's what it appears.                       12 one-on-one meeting that I was referring to, I would go
    13        Q. So how do you account for that?                    13 in and update and make comments on each specific goal,
    14        A. I don't know the specifics, but it appears         14 and Jane -- the manager at that point in time would
    15   that there was a price increase.                           15 also make comments.
    16        Q. Were these documents used for purposes of          16      Q.    And do you remember what that portal was
    17   determining your compensation; do you know?                17 called?
    18        A. Not that I am aware of. I don't -- I               18     A. I do not.
    19   mean, from my perspective Jane used this just to           19     Q. Was volume of sales one of the items that
    20   keep -- I mean, there were obviously a lot going on        20 were on your goal list?
    21   with each account, so just so she was aware of kind of     21      A.    Yeah, typically sales would be part of
    22   all the -- everything going on.                            22 that bonus structure. Yeah.
    23        Q. How would you receive bonuses?                     23      Q.    And that would be set forth at the
    24        A. How?                                               24 beginning so you knew what you were supposed to reach?

                                                         Page 235                                                          Page 237
     1        Q. Yeah. Somebody give you a box of cash?              1      A.    Right. And there was always, from what I
     2        A. No, it would be in a paycheck.                      2 remember, like verbiage in the agreement that those
     3        Q. And would the check indicate to you what            3 could be changed from management or whatever, but
     4   bonus? What made up the bonus?                              4 generally speaking, yes, you knew what those goals
     5        A. What --                                             5 were. Not necessarily at the beginning of the year,
     6        Q. And would it indicate based on sales?               6 because sometimes those targets didn't even come until
     7   What would it tell you, if anything?                        7 midyear, so --
     8        A. We would have an annual review with the             8      Q.    But the targets were listed someplace for
     9   manager, so in this case Jane, to review the year, what     9 you to see?
    10   my goals were, if I accomplished those goals, any          10      A.    Yeah. Yeah. Yeah.
    11   personal development things that -- so it would be a       11     Q. Did you ever go on any trips with any of
    12   comprehensive review of the year, and at that point in     12 your customers?
    13   time from what I recall, they would provide feedback on    13     A. Trips?
    14   where the sales hit throughout -- where the sales came     14      Q.    Yeah.
    15   in for my customers. Yeah.                                 15      A.    No.
    16        Q. And so would there be -- was there a name          16      Q. Conferences or seminars or --
    17   to that form?                                              17      A. There were national -- like there were
    18        A. That was like a meeting.                           18 industry trade shows where they attended and I would
    19        Q. Was there some sort of an evaluation that          19 attend, but I didn't go with them.
    20   was provided to you or that you --                         20      Q. Were there any trips that Mallinckrodt
    21        A. I believe the evaluation was all done              21 would sponsor where they would take ABC or some of its
    22   online. Yeah.                                              22 principals on a trip with the sales department?
    23        Q. And when you say done online -- the two of         23      A.    I don't recall any trips that we -- no.
    24   you sitting in front of a computer, or --                  24           [Exhibit Mallinckrodt-Cardetti-034 marked

   Golkow Litigation Services                                                                Page 60 (234 - 237)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-17
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further61Confidentiality
                                                         of 81. PageID #: 216564
                                                                             Review
                                                         Page 238                                                    Page 240
     1            for identification.]                               1   it says new WAC table. Any idea what that is?
     2        Q. I'm going to hand you what's marked as              2        A. I don't. I --
     3   Exhibit 34, which is 4121, and it's a spreadsheet. And      3        Q. I mean, other than it's setting the WAC
     4   this is how it was produced to us.                          4   price for certain SKUs?
     5        A. Okay.                                               5        A. That's what it appears, yeah. I have no
     6        Q. Any of this familiar to you?                        6   other context. I can't --
     7        A. This is -- there's a lot of reports in              7        Q. Are you familiar with what prompt pay is?
     8   this. I don't know if I ran these. I mean, these --         8        A. It's a cash discount. So two percent, 30,
     9        Q. I don't know if you did either.                     9   net 31.
    10        A. Yeah.                                              10        Q. And that would be whatever the contractual
    11        Q. If you look at the first page of this, it          11   terms were?
    12   says row labels, values.                                   12        A. Absolutely, yes.
    13        A. Yes.                                               13        Q. We're getting close, though.
    14        Q. Sum of shelf stock estimate, sum of annual         14        A. Thanks. I feel like time has stopped.
    15   savings. Any idea what a shelf stock estimate is?          15   Anyone else?
    16        A. So sometimes customers would request or            16        Q. I only have one more binder, and half of
    17   require a shelf stock payment if it's like a new award     17   this one. Exhibit 35. This is 0810 to 0811, with a
    18   if they've never stocked the product before. Yeah,         18   spreadsheet attached. The subject is Lisa's
    19   that's what that is.                                       19   allocations.
    20        Q. If you turn the page to price comparison,          20            [Exhibit Mallinckrodt-Cardetti-035 marked
    21   have you seen a report like this?                          21            for identification.]
    22        A. This does not look familiar. It looks              22        A. Yes.
    23   like an ad hoc report that was put together.               23        Q. Any reason to believe that you didn't send
    24        Q. If you turn the page two pages to where it         24   this on September 28, 2011?

                                                       Page 239                                                             Page 241
     1 says fiscal year 2011 up in the top?                          1      A.    No.
     2        A. Yes.                                                2      Q.    Why were you sending Lisa's allocations to
     3        Q. EDI distributor data analysis. Do you               3 the folks that you sent Lisa's allocations to?
     4   know what that is?                                          4      A.    Yeah, so the majority of these people on
     5        A. So EDI is an electronic data feed when --           5 here are customer service, which is who released the
     6   like the chargebacks, for example, would typically be       6 orders from backorder or whatever hold status there
     7   transmitted EDI from the wholesaler to Mallinckrodt.        7 were to ship.
     8        Q. So this is how the chargebacks would come           8      Q.    So this was an instruction to somebody to
     9   to Mallinckrodt?                                            9 ship something to somebody?
    10        A. No. No. From my understanding, it would            10      A.    This was a file to release shipments --
    11   be coming in a monster data feed electronically. I         11 uh-huh -- based on allocation. So again, if you
    12   don't know. I never saw what the raw data looked like,     12 remember the allocation conversation from earlier,
    13   but this appears to have come out of our -- like a tool    13 where we had, for example, a quota constraint
    14   that we used to gather data, to pull data.                 14 communicated to customers, you would be shipped X
    15            Yeah. I don't know. Oh -- okay, so                15 amount of inventory on a monthly basis.
    16   now -- sorry. That was really hard to see. Quantity        16           This is an example of a report that would
    17   on hand. More inventory quantity on order. It looks        17 be sent to -- so all those orders would go on hold.
    18   like that may be from their 852 data, which is like        18 This is an example of a report that -- because I would
    19   inventory, like what the wholesaler stocked.               19 be managing the allocations from that perspective,
    20        Q. From Mallinckrodt?                                 20 knowing what we had communicated to customers telling
    21        A. Mallinckrodt's product. Yeah, yeah, yeah.          21 them what we could ship, so this is a report on --
    22   So quantity on hand, the first AmerisourceBergen, their    22 based on like that type of communication to customers,
    23   inventory levels it looks like.                            23 for example, on releasing shipments, and customer
    24        Q. And then the next -- if you go a few pages         24 service would manually do that.


   Golkow Litigation Services                                                                Page 61 (238 - 241)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-17
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further62Confidentiality
                                                         of 81. PageID #: 216565
                                                                             Review
                                                         Page 242                                                         Page 244
     1        Q. And if you look at -- the third page, I             1        A. No.
     2   think, is where it gives you order number, item number,     2        Q. This says fiscal year 2014, generic
     3   item description, quantity ordered, backorder quantity.     3   business review?
     4        A. Yes.                                                4        A. Uh-huh.
     5        Q. So the quantity ordered -- the top order,           5        Q. Do you know whether you did a fiscal year
     6   70208636 -- it shows the quantity ordered is 120, and       6   2013 generic business review?
     7   it shows that the whole backorder was 120?                  7        A. I don't recall. I don't even remember the
     8        A. Correct.                                            8   audience for this specific presentation.
     9        Q. And now, were you -- so what is the next            9        Q. What position would you have been in at
    10   step -- marketing -- do you know what that is?             10   the point in time that you did this fiscal year 2014
    11        A. Comments, is what it looks like.                   11   review?
    12        Q. Oh. Okay. And then if you go two pages             12        A. Director of national accounts.
    13   past it, it talks about product manager, order date,       13        Q. As a director of national accounts, was
    14   request date. I assume this is one spreadsheet?            14   one of your responsibilities to prepare fiscal year
    15        A. Yeah, I would assume that.                         15   generic business reviews?
    16        Q. It shows you a weekly forecast total?              16        A. Hold on one second.
    17        A. Uh-huh.                                            17        Q. Take your time.
    18        Q. What is a W through M weekly usage?                18        A. Let me just scroll through this real
    19        A. Oh. From what I remember, that was                 19   quick. Okay. Sorry. Go ahead. So what this looks
    20   Walmart's weekly usage.                                    20   like is that it was an internal presentation, so we
    21        Q. Was Walmart one of your accounts?                  21   would meet with the sales team -- so sales and
    22        A. At this point I think I was in product             22   marketing teams would get together. I can't remember
    23   management. Yeah. In 2011, so yeah.                        23   the cadence. I don't remember how often it was, but
    24        Q. Oh, okay. So it was just the product that          24   just to review accounts, products, just to review the

                                                       Page 243                                                         Page 245
     1 you were talking about?                                       1   business together. It would be -- yeah.
     2       A. Right. Right. So I was -- it looks like              2        Q. As part of your compensation, did you
     3 I was releasing allocations for oxy APAP, oxycodone.          3   receive any stock in Mallinckrodt?
     4 That's what it appears, yes.                                  4        A. I'm trying to remember. At one point in
     5            MR. DEARMAN: Can I take 10 minutes to see          5   time I did have Mallinckrodt stock.
     6   what I've got?                                              6        Q. That wasn't my question, but that answers
     7            THE VIDEOGRAPHER: We are going off the             7   it.
     8   record at 2:42 PM.                                          8        A. No, I know. I'm trying to remember.
     9            [A brief recess was taken.]                        9        Q. That's okay. Do you have any Mallinckrodt
    10            THE VIDEOGRAPHER: We are back on the              10   stock as we sit here today?
    11   record at 2:51 PM.                                         11        A. I do not, no.
    12            [Exhibit Mallinckrodt-Cardetti-036 marked         12        Q. Why did you leave Mallinckrodt?
    13            for identification.]                              13        A. I had another opportunity at Rising
    14       Q. (By Mr. Dearman) I'm going to show you              14   Pharmaceuticals, where I am currently.
    15   Exhibit 36, which is Bates 8661 through 8663. And I'm      15        Q. So -- I'm sorry. So did you quit?
    16   going to direct your attention to the attachment, which    16        A. Yes. I left voluntarily.
    17   appears to be a PowerPoint or some sort of                 17        Q. If you look at the first page of this
    18   presentation, and ask you if you're familiar with this.    18   presentation, it says to the multi-source team. Who is
    19       A. I did many presentations in my tenure at            19   the multi-source team?
    20   Mallinckrodt. I don't remember this specific               20        A. I was questioning that myself reading it.
    21   presentation.                                              21   I don't recall. I don't recall.
    22       Q. Do you have any reason to believe that you          22        Q. And if you turn to Page 5 of the document,
    23   didn't prepare this document in the ordinary course of     23   it says -- it might it say on another pages, but this
    24   your business?                                             24   is Cognos, the C-O-G-N-O-S thing that we had talked

   Golkow Litigation Services                                                                Page 62 (242 - 245)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-17
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further63Confidentiality
                                                         of 81. PageID #: 216566
                                                                             Review
                                                         Page 246                                                       Page 248
     1   about earlier?                                              1   product next to it, it's actually a higher quantity
     2        A. Correct.                                            2   than it was the year before.
     3        Q. So you still had access to Cognos all the           3        A. No, it's a lower quantity.
     4   way through?                                                4        Q. If you look at Page 10.
     5        A. Yes, I recall -- yeah.                              5        A. Oh, I'm sorry. I thought you were looking
     6        Q. And if we look at Page 5, which has                 6   at 12.
     7   territory net sales, dollars by customer, these were        7        Q. Yeah. The net sales is lower; correct?
     8   the customers that you were responsible for?                8        A. The net -- I'm sorry. What product family
     9        A. At this time. Yes, it appears so.                   9   are you speaking of?
    10        Q. If you turn to Page 8, it talks about              10        Q. Just oxy.
    11   territory tracking to budget by customer. How is the       11        A. Oxy? The product sales for FY14 are
    12   budget determined? What is the budget, if you know?        12   slightly higher than 2013.
    13        A. I don't recall what the budget was. From           13        Q. That's what I meant. It was higher.
    14   what I recall, the territory, meaning by customer, was     14        A. But if you look at the quantity, it is
    15   broken -- yeah, I don't remember the specifics of the      15   significantly higher.
    16   budget. Sorry.                                             16        Q. On Page 12?
    17        Q. That's all right. And if you go to Page            17        A. On Page 12. Okay. WB. Got there. I'm
    18   10, it says -- it shows the fiscal year 2013 and 2014      18   here.
    19   and shows territory net sales by product family?           19        Q. What is WB?
    20        A. Yes.                                               20        A. It appears that it's WBAD, Walgreens Boots
    21        Q. And the oxy combination drug is the                21   Alliance. I think this was -- it appears this was at
    22   highest sales by product family?                           22   the beginning of this group.
    23        A. Yes, it appears so.                                23        Q. So there's one of these for Walgreens
    24        Q. Do you know whether you did one of these           24   Boots Alliance, there's another one for Amerisource?

                                                       Page 247                                                          Page 249
     1   in 2015 and 2016?                                           1   This is for each of your customers?
     2        A. I don't recall.                                     2        A. It appears it looks like -- just the top
     3        Q. There's another attachment which says WB            3   ones. I don't think there's one for every single one.
     4   FY14. Do you see that? No, it's attached.                   4        Q. And if you go to the AmerisourceBergen
     5        A. Oh.                                                 5   fiscal year 2014 overview --
     6        Q. You just got to keep going. It looks to             6        A. Uh-huh.
     7   be part of the same thing.                                  7        Q. -- and you turn to Page 24 --
     8        A. Does it have a page number? No.                     8        A. Yes.
     9        Q. It does not.                                        9        Q. It says -- under the top, it says goal,
    10        A. Sorry. As I flip through here, just going          10   increase net sales and net margin by 50 percent. You
    11   back to that question before. It appears that net          11   see that?
    12   sales --                                                   12        A. I do.
    13        Q. What page are you on?                              13        Q. So is that one of your goals for the next
    14        A. Page 10 that you were referring to.                14   year? Is that what that is, or is that talking about a
    15        Q. Okay. Yeah.                                        15   goal that you already met, or do you know?
    16        A. Oxy APAP does have the highest sales but           16        A. I don't remember the context of this goal.
    17   if you flip two pages lower, it has significantly lower    17   These are not -- these are customer-specific goals, it
    18   sales than the prior year in terms of quantity.            18   appears that I kind of had set just arbitrarily.
    19        Q. So wait. So Page 12 you're saying is               19        Q. So these are goals that you would have
    20   looking at a different year?                               20   set?
    21        A. No, I'm saying that the quantity compared          21        A. Potentially. That's what it appears to
    22   to the previous year is significantly lower. I just        22   be.
    23   wanted to --                                               23        Q. It's a fiscal year 2014 overview?
    24        Q. And if you look at the oxy non-combination         24        A. Uh-huh.

   Golkow Litigation Services                                                               Page 63 (246 - 249)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-17
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further64Confidentiality
                                                         of 81. PageID #: 216567
                                                                             Review
                                                       Page 250                                                      Page 252
     1        Q. So ABC goals for fiscal year 2014. Is             1        Q. And what is your understanding of the
     2   this something that you met? Is the blue the goal and     2   nature of that litigation?
     3   the green what you met, do you know?                      3        A. Very vague understanding that it's a
     4        A. So when was this put together, again?             4   similar context regarding opioids.
     5   April -- so our fiscal year began in October, so it       5        Q. And what else? Similar context regarding
     6   wouldn't -- the year wouldn't have been over. So this     6   opioids meaning what?
     7   was probably an estimate as of April.                     7        A. Meaning -- so there's claims against
     8        Q. Which would have been an estimate that you        8   Mallinckrodt and many others about the sale and
     9   would have sent?                                          9   marketing of opioids.
    10        A. An estimate based on the actual --               10        Q. And where did you learn that understanding
    11        Q. To date?                                         11   about the Tennessee litigation?
    12        A. To date, yeah.                                   12        A. Just I mean, in speaking with counsel and
    13        Q. You are currently at Rising                      13   just -- yeah.
    14   Pharmaceuticals?                                         14            MS. HERZFELD: Before we really get
    15        A. Yes, that is correct.                            15   started, I'm just going to lodge our usual objections
    16        Q. And what do you do there?                        16   that we've lodged in every single Mallinckrodt
    17        A. Associate vice-president of sales.               17   deposition thus far about production deadlines and
    18        Q. How did you find out about that position?        18   compliance with the order in this case. I'm assuming
    19        A. How did I find out about the position?           19   you want your usual response?
    20   They contacted me to see if I was interested.            20            MR. TSAI: Go ahead.
    21        Q. And what type of products do you sell?           21            MS. HERZFELD: Great.
    22        A. Wide variety of generic products.                22        Q. (By Ms. Herzfeld) Have you ever been to
    23        Q. Any opioids?                                     23   Tennessee, Ms. Cardetti?
    24        A. No.                                              24        A. No, I have not.

                                                       Page 251                                                        Page 253
     1            MR. DEARMAN: I don't have any other              1         Q. Not --
     2   questions.                                                2         A. That I recall.
     3            MS. HERZFELD: Do you want to take a short        3         Q. And not for business or for pleasure?
     4   break before we switch?                                   4         A. No, not that I recall.
     5            MR. TSAI: We can go ahead and keep going.        5         Q. And when you were testifying a little bit
     6            MS. HERZFELD: You're good?                       6   earlier, you talked about knowing about the opioid
     7        A. Yeah.                                             7   crisis or hearing about it in this country; is that
     8            [Discussion off the record.]                     8   correct?
     9            THE VIDEOGRAPHER: We are going off the           9         A. That's correct.
    10   record at 3:04 PM.                                       10         Q. And do you know if it's -- have you heard
    11            [Discussion off the record.]                    11   if it's worse in some areas of the country than others?
    12            THE VIDEOGRAPHER: We are back on the            12         A. The only state that I have heard about in
    13   record at 3:06 PM.                                       13   the past is Florida specifically.
    14            QUESTIONS BY MS. HERZFELD:                      14         Q. Have you ever heard about the opioid
    15        Q. Okay, Ms. Cardetti. My name is Tricia            15   crisis being particular bad in Appalachia, the
    16   Herzfeld, and I'm an attorney at law firm of             16   Appalachia region of the country?
    17   Branstetter, Stranch & Jennings in Nashville,            17         A. No, I'm not familiar with that.
    18   representing the Tennessee plaintiffs. Do you know       18         Q. What about in Tennessee? Have you heard
    19   anything about the Tennessee litigation?                 19   about the opioid abuse problems being worse in
    20        A. No, I do not.                                    20   Tennessee?
    21        Q. Has anybody told you that there's separate       21         A. No, not specific, no.
    22   Tennessee state litigation?                              22         Q. Have you heard generally?
    23        A. Yes, I am aware that there's a separate          23         A. I'm sorry. No.
    24   litigation.                                              24         Q. What is your definition of a pill mill?

   Golkow Litigation Services                                                             Page 64 (250 - 253)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-17
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further65Confidentiality
                                                         of 81. PageID #: 216568
                                                                             Review
                                                         Page 254                                                        Page 256
     1        A. A pill mill? Again -- oh, gosh. Very                1         A. Say -- I'm sorry. Say that again.
     2   general understanding regarding a pharmacy that             2         Q. You're aware that opioid products are sold
     3   dispensed a lot of products, a lot of opioids,              3   in illegal drug markets; is that correct?
     4   specifically. That's kind of my very general --             4         A. Sold in illegal drug market -- I don't
     5        Q. And when do you think you came to that              5   understand that question.
     6   understanding?                                              6         Q. Sure. In order for people to lawfully
     7        A. Oh, gosh. Several years ago. Yeah.                  7   have oxycodone, for example, they would have to have a
     8        Q. While you were employed at Mallinckrodt?            8   prescription or a DEA registration number? Is that
     9        A. Yeah. That's what I recall. Uh-huh.                 9   your understanding?
    10        Q. And did you ever have any discussion with          10         A. Say that again.
    11   anyone at Mallinckrodt about pill mills?                   11         Q. In order for someone to lawfully have
    12        A. No, not specifically about pill mills.             12   oxycodone, to have possession of oxycodone --
    13   Just -- I just knew of them.                               13         A. Uh-huh.
    14        Q. And how do you think you learned of them?          14         Q. -- they would have to have either a
    15        A. I don't have -- I don't recall.                    15   prescription --
    16   Potentially reading articles in the industry, or -- I      16         A. Uh-huh.
    17   don't recall how I learned about them.                     17         Q. -- or a DEA number; is that correct?
    18        Q. And if I understand your testimony                 18         A. Yes, that's my understanding.
    19   correctly, you never had any discussions with anybody      19         Q. And so if someone doesn't have a lawful
    20   at Mallinckrodt about pill mills?                          20   prescription or a DEA number --
    21        A. I don't want to say never had any                  21         A. Uh-huh.
    22   discussions. I know that -- I know of them, and I          22         Q. -- would their possession, to your
    23   don't know what -- I don't remember any specific           23   understanding, of oxycodone be illegal?
    24   discussions around pill mills.                             24         A. Yeah, that makes sense to me.

                                                       Page 255                                                         Page 257
     1        Q. Do you remember any general discussions             1        Q. Is that something that was discussed at
     2   around pill mills?                                          2   Mallinckrodt with regards to diversion?
     3        A. I don't recall any general discussions              3        A. Not that I recall, no. I mean --
     4   around pill mills.                                          4        Q. And you're aware that people sell
     5        Q. So as you sit here today, you don't recall          5   oxycodone illegally on the street?
     6   any discussions specifically or generally about pill        6        A. Yes, I am aware that that occurs.
     7   mills with anyone at Mallinckrodt?                          7        Q. And were you aware of that at the time
     8        A. That is correct.                                    8   that you worked at Mallinckrodt?
     9        Q. Have you ever heard of something called             9        A. Vaguely.
    10   the oxy express?                                           10        Q. Do you know how you became aware of that?
    11        A. Oxy express? I don't remember that.                11        A. No, I do not.
    12   No --                                                      12        Q. Did you ever have any discussions with
    13        Q. Have you ever -- go ahead.                         13   anyone at Mallinckrodt about oxycodone being illegally
    14        A. I said no. Sorry.                                  14   sold on the street?
    15        Q. Have you ever heard about a particular             15        A. Not that I recall, no.
    16   highway, I-75, going from Florida up north, a lot of       16        Q. Have you ever heard about oxycodone being
    17   oxycodone was trafficked on?                               17   purchased at pharmacies in Florida and taken to
    18        A. I'm not familiar with that highway, no.            18   Tennessee to the illegal drug market?
    19        Q. And in your years at Mallinckrodt, you             19        A. No, not -- I don't recall.
    20   never had a discussion with anybody about the oxy          20        Q. You don't recall, or you haven't had that
    21   express?                                                   21   discussion?
    22        A. No, not that I recall.                             22        A. What was the question?
    23        Q. You're aware that opioids are sold in              23        Q. Let me -- have you ever heard about
    24   illegal drug markets; is that correct?                     24   oxycodone being purchased at pharmacies in Florida and

   Golkow Litigation Services                                                               Page 65 (254 - 257)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-17
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further66Confidentiality
                                                         of 81. PageID #: 216569
                                                                             Review
                                                        Page 258                                                     Page 260
     1 taken to Tennessee to the illegal drug market?               1 reviewed that data in regards to Tennessee?
     2        A. So no, I do not recall.                            2        A. I do not know.
     3        Q. You don't recall or --                             3        Q. In your entire time at Mallinckrodt in the
     4        A. Hearing that -- the question was did I             4   variety of positions that you had, did you ever monitor
     5   hear?                                                      5   customers that shipped to specific ZIP codes?
     6        Q. Yes, ma'am.                                        6        A. No, I did not do that that I recall.
     7        A. No, I do not recall hearing that.                  7        Q. Do you know if anyone else did?
     8        Q. Were you involved in a discussion about            8        A. Again, that may have been suspicious order
     9   that ever?                                                 9   monitoring, but I'm not familiar with exactly what they
    10        A. No, not that I recall.                            10   did.
    11        Q. During your entire tenure at Mallinckrodt,        11           [Exhibit Mallinckrodt-Cardetti-037 marked
    12   did you ever have any discussions about shipments of      12           for identification.]
    13   opioids to Tennessee?                                     13        Q. I'm going to hand you what we're going to
    14        A. No, not that I recall.                            14   mark as Plaintiff's Exhibit 37. And I don't see a
    15        Q. What about during your tenure at                  15   Bates number on it. I'm not sure why that is. Fine
    16   Mallinckrodt did you ever have any discussion about the   16   time for me to notice that, isn't it? Here. Okay, Ms.
    17   diversion of opioids in Tennessee?                        17   Cardetti. What I've -- are you Lundergan now or
    18        A. No, not that I recall.                            18   Cardetti?
    19        Q. In your entire tenure at Mallinckrodt, did        19        A. Cardetti.
    20   you have any discussion about diversion of opioids to     20        Q. You are Cardetti? Okay. Ms. Cardetti,
    21   Tennessee?                                                21   what I've handed you here -- it looks like an
    22        A. No, not that I recall.                            22   appointment invitation from you to Karen Harper dated
    23        Q. During your entire tenure at Mallinckrodt,        23   September 5th, 2011. Do you see that?
    24   did you ever have any discussions about problem           24        A. I do.

                                                      Page 259                                                         Page 261
     1   pharmacies in Tennessee?                                   1        Q. And it looks like for a meeting that you
     2       A. No, not that I recall.                              2   were to have with Karen for September 6th, 2011,
     3       Q. During your entire tenure at Mallinckrodt,          3   from 3:30 to 4:30; is that correct?
     4   did you ever have any discussions about problem            4        A. That is correct.
     5   physicians in Tennessee?                                   5        Q. In the subject, it says review chargeback
     6       A. No, not that I recall.                              6   and sales gross margin oxy 1530 source data for
     7       Q. What about pain clinics in Tennessee?               7   suspicious order monitoring distributor initiative.
     8       A. Not that I recall, no.                              8   Did I read that correctly?
     9       Q. Did you ever have any discussions during            9        A. Yes.
    10   your tenure at Mallinckrodt about the diversion of        10        Q. What was the suspicious order monitoring
    11   opioids from Florida to other states?                     11   distributor initiative?
    12       A. No, not that I recall. Yeah, no.                   12        A. I do not recall this. I do not recall.
    13       Q. In the variety of positions that you had           13        Q. Did you have meetings with Karen Harper
    14   at Mallinckrodt, did you ever monitor customers that      14   often?
    15   shipped to Tennessee specifically?                        15        A. I don't know -- I don't remember the
    16       A. I did not do that in my roles, no.                 16   cadence, but I wouldn't say often.
    17       Q. Do you know if anyone else did?                    17        Q. Did you have a regularly-scheduled meeting
    18       A. Suspicious order monitoring that was               18   with Karen Harper --
    19   discussed multiple times today that they reviewed the     19        A. No.
    20   data.                                                     20        Q. -- at any time during your employment
    21       Q. Do you know if they reviewed that data             21   with Mallinckrodt?
    22   specifically in regards to Tennessee?                     22        A. No. I did not, that I recall.
    23       A. I do not know what they reviewed.                  23        Q. How many time would you say that you met
    24       Q. So you don't know if they specifically             24   one-on-one with Karen Harper?

   Golkow Litigation Services                                                              Page 66 (258 - 261)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-17
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further67Confidentiality
                                                         of 81. PageID #: 216570
                                                                             Review
                                                     Page 262                                                              Page 264
     1        A. I don't recall how many times I met with             1        A. I don't recall. I mean, it appears that I
     2   Karen Harper.                                                2   was on this e-mail.
     3        Q. Two? 100?                                            3        Q. Yes, ma'am.
     4        A. Again, I don't remember how many times.              4        A. But I don't recall those specific reports,
     5        Q. Was it part of your job to meet with Karen           5   no.
     6   Harper on a regular basis?                                   6        Q. Do you have any reason to think that you
     7           MR. TSAI: Objection. Vague as to time.               7   didn't receive this e-mail?
     8   Go ahead.                                                    8        A. No.
     9        Q. (By Ms. Herzfeld) During any of your                 9        Q. So let's just go through this pretty
    10   positions --                                                10   quickly if we can for a second. It says customer
    11        A. Uh-huh.                                             11   sourcing oxy 15 and 30 from more than two distributors.
    12        Q. -- was it ever part of your job to meet             12   Do you know why it is that the number of distributors
    13   with Karen Harper to discuss anything?                      13   customers were sourcing from was being monitored?
    14        A. No, it wasn't part of my job to meet with           14        A. This is an e-mail from Debbie Digby to
    15   Karen Harper.                                               15   multiple people. I don't know why I was included on
    16        Q. Okay. Thank you.                                    16   this. To me this seems like a suspicious order
    17        A. But I would comply. If she needed to meet           17   monitoring -- something that should have just been sent
    18   with me, I would meet with her.                             18   to them, so I don't know why I was on this e-mail or
    19        Q. Do you recall what was discussed at this            19   really the context behind the purpose of this report.
    20   meeting?                                                    20        Q. Do you know if you did anything in
    21        A. No, I do not.                                       21   response to receiving this e-mail?
    22        Q. Do you have any memory of this meeting at           22        A. I do not know.
    23   all?                                                        23        Q. Did you review it at all?
    24        A. No, I do not.                                       24        A. I don't know.

                                                          Page 263                                                          Page 265
     1        Q. Do you know if the meeting occurred?                 1        Q. Did you have any discussions with Karen
     2        A. I have no idea.                                      2   Harper or anyone from the suspicious order monitoring
     3        Q. I'm going to hand you the next exhibit,              3   team about customers that were sourcing from more than
     4   which I believe is 38.                                       4   two distributors?
     5             MS. HERZFELD: And for those on the phone,          5        A. Not that I recall.
     6   this is a Tennessee state Bates number,                      6        Q. Do you know if before this e-mail
     7   MNK_TNSTA05336605.                                           7   Mallinckrodt was monitoring customers that were
     8        Q. (Ms. Herzfeld) Because we have limited               8   sourcing from two or more two distributors?
     9   time and it's a really big document, I won't ask you to      9        A. It's my understanding that the suspicious
    10   review the entire thing. I'll just kind of guide you        10   order monitoring team was reviewing data at the
    11   through it and if you need time to look at something        11   pharmacy level from the chargebacks, which would
    12   just let me know; okay?                                     12   include where -- the wholesaler, where they sourced the
    13             [Exhibit Mallinckrodt-Cardetti-038 marked         13   product from.
    14             for identification.]                              14        Q. And do you know when they began doing
    15        A. Okay.                                               15   that?
    16        Q. So looking at this document, it's an                16        A. I do not recall the timing of that, no.
    17   e-mail sent on May 31st, 2011, from Debbie Digby to a       17        Q. And what are you basing that knowledge on?
    18   whole bunch of people; is that correct?                     18        A. My memory.
    19        A. That is correct.                                    19        Q. So do you know if they were looking
    20        Q. Have you seen this e-mail before?                   20   specifically -- this is specifically for customers that
    21        A. I don't remember this e-mail.                       21   were sourcing from more than two distributors. Is this
    22        Q. You've -- do you remember ever looking at           22   a report that had been run for all the time that you've
    23   or seeing information, reports about customer sourcing      23   known, or was this a new report at this point?
    24   on -- of oxy 15 or 30 for more than two distributors?       24        A. I have no idea. Again, this is a report

   Golkow Litigation Services                                                                 Page 67 (262 - 265)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-17
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further68Confidentiality
                                                         of 81. PageID #: 216571
                                                                             Review
                                                         Page 266                                                          Page 268
     1   that I did not run -- Debbie Digby ran it -- regarding          1        A. Again, I don't know anything about this
     2   suspicious order monitoring.                                    2   report.
     3         Q. Did you request Debbie Digby to run this               3        Q. Do you know what a dispensing unit is for
     4   report?                                                         4   oxy 15 or 30?
     5         A. No, not that I recall.                                 5        A. A dispensing unit?
     6         Q. And Debbie Digby -- who is she?                        6        Q. Or a dispense unit? A unit? What is a
     7         A. I remember the name. It looks like she                 7   unit?
     8   was an analyst.                                                 8        A. Well, dispense unit means what was
     9         Q. And an analyst would be in what                        9   dispensed at a pharmacy.
    10   department?                                                    10        Q. So when you talk about dispensed units
    11         A. I don't remember what department Debbie               11   that dispensed at a pharmacy, is that typically bottles
    12   was in.                                                        12   or tablets?
    13         Q. And do you know what they would base this             13        A. That's my assumption. Again, I did not
    14   information on? Is this chargeback data?                       14   run this report. I don't know where this data came
    15         A. Again, I didn't run the reports. I don't              15   from.
    16   know the source of the data.                                   16        Q. That's great, but this was sent to you and
    17         Q. If you could look with me at the -- it                17   you don't remember if you received it or not, so I'm
    18   looks like the first page that's got the yellow                18   asking for your help because you said you understand
    19   highlighting at the top. It says customer sourcing oxy         19   the numbers here. I haven't worked for Mallinckrodt.
    20   15 and 30 from all distributors, April 2011 data, and          20        A. No, I don't understand the numbers.
    21   it's highlighted in yellow at the top. Do you see              21   That's what I'm saying.
    22   where I'm at?                                                  22        Q. Oh, you don't understand the numbers?
    23         A. I do.                                                 23        A. Again, I've never -- I don't recall this
    24         Q. So I'm trying to make some sense out of               24   report. This report was from May of 2011.

                                                             Page 267                                                    Page 269
     1 this data, and I was hoping maybe you could help me a             1        Q. Yes, ma'am.
     2 little bit. Looking at the top here, it says -- the               2        A. I received the report.
     3 third one down, the one that says 225 -- it says Riggs            3        Q. Yes, ma'am.
     4 Drugs, 502 West Central Avenue, LaFollette, Tennessee,            4        A. I did not request the report, from my
     5 37766. Do you see where I'm at?                                   5   recollection.
     6        A. I do see where you're at. Uh-huh.                       6        Q. Yes, ma'am.
     7        Q. And then it says -- where it says sold via              7        A. And I do not remember seeing this report.
     8   parent customer name, Cardinal Health. Does that mean           8        Q. Okay. But my question wasn't if you
     9   Cardinal Health would have been the distributor?                9   remember receiving this report.
    10        A. That's what it appears, but again, I did               10        A. Uh-huh.
    11   not run this report.                                           11        Q. I'm asking you to go through it with me.
    12        Q. But you received this report?                          12   So dispensing units. You worked for Mallinckrodt.
    13        A. I was on the e-mail, but that doesn't mean             13   What is dispensing units?
    14   that I read the report.                                        14        A. I can't comment on this report. I didn't
    15        Q. And it doesn't mean that you didn't                    15   run the report. I don't know anything about this
    16   either, does it?                                               16   report.
    17        A. I don't remember.                                      17        Q. Okay. So let's just keep going through it
    18        Q. And so looking at it here where it says                18   then. So it says here Riggs, dispensing units 38,000.
    19   gross sales, it says 10,855.84. Do you know what that          19   Do you see where I'm at?
    20   represents? If that's dollars, hundreds of dollars,            20        A. I do.
    21   thousands of dollars?                                          21        Q. And gross sales is 10,855.94. Do you see
    22        A. I do not know anything about this report.              22   that?
    23        Q. And it says dis -- units, 38,000. Do you               23        A. I do.
    24   know what that means?                                          24        Q. And you don't know what that means for

   Golkow Litigation Services                                                                   Page 68 (266 - 269)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-17
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further69Confidentiality
                                                         of 81. PageID #: 216572
                                                                             Review
                                                     Page 270                                                       Page 272
     1 Riggs in LaFollette, Tennessee?                            1        Q. Let's go on to the next one. Jellico
     2        A. I do not.                                        2   Drugs, 1298. Just a little bit more than halfway down
     3        Q. But this is titled customers sourcing oxy        3   your page. Do you see it?
     4   15 and 30 from all distributors; is that correct?        4        A. Okay. Yes.
     5        A. That's the title of the report.                  5        Q. So 1298, it has a sold-to customer number,
     6        Q. And do you know where LaFollette,                6   52008184; is that correct?
     7   Tennessee, is?                                           7        A. Yes.
     8        A. No, I do not.                                    8        Q. And did you have customer numbers for each
     9        Q. Do you have any idea how many people live        9   of the downstream customers?
    10   in LaFollette, Tennessee?                               10        A. I don't recall. Customer -- no, I don't
    11        A. No, I do not.                                   11   recall.
    12        Q. Let's look at the next one, Riggs Drug          12        Q. When chargeback data being collected from
    13   located in Jacksboro, Tennessee. It's about a quarter   13   each individual pharmacy --
    14   of the way down. 616. Do you see where I'm at?          14        A. Uh-huh. Uh-huh.
    15        A. Oh. Yes.                                        15        Q. -- that you were giving chargebacks to,
    16        Q. So it says Riggs Drug, 604 East Emory Road      16   were they assigned a number?
    17   in Jacksboro, Tennessee, 37757. Do you see where I'm    17        A. Good question. I don't know.
    18   at?                                                     18        Q. So this one says -- where were we --
    19        A. I'm sorry. What line?                           19   Jellico Drugs, and that's 203 South Main Street; is
    20        Q. The same one.                                   20   that correct?
    21        A. 616?                                            21        A. That is correct.
    22        Q. 6-5 -- I'm sorry. 657.                          22        Q. And that's Jellico, Tennessee, 37762. Do
    23        A. Okay. I do see 657.                             23   you see that where I'm at?
    24        Q. Okay. So Riggs Drug, Jacksboro.                 24        A. Yes.

                                                      Page 271                                                        Page 273
     1   Jacksboro Pike.                                          1      Q.   And it says here sold via parent customer
     2        A. Uh-huh.                                          2 name AmerisourceBergen Health. And AmerisourceBergen
     3        Q. Do you see that?                                 3 was your primary client; is that right?
     4        A. I do. Yes.                                       4      A.   Let's see here. This was --
     5        Q. And so taking that through, which is hard        5      Q.   In 2011?
     6   because it's very small -- 37757. Do you see that?       6      A.    -- in May 2011, which is when I was not
     7        A. I do.                                            7 in sales. This is when an associate product manager.
     8        Q. And it says sold via parent customer name,       8      Q.   And so did you have dealings with
     9   and what customer name is there?                         9 AmerisourceBergen at that time?
    10        A. Cardinal Health.                                10      A.   Again, as product managers we were
    11        Q. So Cardinal Health would be the                 11 responsible for products, not customers.
    12   distributor here?                                       12      Q.   But did you have dealings with
    13        A. That's what it appears.                         13 AmerisourceBergen at that time?
    14        Q. And then it says gross sales, 5,034.72.         14      A.   No, not that I recall.
    15   Is that correct?                                        15      Q.   Had you up to that point?
    16        A. That is correct.                                16      A.   Had I up to that point in my --
    17        Q. And dispensing units, we're guessing            17      Q.   Career at Mallinckrodt. Yes, ma'am.
    18   that's what that means, 16,800. Is that correct?        18      A.   I worked -- as I mentioned earlier, I
    19        A. That's what it says.                            19 worked in customer service with AmerisourceBergen.
    20        Q. Have you ever been to Jacksboro,                20      Q.   And so that would have been prior to this
    21   Tennessee?                                              21 date in 2011?
    22        A. No, I have not.                                 22      A.   That was January 2006 through October
    23        Q. Do you know how many people live there?         23 2006.
    24        A. No, I do not.                                   24      Q.   Okay. Great. Okay. And so what were you

   Golkow Litigation Services                                                              Page 69 (270 - 273)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-17
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further70Confidentiality
                                                         of 81. PageID #: 216573
                                                                             Review
                                                       Page 274                                                         Page 276
     1   reviewing there?                                              1        Q. M's? M's?
     2        A. My résumé.                                            2        A. M's?
     3        Q. Oh, your résumé? Okay. That was Exhibit               3        Q. M's.
     4   2. Okay. So then here it says gross sales, 3,896.26.          4        A. Not that I recall, no.
     5   Do you see where I'm at?                                      5        Q. Have you ever heard Mallinckrodt oxy
     6        A. I do.                                                 6   products described as M's?
     7        Q. And it says 11,200 for dispensing units.              7        A. Oh. Ooh, very vaguely. Yeah.
     8   Do you see that?                                              8        Q. When do you think you've heard
     9        A. I see that.                                           9   Mallinckrodt oxy products described as M's?
    10        Q. And do you know how many people live in              10        A. I don't recall when I would have heard
    11   Jellico, Tennessee?                                          11   that. I don't remember.
    12        A. No, I do not.                                        12        Q. Do you know what context you heard that?
    13        Q. Have you ever been there?                            13        A. I don't.
    14        A. No, I have not.                                      14        Q. Did you hear that when you were still
    15        Q. Have you ever heard anybody at                       15   employed by Mallinckrodt?
    16   Mallinckrodt talk about Jellico, Tennessee?                  16        A. It's way back in my memory, so potentially
    17        A. No, not that I recall.                               17   back when I was working for Mallinckrodt.
    18        Q. What about Jacksboro, Tennessee? Have you            18        Q. And what is your understanding of the term
    19   ever heard anybody at Mallinckrodt talk about                19   M's for Mallinckrodt opioids?
    20   Jacksboro, Tennessee?                                        20        A. From what I recall, I mean, our -- and
    21        A. Not that I recall.                                   21   what I remember of our products, our product had an M
    22        Q. What about LaFollette, Tennessee? Have               22   embedded in the like tablet, for example.
    23   you ever heard anybody at Mallinckrodt talk about            23        Q. And what about that would have it termed
    24   LaFollette, Tennessee?                                       24   M's? What's the linkage between the term and what it

                                                           Page 275                                                    Page 277
     1        A. No, not that I recall.                                1   looked like?
     2        Q. Do you know if anyone at Mallinckrodt ever            2        A. That's vaguely what I remember about, I
     3   monitored opioid prescription rates by state?                 3   mean, M's, and -- I mean, the linkage was that the
     4        A. I would recommend contacting the                      4   product had an M on it.
     5   suspicious order monitoring team. They were the group         5        Q. And do you know who used the term M's?
     6   that did the monitoring.                                      6        A. M's? I don't remember how I heard of the
     7        Q. I understand that, but my question is do              7   term M's, no.
     8   you know if anyone at Mallinckrodt ever monitored             8        Q. Had you heard that people who abused
     9   opioid prescription rates by state?                           9   opioids would often call them M's, Mallinckrodt
    10        A. Yeah, it was my understanding that they              10   opioids?
    11   looked at -- I mean, specifically as I recall Florida I      11        A. I vaguely remember hearing that.
    12   know was looked at.                                          12        Q. What about the term blues?
    13        Q. What about besides Florida?                          13        A. No, I do not remember blues.
    14        A. I don't recall. I don't recall.                      14        Q. You haven't heard Mallinckrodt opioids
    15        Q. And what is your information -- what are             15   referred to as blues?
    16   you basing your information about yes, they monitored        16        A. No, not that I recall.
    17   it for Florida? What is that based on?                       17        Q. Were any of Mallinckrodt's opioid products
    18        A. Just what I recall.                                  18   blue?
    19        Q. And do you recall specific conversations             19        A. I don't remember.
    20   with Karen Harper or anybody from the suspicious order       20        Q. You don't remember the color?
    21   monitoring team about Florida?                               21        A. I don't remember the colors of -- no.
    22        A. No, I do not recall.                                 22        Q. You worked with the product for how many
    23        Q. Have you ever heard of the term M's?                 23   years?
    24        A. I'm sorry.                                           24        A. Almost 12 years.

   Golkow Litigation Services                                                                Page 70 (274 - 277)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-17
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further71Confidentiality
                                                         of 81. PageID #: 216574
                                                                             Review
                                                     Page 278                                                         Page 280
     1        Q. And you don't remember the color of the            1 opioids throughout the country?
     2   product?                                                   2       A. As I've mentioned, we had training if we
     3        A. I never actually saw the product.                  3 ever came into a situation where we were notified of
     4        Q. You didn't?                                        4 that, that we would report it.
     5        A. No. I never had any possession of any              5        Q. Did you ever come into a situation where
     6   opioids. I mean, our product catalog had of pictures       6   you reported an abuse of -- or suspected abuse of a
     7   of it. I never had seen it myself.                         7   Mallinckrodt opioid?
     8        Q. Have you ever taken them?                          8        A. No, not that I recall.
     9        A. No, I have not.                                    9        Q. Were you ever in a situation where you
    10        Q. What about the term roxies? Have you ever         10   reported suspected diversion of a Mallinckrodt opioid?
    11   heard the term roxies to describe a Mallinckrodt          11        A. No, not that I recall.
    12   product?                                                  12            [Exhibit Mallinckrodt-Cardetti-039 marked
    13        A. Vaguely.                                          13            for identification.]
    14        Q. And what do you think roxies refers to?           14        Q. I'm going to hand you what we've marked as
    15        A. Roxies? From what I recall, Roxicodone            15   Plaintiff's Exhibit 39. And I'll start on the second
    16   was a brand name of oxycodone. Yeah, that's what I        16   page, but first do you recognize this as an e-mail
    17   recall.                                                   17   chain that culminates in an e-mail from a person named
    18        Q. And when did you learn about the nickname         18   Don to you dated October 18th, 2016?
    19   roxies?                                                   19        A. Yes, I do see that this is an e-mail from
    20        A. I have -- I don't remember.                       20   Don to myself.
    21        Q. While you were still employed at                  21        Q. So let's start from the back. It looks
    22   Mallinckrodt?                                             22   like this is an e-mail you initially had sent to a
    23        A. To my recollection, yes.                          23   person named Chad on October 18th, 2016. Is that
    24        Q. And was Roxicodone part of your portfolio         24   correct?

                                                        Page 279                                                        Page 281
     1 at Mallinckrodt?                                             1        A. That's correct.
     2      A. As I've mentioned several times today,               2        Q. And you believe you sent this e-mail?
     3 I've managed multiple products. At one point in time I       3        A. I have no reason to believe otherwise.
     4 did manage oxycodone.                                        4        Q. And so here you say hi, Chad. As a
     5      Q. And so I asked about Roxicodone and then             5   manufacturer of controlled substances, Mallinckrodt is
     6 you mentioned oxycodone. So are those the same thing?        6   required by the DEA, Drug Enforcement Administration,
     7      A. Oxycodone is a generic. From my                      7   regulations to monitor orders of controlled substances
     8 recollection, the Roxicodone was the branded product,        8   as part of its anti-diversion program. Did I read that
     9 so I would have never managed a branded product. I           9   correctly? So then you go --
    10 managed the generic portfolio, and oxycodone was one of     10        A. Yes.
    11 my product families that I managed.                         11        Q. So then you go on to say that the order
    12      Q. And so what oxycodone generic is                    12   listed below has been flagged for additional review,
    13 Roxicodone?                                                 13   and it looks like there's a customer order number; is
    14      A. I'm sorry. Say --                                   14   that correct?
    15      Q. Which generic like specifically is the              15        A. Yes.
    16 generic for Roxicodone?                                     16        Q. And I think you said before what an NDC
    17      A.   From what I remember it's oxycodone.              17   was but I forget. What is an NDC?
    18      Q.   15 or 30? Doesn't matter?                         18        A. It's the item number.
    19      A.   It's the product family.                          19        Q. Item number; okay?
    20      Q.   Have you ever heard that people that              20        A. Uh-huh.
    21 abused opioids would call Mallinckrodt opioids roxies?      21        Q. And this is for oxycodone HCI 30-milligram
    22      A. I don't recall.                                     22   tablets three?
    23      Q. In all of your years at Mallinckrodt, did           23        A. HCL.
    24 anybody ever educate you on the abuse of Mallinckrodt       24        Q. Oh, HCL. Okay. And then USP. What does

   Golkow Litigation Services                                                              Page 71 (278 - 281)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-17
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further72Confidentiality
                                                         of 81. PageID #: 216575
                                                                             Review
                                                       Page 282                                                               Page 284
     1   that mean?                                                        1        A. I don't know what he's referring to.
     2        A. I don't know what USP stands for. It was                  2        Q. Do you know what a fully-automated
     3   a system-driven description.                                      3   warehouse is?
     4        Q. And then it says quantity, 672.                           4        A. A fully-automated warehouse -- no. I
     5        A. Yes.                                                      5   could make assumptions, but no, I'm not familiar with
     6        Q. Is that correct?                                          6   that terminology.
     7        A. That is correct.                                          7        Q. And it says they're expanding their
     8        Q. Do you know what about this particular                    8   customer base into one, two, three, four additional
     9   order was suspicious?                                             9   states. Do you know how big this organization was --
    10        A. No, I do not. So this is a perfect                       10   Louisiana Wholesale Drug?
    11   example of what I was referring to throughout the day            11        A. No, I don't recall.
    12   where I was the middleman, if you will, from --                  12        Q. It wasn't one of your top three
    13   suspicious order monitoring had identified this order            13   distributors; right?
    14   as peculiar, needed additional information. The --               14        A. From what I recall, they were part of the
    15   even the body of the e-mail would have been provided             15   OptiSource group. So to answer your question, no, they
    16   from the suspicious order monitoring team to myself to           16   were not a large customer of mine.
    17   copy and paste into a new e-mail to send to the                  17        Q. We have been growing by double digits for
    18   customer to gather additional information.                       18   the last three years. Do you consider that significant
    19        Q. Okay, great. And do you know who this                    19   growth?
    20   Chad is?                                                         20        A. In what context? I mean, significant
    21        A. I vaguely remember a Chad.                               21   compared to -- I don't have any other context to their
    22        Q. Do you know what his last name was?                      22   business or their customer base or anything.
    23        A. No.                                                      23        Q. Could it be significant?
    24        Q. And it looks like he was at Louisiana                    24            MR. TSAI: Object to the form.

                                                               Page 283                                                       Page 285
     1 Wholesale Drug Company. Does that refresh your memory               1         A. Again, there's -- I would need additional
     2 at all as to who Chad --                                            2   context, and I mean --
     3       A.   No, but I do recognize the e-mail LWD, so                3         Q. (By Ms. Herzfeld) But with the right
     4 Louisiana Wholesale. I agree that that was for them.                4   context, it's possible that double-digit growth year
     5       Q.   And so then it looks like Chad forwards                  5   after year for three years could be a significant
     6 your e-mail to a person named Don, can you answer                   6   factor in evaluating this customer; is that right?
     7 Lisa's question. Do you see where I'm at?                           7            MR. TSAI: Object to the form.
     8       A.   I'm -- yes.                                              8         Q. (By Ms. Herzfeld) With more information,
     9       Q.   And Don, if you look at the signature                    9   it's possible?
    10 line, looks like it's Don Couvillon. I don't know if               10         A. Depends on what -- how significant is
    11 I'm saying that right. Do you know who Don Couvillon               11   defined.
    12 is?                                                                12         Q. Did all of your customers grow double
    13       A.   I don't know if you're saying it right                  13   digits year after year?
    14 either. I know of the name.                                        14         A. I don't recall.
    15       Q.   So then Don Couvillon writes back to you                15         Q. And you were in sales for quite a while,
    16 at 7:30 at night, 7:31 at night, about his on-hold                 16   so is double-digit growth -- I mean, that's a minimum
    17 order. Lisa -- and then this is in all caps; right --              17   of 10; right? Double digit? That's a minimum of 10.
    18 we have expanded our customer base into Texas,                     18   Is that a lot of growth?
    19 Oklahoma, MS -- that's Mississippi, right -- and                   19         A. I don't know. Every customer's different,
    20 Alabama due to our fully-automated warehouse. Did you              20   and they're acquiring different customer -- I mean,
    21 typically receive e-mails in all caps?                             21   every customer's different. I can't answer that
    22       A.   No, not typically that I recall.                        22   question.
    23       Q.   And do you know what he's referring to                  23         Q. So this customer is expanding into four
    24 when he's referring to a fully-automated warehouse?                24   states, he's telling you he has a fully-automated

   Golkow Litigation Services                                                                     Page 72 (282 - 285)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-17
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further73Confidentiality
                                                         of 81. PageID #: 216576
                                                                             Review
                                                        Page 286                                                     Page 288
     1 warehouse, is answering you in all caps, has misspelled      1   did as requested, as instructed, to get that
     2 digits; is that correct?                                     2   information back to the suspicious order monitoring
     3        A. Oh. Yes.                                           3   team.
     4        Q. D-I-D-I-T-S. Is that correct?                      4        Q. But my question is, did you find this
     5        A. That's what it reads.                              5   information to flag this order suspicious?
     6        Q. For the last three years, and they hope            6        A. Again, that was the role of suspicious
     7   for that to continue; is that right?                       7   order monitoring team to flag orders as suspicious.
     8        A. Yes.                                               8        Q. I'm going to ask the question as a yes or
     9        Q. And then that last sentence says also,             9   no. Did the information provided in this e-mail make
    10   most of our customers want the Mallinckrodt product.      10   this order suspicious to you or not?
    11   What did that mean to you?                                11            MR. TSAI: Object to the form.
    12        A. Again, I was the middleman here, and I            12        Q. (By Ms. Herzfeld) Yes or no?
    13   would have passed this information back to whoever        13        A. So again, the role of me at this point in
    14   requested it.                                             14   time in October 2016 --
    15        Q. Do you know if you did that?                      15            MS. HERZFELD: Move to strike.
    16        A. I would have done it. I would be very             16   Nonresponsive.
    17   surprised if that did not go on.                          17        Q. (By Ms. Herzfeld) We can sit here all
    18        Q. And do you know if this order indeed              18   day. I'm asking you in your opinion, with this
    19   shipped?                                                  19   information that was provided to you in this e-mail,
    20        A. I have no idea.                                   20   did you consider this to be suspicious?
    21        Q. And would you consider those things --            21            MR. TSAI: Completely improper motion to
    22   that information that you have there, expanding into      22   strike because you didn't even let her provide her
    23   four states, a fully-automated warehouse, an e-mail       23   answer, but I object to the form. Go ahead.
    24   that's in all caps with a pretty significant              24        A. Again, it was not my position to -- or

                                                        Page 287                                                      Page 289
     1 misspelling, and that their customers want the               1 responsibility -- to determine whether an order was
     2 Mallinckrodt product -- almost all of our customers          2 suspicious or not. I was providing that information
     3 want the Mallinckrodt product -- putting those things        3 back to the suspicious order monitoring team.
     4 together, does that seem like something that might have      4       Q. (By Ms. Herzfeld) You still haven't
     5 been suspicious to you?                                      5 answered my question. Based on the information that
     6            MR. TSAI: Object to the form.                     6 was provided to you in this e-mail, did you consider
     7        A. So again, the -- my assumption is that             7 this information to flag as this suspicious?
     8   this request came from suspicious order monitoring, so     8        A. I wouldn't have --
     9   this information would have gone back to suspicious        9            MR. TSAI: Object to the form. I --
    10   order monitoring, and it was not my job to determine      10        A. I wouldn't --
    11   whether an order was suspicious or not. That was that     11        Q. (By Ms. Herzfeld) Okay, I'll back up.
    12   team.                                                     12   Okay? Based on the e-mail that you've received --
    13        Q. (By Ms. Herzfeld) Okay. I understand              13   you've gone back and forth -- you've been the
    14   what you think the parameters of your job were or were    14   middleman, as you said, between suspicious ordering and
    15   not, but my question is, you worked at Mallinckrodt for   15   your customers; is that right?
    16   a very long time and you were pretty intimately           16        A. That is correct.
    17   involved in these processes. So in your opinion, do       17        Q. So you pass information to them and you
    18   you believe that these factors would make this order      18   get information back; is that right?
    19   suspicious?                                               19        A. That is correct.
    20        A. I wouldn't consider my involvement                20        Q. And so you know if your clients end up
    21   intimate. Again, in this situation I was a middleman.     21   getting their orders flagged and held; is that correct?
    22   The suspicious order monitoring team was requesting me    22        A. Yes, I would be made aware if they
    23   to get additional information so they could make an       23   needed -- if the suspicious order monitoring team
    24   educated decision based on this specific order, and I     24   needed additional information, that's when I would

   Golkow Litigation Services                                                              Page 73 (286 - 289)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-17
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further74Confidentiality
                                                         of 81. PageID #: 216577
                                                                             Review
                                                       Page 290                                                           Page 292
     1 become aware that they needed more information. If I         1 not.
     2 didn't have it, I would reach out to the customer to         2        Q. (By Ms. Herzfeld) So I just want to be
     3 get that information.                                        3 clear. So in this e-mail in particular you're not
     4       Q.   So I want to make sure I understand that.         4 going to tell me if you had an opinion of whether this
     5 So you were only a middleman?                                5 was suspicious. But if you had somebody write back and
     6        A. In this situation, yes.                            6 say -- the hypothetical I gave you before -- we have
     7        Q. So the information that was provided back          7 five pill mills with 1,000 people out the door, you
     8   and forth between suspicious order monitoring and your     8 would take no action on that regarding SOM because that
     9   customer was of no importance to you?                      9 wasn't your job?
    10            MR. TSAI: Object to the form.                    10           MR. TSAI: Objection. Assumes facts not
    11        Q. (By Ms. Herzfeld) If you were just the            11 in evidence.
    12   middleman?                                                12        A. I do not -- sorry.
    13        A. I did not say that it was not important to        13            MR. TSAI: Improper hypothetical. Calls
    14   me. I said that it was not my responsibility to make      14   for speculation. Go ahead.
    15   the determination on whether that order would ship or     15        A. I absolutely do not agree with that
    16   not.                                                      16   statement at all. So we were trained if anything were
    17        Q. So let's back up again. Say Don here had          17   to -- we were trained if anything looked odd or
    18   written back and said you know what, Lisa? We are just    18   suspicious to report it back to suspicious order
    19   expanding like crazy because we have all these pain       19   monitoring team, again, who had the authority to make
    20   clinics and we have thousands of people lining up         20   decisions.
    21   outside of these pain clinics and we need to supply       21            So this is a situation where even if --
    22   them. Would you have an opinion then if it was a          22   and this point in time that I felt that it was
    23   suspicious order?                                         23   suspicious, whether -- which I don't recall whether I
    24            MR. TSAI: Objection. Improper                    24   had those feelings or not back in 2016, but either way,

                                                        Page 291                                                          Page 293
     1   hypothetical.                                              1 as we were trained, this information was getting to the
     2        A. That -- exactly. That's a hypothetical             2 appropriate place, in suspicious order monitoring, who
     3   question.                                                  3 was making those decisions.
     4        Q. (By Ms. Herzfeld) And I'm asking you to            4        Q. (By Ms. Herzfeld) And did you follow up
     5   answer it.                                                 5 with suspicious order monitoring to see if your client
     6            MR. TSAI: Same objection.                         6 continued to receive Mallinckrodt oxycodone products?
     7        A. It wasn't my position to make those types          7        A. I don't recall.
     8   of calls. This was the responsibility of the               8        Q. And what if it wasn't flagged by
     9   suspicious order monitoring, to determine whether or       9   suspicious order monitoring? Would you go advocate to
    10   not they felt it was -- the response from customers was   10   suspicious order monitoring and say, hey, I think this
    11   valid or not or --                                        11   client of mine potentially is engaging in diversion or
    12        Q. (By Ms. Herzfeld) So you would take no            12   has something suspicious? Would you go advocate for
    13   position on that?                                         13   that, or was that all on them?
    14        A. It wasn't my job -- it wasn't my                  14            MR. TSAI: Objection. Improper,
    15   responsibility to do that. No. Why would I take a         15   incomplete hypothetical. Go ahead.
    16   position when it's no responsibility or obligation or     16        A. Exactly. It's a hypothetical. I wouldn't
    17   that SOM wasn't requesting my opinion on this?            17   have received this e-mail if SOM hadn't made me aware
    18        Q. And if you had an opinion would you share         18   of the situation because I wouldn't have reached out to
    19   it?                                                       19   them.
    20            MR. TSAI: Objection.                             20        Q. (By Ms. Herzfeld) Did you reach out to
    21        Q. (By Ms. Herzfeld) With SOM?                       21   SOM for this e-mail?
    22            MR. TSAI: Objection to the form.                 22        A. No, I said SOM reached out to me, so -- to
    23        A. Again, it was SOM's -- SOM was the                23   get more information; right? I then reached out to the
    24   ultimate decisionmaker on whether orders shipped or       24   customer, which is how I obtained this response. If

   Golkow Litigation Services                                                              Page 74 (290 - 293)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-17
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further75Confidentiality
                                                         of 81. PageID #: 216578
                                                                             Review
                                                              Page 294                                                          Page 296
     1 SOM hadn't reached out to me, I wouldn't have ever                 1 the pharmacy level, having ship-to numbers, but that's
     2 received this knowledge or this e-mail from Don because            2 what it appears.
     3 I wouldn't have known about this suspicious order.                 3       Q. So looking at this first one, this is for
     4       Q. Did you ever report any of your customers                 4   Campbell County in Tennessee. You've got Riggs Drug,
     5 to SOM?                                                            5   which I think we talked about before on Central Avenue
     6       A. I don't recall.                                           6   in LaFollette, Tennessee. Is that right?
     7       Q. You don't recall ever, in your entire                     7       A. Yes.
     8 time, if you reported one of your customers to SOM?                8       Q. And this chargeback data I'll represent to
     9       A. I don't recall the detail. I don't                        9   you was pulled from a sheet that is January 2015 to
    10 recall, no.                                                       10   December 2015. Looking at this data, it says postal
    11       Q. Okay. I am going to mark the next two                    11   code 37766 and then DEA number. Do you know if that
    12 exhibits and give them to you at the same time because            12   DEA number is for the parent customer or the pharmacy
    13 I think that's going to make it a little bit easier.              13   customer?
    14           [Exhibit Mallinckrodt-Cardetti-040 marked               14       A. I do not know.
    15           for identification.]                                    15       Q. And then it says sold via parent customer
    16           [Exhibit Mallinckrodt-Cardetti-041 marked               16   and then there's a number there, right, 472645?
    17           for identification.]                                    17       A. 472645. Correct.
    18       Q. Okay. I'm going to hand you what I've                    18       Q. And that appears to be the number for
    19 marked as Exhibit 40, which is Bates number                       19   Cardinal Health; is that right?
    20 MNK_TNSTA02527745, and Exhibit 41, which is Bates                 20       A. That's what it appears, yes.
    21 number MNK_TNSTA02527745. I guess those are the same.             21       Q. And then it says at the top there sales
    22 They're from the same spreadsheet. I will represent to            22   quantity government UOM. Is that unit of measure?
    23 you that we have pulled one county in Tennessee from              23       A. Yes.
    24 chargeback data contained in that gigantic share file.            24       Q. And do you know what a unit of measure is

                                                         Page 295                                                               Page 297
     1             MR. TSAI: Can I get copies, please?                    1 in this context?
     2             MS. HERZFELD: Oh, sorry. Here. For me.                 2      A.   Unit of measure -- again, I didn't run
     3   Here you go. For everybody else. 15, 30. 15, 30.                 3 this report, but if I -- unit of measure could
     4         Q. (By Ms. Herzfeld) If you'll look at the                 4 potentially be doses.
     5   first one on -- it's labeled oxy 30 on the top. I                5      Q.   And back when you used to run chargeback
     6   think that's Exhibit 40. Is that right?                          6 reports, was the unit of measure doses?
     7         A. Yes.                                                    7      A.   Chargeback reports, from what I recall,
     8         Q. And if you look at the second page -- we                8 was reported in bottle quantity.
     9   just put the first page on there so I knew what it was.          9      Q.   In bottle quantity? Okay.
    10   Okay. If you look at the second page there, do you              10      A.   Yeah.
    11   recognize that as being chargeback data?                        11      Q.   So do you know if at some point it changed
    12         A. Again, I did not run this report, but                  12 from bottle quantity to doses?
    13   it -- yeah -- DEA number. It appears that this is               13      A.   Not that I recall. I don't know.
    14   based on chargebacks.                                           14      Q.   So looking at this, it would say for Riggs
    15         Q. So if you can just go through it with me a             15 Drugs at LaFollette, Tennessee, it says CM2015MO2
    16   little bit so I can make sure I understand it. The              16 February. Does the CM or MO2 meaning anything to you?
    17   ship-to customer number -- is that the number for the           17      A.   Calendar month, month three.
    18   actual end user pharmacy, or is that for the                    18      Q.   Oh, I get it. Month two, month three?
    19   distributor? Do you know?                                       19      A.   Correct.
    20         A. So -- I don't know. So it says ship-to                 20      Q.   So when it says month two, it's 3,600
    21   customer number and then ship-to customer name right            21 governments units of measure; is that right?
    22   next to it.                                                     22      A.   That's what it says, yes.
    23         Q. Right.                                                 23      Q.   And then the next month it goes to 7,000;
    24         A. Again, I don't recall end users, meaning               24 is that correct?


   Golkow Litigation Services                                                                       Page 75 (294 - 297)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-17
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further76Confidentiality
                                                         of 81. PageID #: 216579
                                                                             Review
                                                       Page 298                                                           Page 300
     1        A. That's correct.                                   1        A. Yes.
     2        Q. And then in April 9,000?                          2        Q. And then we could belabor the point and go
     3        A. That's correct.                                   3   through each one of these, but I know you're kind of in
     4        Q. Do you know if Riggs Drug was ever flagged        4   a hurry to get out of here. So to shortcut it a little
     5   for a suspicious order?                                   5   bit -- and the rest of them also show the same thing,
     6        A. I do not know.                                    6   right, with differing numbers for each different month;
     7        Q. In May it's 5,600; is that right?                 7   is that correct?
     8        A. Just to go back.                                  8        A. Yeah, some months have zero, some months
     9        Q. Yes, ma'am.                                       9   have numbers, so it's not the same as that first, but
    10        A. So again, Riggs Drug is ordering through         10   yes. Yes.
    11   Cardinal, as it states here. They wouldn't have been     11        Q. And it looks like with the exception of
    12   ordering directly from Mallinckrodt. So just to          12   Food City and Rite Aid, they were all done by Cardinal?
    13   clarify.                                                 13   The distributor was Cardinal?
    14        Q. I understand that, ma'am. They're the            14        A. That's correct.
    15   customer of your customer?                               15        Q. And for Food City and Rite Aid, the
    16        A. Right. So the question was in regards to         16   distributors were McKesson; is that correct?
    17   an order being flagged.                                  17        A. Correct.
    18        Q. Yes, ma'am. So if their orders -- if you         18        Q. And did you ever have any discussion with
    19   were getting that chargeback information -- right --     19   anyone at Mallinckrodt about Food City Pharmacies?
    20   Mallinckrodt was getting the chargeback information      20        A. No, not that I recall.
    21   about each pharmacy; is that correct?                    21        Q. And so then going here through the
    22        A. That's correct.                                  22   numbers, the total then is 69,000 for Riggs Drug in
    23        Q. And so when you got that chargeback              23   LaFollette and then 27,900 for Riggs Drug in Jacksboro;
    24   information, we have it here in this handy chart. So     24   is that correct?

                                                     Page 299                                                                Page 301
     1 did this handy chart cause anyone, to you knowledge, to     1       A.    That is correct.
     2 flag Riggs Drug for a suspicious order?                     2       Q.    And then if you keep going down, the next
     3         A. I don't know.                                    3 one is Terry's Pharmacy in Jacksboro, and that's 27,100
     4         Q. Do you know if Riggs Drug was ever put on        4 units, and Family Drug Center in Jellico is 24,300
     5   a chargeback restriction?                                 5 units; is that correct?
     6         A. I don't know. There were multiple                6       A.    Yes.
     7   pharmacies that were put on chargeback restrictions.      7     Q. And then Riggs Drug in Jacksboro was
     8         Q. So carrying along here. Then May of 2015,        8 16,100 units, Food City in LaFollette is 13,300 units,
     9   it's 5,600 government units of measure; is that           9 and then Rite Aid in Jellico is 3,000 units. Did I
    10   correct?                                                 10 read all that correctly?
    11         A. I'm sorry. Where are you? Five -- in            11       A.    Yes.
    12   May?                                                     12       Q.    And do you know what the total number of
    13         Q. Yes, ma'am.                                     13 government units of measure of Mallinckrodt oxy 30 were
    14         A. 5,600. Yes.                                     14 that went into Campbell County in the year 2015?
    15         Q. And then it goes to 9,800 in June; is that      15       A.    No, I do not.
    16   right?                                                   16       Q.    Do you know what the population of
    17         A. Yes.                                            17 Campbell County is?
    18         Q. And then 5,400 in July, 9,000 in August,        18       A.    No, I do not.
    19   5,200 in September; is that right?                       19       Q.    If you add it up, it looks like the total
    20         A. Correct.                                        20 is 27 -- no. 180,700 units of oxy 30 into Campbell
    21         Q. It goes on and on, and then here at the         21 County for the year 2015. Does that number mean
    22   back it says total in 12 months; is that correct?        22 anything to you?
    23         A. Correct.                                        23       A.    I'll take your word that you just added
    24         Q. It says 69,000. Is that right?                  24 those up.


   Golkow Litigation Services                                                                Page 76 (298 - 301)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-17
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further77Confidentiality
                                                         of 81. PageID #: 216580
                                                                             Review
                                                           Page 302                                                          Page 304
     1        Q. Now, looking at the next one, which is                1 really no rhyme or reason?
     2   Exhibit 41. Okay. We'll go through this one                   2       A.   It varied, yeah.
     3   relatively quickly because the questions should be            3       Q.   So if you look at the total for oxy 15 on
     4   relatively the same.                                          4 this chart, I'll represent to you that that adds up to
     5            This one is for oxy 15, and I will                   5 90,600 oxy 15s for 2015 in Campbell County. Do you see
     6   represent to you that we've sorted it according to            6 that?
     7   these same pharmacies that are in Campbell County. So         7       A.   Again, I'll take your word on that
     8   not to belabor the point, but it looks like for the oxy       8 calculation.
     9   15s, we have kind of a different order.                       9       Q.   And again, you don't know the population
    10            So the first one is Terry's Pharmacy in             10 of Campbell County?
    11   Jacksboro, who looks like they're serviced by Cardinal       11       A.   No, I do not.
    12   Health with a total of 34,100 government units of            12       Q.   So if the total of oxy 15s and oxy 30s
    13   measure for the oxy 15. Do you see where I'm at?             13 that Mallinckrodt supplied into Campbell County in
    14        A. I do see that.                                       14 2015 was 271,600 government units of measure, would
    15        Q. And then Family Drug Center in Jellico,              15 that number be concerning to you?
    16   who's also serviced by Cardinal Health, has 22,600           16       A.   I have no other context around that
    17   government units of measure. Do you see that?                17 number.
    18        A. Yes.                                                 18       Q.   What if I told you Campbell County is
    19        Q. And Riggs Drug in Jacksboro has -- also              19 pretty rural?
    20   serviced by Cardinal Health -- 10,800 governments of         20     A. Again, I have no other context that I
    21   units of measure of oxy 15 for 2015. Do you see that?        21 could answer that question on.
    22        A. I do see that.                                       22         MS. HERZFELD: If we could go off the
    23        Q. Terry's pharmacy is also Cardinal Health,            23 record just for one second.
    24   and their total is 8,600. Do you see that?                   24            THE VIDEOGRAPHER: We are going off the

                                                     Page 303                                                            Page 305
     1       A. Yes.                                                   1   record at 4:08 PM.
     2       Q. Then Riggs Drug in Jacksboro, Cardinal                 2             [Discussion off the record.]
     3   Health, 8,000. Do you see that?                               3             THE VIDEOGRAPHER: We are back on the
     4       A. Yes.                                                   4   record at 4:09 PM.
     5       Q. Riggs Drug in LaFollette, 4,000, Cardinal.             5         Q. (By Ms. Herzfeld) Okay. I'm going to
     6   Do you see that?                                              6   mark the next exhibit for you, Ms. Cardetti, as Exhibit
     7       A. Yes.                                                   7   42, I think. Yeah. It's Exhibit 42, which for some
     8       Q. Rite Aid of Tennessee, McKesson, 1,500.                8   reason also doesn't seem to have a Bates number on it.
     9   Do you see that?                                              9   I'll just do these separately.
    10       A. Yes.                                                  10             [Exhibit Mallinckrodt-Cardetti-042 marked
    11       Q. And then CVS 7794, LaFollette, Cardinal               11             for identification.]
    12   Health, 1,000. Do you see that?                              12         Q. Okay. And then we'll do this one as 43.
    13       A. Yes.                                                  13             [Exhibit Mallinckrodt-Cardetti-043 marked
    14       Q. Is it common -- was it commonplace that               14             for identification.]
    15   people would source oxy -- or that pharmacies would          15             MR. DEARMAN: Is this exhibit more than
    16   source oxy 15 from one distributor and oxy 30 from           16   one page?
    17   another distributor?                                         17             MS. HERZFELD: Oh, it's two different
    18       A. How customers sourced product varied by               18   exhibits.
    19   customer.                                                    19             MR. DEARMAN: Oh.
    20       Q. But the two -- the 15 and the 30 weren't              20             MS. HERZFELD: So the first one is the
    21   necessarily always bundled?                                  21   e-mail. Did you guys get that?
    22       A. Not necessarily.                                      22             MR. DEARMAN: We got the e-mail.
    23       Q. Did you typically see those bundled                   23             MS. HERZFELD: You got the e-mail? You
    24   together more together than separate, or was there           24   didn't get the chart?

   Golkow Litigation Services                                                                  Page 77 (302 - 305)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-17
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further78Confidentiality
                                                         of 81. PageID #: 216581
                                                                             Review
                                                            Page 306                                                     Page 308
     1           MR. DEARMAN: No.                                       1        A. Yes. I didn't count, but -- do you want
     2           MS. HERZFELD: How many copies do you guys              2   me to count? Here.
     3 have?                                                            3        Q. No, it's okay.
     4           MR. TSAI: I have one.                                  4        A. 17, yes.
     5         MS. HERZFELD: You -- there you go. You                   5        Q. And do you know how large Maryville,
     6 want to pass that one down? Perfect. Thank you.                  6   Tennessee, is?
     7        Q. (By Ms. Herzfeld) Okay, Ms. Cardetti. If               7        A. No, I do not.
     8 you'll look with me at Exhibit 42. This appears to be            8        Q. And here we have Lowe's Drug on East
     9 an e-mail sent from Karen Harper to you dated September          9   Broadway having gross sales it looks like twice here of
    10 6th, 2011. Is that correct?                                     10   $144,338.39, and then -- for 2011, but in 2010, the
    11        A. That is correct.                                      11   gross sales were $180,602.98. Do you know what the
    12        Q. Do you have any reason to think that this             12   difference for that was?
    13 e-mail was not sent to you at your Covidien e-mail              13        A. Are you asking me to subtract 180,602.98
    14 address?                                                        14   to 144,338.39?
    15        A. No.                                                   15        Q. No, it was really a bad question. I'm
    16        Q. And you believe you received it?                      16   going to withdraw that question.
    17       A. I believe so.                                          17        A. Okay.
    18       Q. And the subject is top 20 and top 150.                 18        Q. And so --
    19   There's an attachment, top 150 pharmacies, 30-milligram       19        A. Because I can't do that math.
    20   only, by year, by distributor, KH edits, and the second       20        Q. That's okay. Neither can I. Okay. And
    21   one is top 20 pharmacies by distributor. Do you see           21   so looking at Maryville, Tennessee, you don't have any
    22   where I'm at?                                                 22   idea how large that community is?
    23       A. Yes.                                                   23        A. No, I do not.
    24        Q. And do you recall ever having any                     24        Q. And then -- you've heard of Knoxville,

                                                            Page 307                                                      Page 309
     1 conversation with Karen Harper about the top pharmacies          1   Tennessee?
     2 for distributing oxycodone -- Mallinckrodt's oxycodone?          2        A. I've heard of Knoxville, yes.
     3     A. No, I don't recall.                                       3        Q. So let's flip down here then to Rippetoe,
     4     Q. And do you know where the majority of --                  4   Inc., in Morristown, Tennessee. Do you see where I'm
     5 there was a particular region where the top pharmacies           5   at?
     6 of Mallinckrodt opioids were located?                            6        A. Yes.
     7     A. No, I don't recall.                                       7        Q. And it is serviced by AmerisourceBergen
     8     Q. Do you know if there was a                                8   Health; is that correct?
     9 concentration -- many of those in Florida?                       9        A. Yes.
    10        A. I do know that there was focus on Florida.            10        Q. And it looks like the total sales are
    11        Q. And I will have you look, please, at                  11   $116,734.80; is that correct?
    12 Exhibit 43. I will submit to you that you've taken the          12        A. Correct.
    13 attachment here that was the top 150 pharmacies and             13        Q. With 320,700 units; is that right?
    14 modified that just to show you Tennessee just so you            14        A. 320,700 UOMs.
    15 don't have to go through the whole thing. I have the            15        Q. Units of measure?
    16 whole thing if you'd prefer to look at it.                      16        A. Yes, that's what it states. Yeah.
    17     A. No, this is fine.                                        17        Q. And do you know where Morristown,
    18     Q. Okay, great. So looking at this one, on                  18   Tennessee is?
    19 Page 2 it appears that on this list for these top               19        A. No, I do not.
    20 pharmacies there are one, two, three, four, five, six,          20        Q. Do you have any idea how big it is?
    21 seven -- 17 that are in Tennessee; is that right?               21        A. No, I do not.
    22        A. I didn't count, but it looks about that,              22        Q. Seymour, Tennessee, here for Food City.
    23 yes.                                                            23   Do you know how large Seymour, Tennessee, is?
    24        Q. This list?                                            24        A. No, I do not.

   Golkow Litigation Services                                                                  Page 78 (306 - 309)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-17
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further79Confidentiality
                                                         of 81. PageID #: 216582
                                                                             Review
                                                      Page 310                                                       Page 312
     1       Q. Do you know where it's located?                     1             MR. TSAI: Objection. Lacks foundation.
     2       A. No, I do not.                                       2         A. I have --
     3       Q. We've already talked about Morristown. I            3             MR. TSAI: It's not one of its
     4   think I've already asked you about LaFollette,             4   customers -- go ahead.
     5   Tennessee. Do you know where that is?                      5         Q. (By Ms. Herzfeld) I'll rephrase the
     6       A. No, I do not.                                       6   question.
     7       Q. What about Newport, Tennessee?                      7         A. Okay.
     8       A. No.                                                 8         Q. Do you think a pharmacy that is located in
     9       Q. Do you know what the population is of               9   a town with 4,667 people should be one of
    10   Newport, Tennessee?                                       10   Mallinckrodt's indirect top customers?
    11       A. No.                                                11             MR. TSAI: Objection. Lacks foundation.
    12       Q. Do you know if it's located near a city?           12   Objection to form. Go ahead.
    13       A. Again, I do not know where Newport is              13         A. Can you repeat the question?
    14   located in Tennessee, no.                                 14         Q. (By Ms. Herzfeld) Sure. I'll back up a
    15       Q. What about Seymour -- or I already asked           15   little bit. So Mallinckrodt has its direct customers,
    16   you about Seymour. What about Strawberry Plains,          16   which are the wholesalers or the distributors; is that
    17   Tennessee? Do you know where Strawberry Plains,           17   correct?
    18   Tennessee is?                                             18         A. That's correct.
    19       A. No, I do not.                                      19         Q. And then there are people that those
    20       Q. Do you know what part of Tennessee it's            20   wholesalers and distributors sold to, which are
    21   in?                                                       21   oftentimes pharmacies; is that correct?
    22       A. No, I do not.                                      22         A. That is correct.
    23       Q. Do you know what the population is of              23         Q. And the pharmacies are known as an
    24   Strawberry Plains, Tennessee?                             24   indirect customer of Mallinckrodt?
                                                        Page 311                                                       Page 313
     1        A. No, I do not.                                      1        A. No, they're considered the wholesaler's
     2        Q. So looking here at the pharmacy in                 2   customers.
     3   Strawberry Plains, East Tennessee Discount Drug in         3        Q. The wholesaler's customer? Okay. But you
     4   Strawberry Plains -- it's the second from the bottom --    4   have a -- Mallinckrodt has a relationship with those
     5   it says it's serviced by AmerisourceBergen Health; is      5   pharmacies in the sense that you have negotiated
     6   that correct?                                              6   chargeback contracts with those pharmacies; is that
     7        A. Yes, that is correct.                              7   right?
     8        Q. And it looks like the gross sales from             8        A. No, that is not correct.
     9   2011 were $60,824.40; is that correct?                     9        Q. And so you never have anything to do with
    10        A. Yes.                                              10   that pharmacy?
    11        Q. And then government units of measure,             11        A. The only information we would receive from
    12   which for this chart is oxy 30, is 167,100 government     12   that pharmacy is through chargebacks from the
    13   units of measure; is that correct?                        13   wholesaler. Everything negotiated is with the
    14        A. That is correct.                                  14   wholesaler.
    15        Q. And do you -- have you ever known what the        15        Q. But if the drugs -- if the oxy just went
    16   population of Strawberry Plains, Tennessee is?            16   to the distributor and it didn't go anywhere else,
    17        A. No, not --                                        17   there wouldn't be much business; right? It has to go
    18        Q. Do you know that in 2010, the U.S. census         18   somewhere?
    19   showed the population of Strawberry Plains, Tennessee,    19        A. Exactly. It would be sitting on the
    20   at 4,667 residents?                                       20   shelf.
    21        A. No, I do not know that.                           21        Q. And so you monitor the chargeback
    22        Q. Do you think a pharmacy that's located in         22   information as to where it is that each of these oxy
    23   a town with 4,667 residents should be one of              23   shipments go to; is that correct?
    24   Mallinckrodt's top customers?                             24        A. I did not. Suspicious order monitoring

   Golkow Litigation Services                                                              Page 79 (310 - 313)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-17
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further80Confidentiality
                                                         of 81. PageID #: 216583
                                                                             Review
                                                        Page 314                                                Page 316
     1 team monitored that.                                         1           THE WITNESS: I would need more
     2       Q. But you had access to it -- the chargeback          2   information.
     3 information?                                                 3           MS. HERZFELD: Okay. Okay. We can take a
     4        A. Yes, I had access to chargebacks.                  4   break now.
     5        Q. And so looking at those chargebacks, it            5           THE VIDEOGRAPHER: We are going off the
     6   looks like there was a creation here of top 150            6   record at 4:20 PM.
     7   pharmacies for oxy 30. That's what the chart says; is      7           [Whereupon the proceedings were
     8   that right?                                                8           concluded.]
     9        A. Yes.                                               9
    10        Q. And it's listed by distributor; is that           10
    11   right?                                                    11
    12        A. It has pharmacy and distributor                   12
    13   information.                                              13
    14        Q. Then it says after -- if you keep looking         14
    15   here in the note -- each pharmacy could have received     15
    16   oxy 30 from other distributors; is that right?            16
    17        A. Yes, that's what it says.                         17
    18        Q. And they also could have received oxy 30          18
    19   from other manufacturers; is that right?                  19
    20        A. That's correct.                                   20
    21        Q. And so my question is, do you think it's          21
    22   appropriate that a town with 4,667 people are receiving   22
    23   167,100 government units of measure of oxy 30 a year?     23
    24            MR. TSAI: Objection to form. Lacks               24

                                                        Page 315                                                             Page 317
     1 foundation. Go ahead.                                        1             CERTIFICATE
     2       A.   I know nothing about those counties or            2
     3 what kind of facilities are in those counties, what          3         I, JOHN ARNDT, a Certified Shorthand
     4 types of clinics or doctors. I have zero context to          4 Reporter and Certified Court Reporter, do hereby
     5 answer that question.                                        5 certify that prior to the commencement of the
     6       Q.   (By Ms. Herzfeld) But those -- that's all         6 examination, LISA CARDETTI was sworn by me to testify
     7 information you'd want to know in order to be able to        7 the truth, the whole truth and nothing but the truth.
     8 form an opinion?                                             8         I DO FURTHER CERTIFY that the foregoing is a
     9        A. Again, the suspicious order monitoring             9 true and accurate transcript of the proceedings as
    10   team would -- in my understanding, would try to gather    10 taken stenographically by and before me at the time,
    11   as much information to make educated decisions on what    11 place and on the date hereinbefore set forth.
    12   pharmacies would be cut off, and that was part of their   12         I DO FURTHER CERTIFY that I am neither a
    13   process, from my understanding.                           13 relative nor employee nor attorney nor counsel of any
    14        Q. (By Ms. Herzfeld) But you don't have an           14 of the parties to this action, and that I am neither a
    15   opinion as to whether 167,100 government units of         15 relative nor employee of such attorney or counsel, and
    16   measure of oxy 30 going to one small town -- whether it   16 that I am not financially interested in this action.
    17   be Strawberry Plains or anything else -- if that could    17
    18   be a problem?                                             18
    19           MR. TSAI: Objection to form. Lacks                19              ______________________________
    20   foundation.                                               20              JOHN ARNDT, CSR, CCR, RDR, CRR
    21        A. Again, I have no context of what is in            21              CSR No. 084-004605
    22   that small town, so --                                    22              CCR No. 1186
    23        Q. (By Ms. Herzfeld) You'd want to know              23
    24   that?                                                     24


   Golkow Litigation Services                                                                Page 80 (314 - 317)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-17
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further81Confidentiality
                                                         of 81. PageID #: 216584
                                                                             Review
                                                      Page 318
     1
     2            I, LISA CARDETTI, the witness herein,
     3   having read the foregoing testimony of the pages of
     4   this deposition, do hereby certify it to be a true and
     5   correct transcript, subject to the corrections, if any,
     6   shown on the attached page.
     7
     8
     9
    10                      ______________________
    11                        LISA CARDETTI
    12
    13
    14   Sworn and subscribed to before me,
    15   This ________ day of __________, 201_.
    16
    17
    18   _______________________________
    19        Notary Public
    20
    21
    22
    23
    24

                                                      Page 319
     1           DEPOSITION ERRATA SHEET
     2
     3 Page No._____Line No._____Change to:______________
     4 __________________________________________________
     5 Reason for change:________________________________
     6 Page No._____Line No._____Change to:______________
     7 __________________________________________________
     8 Reason for change:________________________________
     9 Page No._____Line No._____Change to:______________
    10 __________________________________________________
    11 Reason for change:________________________________
    12 Page No._____Line No._____Change to:______________
    13 __________________________________________________
    14 Reason for change:________________________________
    15 Page No._____Line No._____Change to:______________
    16 __________________________________________________
    17 Reason for change:________________________________
    18 Page No._____Line No._____Change to:______________
    19 __________________________________________________
    20 Reason for change:________________________________
    21
    22 SIGNATURE:_______________________DATE:___________
    23          LISA CARDETTI
    24


   Golkow Litigation Services                                      Page 81 (318 - 319)
